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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

       - - - - - - - - - - - - - - - x
       IN RE:                        :
                                     :
       AVANTAIR, INC.,               :       Case No. 8:13-bk-09719-CPM
                                     :       Chapter 7
                           Debtor    :
       - - - - - - - - - - - - - - - x
                                             U.S. Courthouse
                                             801 N. Florida Avenue
                                             Tampa, Florida
                                             Held August 16, 2013

                                TRANSCRIPT OF HEARING

       1-FEH on Involuntary Petition

       2-Expedited Motion for Relief from Stay and for Turnover of
       Records Filed by Steven M Berman on behalf of Piaggio Avanti
       P-180 Aircraft, et al

       3-Motion for Relief from Stay (Fee Paid.) Re: Piaggio Avanti
       P-180 Aircraft FAA N187SL; Two (2) Pratt & Whitney Canada
       Pt6a-66 Engines, Serial Numbers PCE-RW0057 and PCE-RW0058; Two
       (2) Hartzell Propellers, HC-E5N-3A, Serial Number KU135 and
       HCE5N- 3AL, Serial Number HF260., Motion for Turnover of
       Property of the Estate. Filed by Adam L Alpert on Behalf of
       Dorian Punj, Pegasus III, LLC, Lockton Enterprises, Inc.

                           (Motions Continued Next Page)


                   BEFORE THE HONORABLE CATHERINE PEEK MCEWEN
                         UNITED STATES BANKRUPTCY JUDGE


              Proceedings Digitally Recorded by Court Personnel;
         Transcript Produced by Court-Approved Transcription Service.




       ______________________________________________________________
                        JOHNSON TRANSCRIPTION SERVICE
                           7702 Lake Cypress Drive
                            Odessa, Florida 33556
                                (813) 920-1466
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                                  (Continued Motions)

       4-Application to Employ Lynn Welter Sherman and the Law Firm of
       Adams and Reese, LLP as General Counsel for Chapter 7 Trustee
       Filed by Beth Ann Scharrer

       5-Emergency Motion for Relief from Order Granting Interim
       Chapter 7 Trustee's Emergency Motion to Prohibit Access to
       Premises and for Relief of the Automatic Stay, or in the
       Alternative, for Adequate Protection Filed by John J Lamoureux
       on Behalf of Creditor AvAero Services, LLC

       6-Expedited Motion for Relief from Stay Re: Piaggio Avanti
       P-180 Aircraft, SN 1107; Registration Number N140SL; and All
       Related Records, Documents, and Log Books. And Request for
       Hearing Filed by Herbert R Donica on Behalf of MBN LSN, LLC;
       Debonair, LLC; Aviation Service, LLC; LLS Flight Service, LLC;
       QSI Ventures, LLC

       7-Motion for Relief from Stay and for Turnover of Records Re:
       Piaggio Avanti P-180, Registration Number N187SL. (Expedited
       Hearing Requested) Filed by Zachary J Bancroft on Behalf of H&E
       Services, Inc., Gary West

       8-Motion for Relief from Stay Re: Piaggio Avanti P-180,
       Registration Number N188SL. (Expedited Hearing Requested) Filed
       by Zachary J Bancroft on Behalf of James Laier, William Benton,
       David Dyer, H&E Services, Inc., Hamilton James, Potomac
       Management, LLC, Willellen Air, LLC

       9-Motion for Relief from Stay Re: Piaggio Avanti P-180,
       Registration Number N139SL. (Expedited Hearing Requested) Filed
       by Zachary J Bancroft on Behalf of Creditor Dec Leasing, LLC,
       Gary West, Helium Aviation, LLC, Snowmass Creek Flight Ops,
       LLC, and Yang Investments, LLC

       10-Motion for Relief from Stay and for Turnover of Records Re:
       Piaggio Avanti P-180, Registration Number N163SL. (Expedited
       Hearing Requested) Filed by Zachary J Bancroft on Behalf of MJD
       Aircraft LLC, Garner Investments, LLC, Capital Partners, Inc.,
       David Manners, Tuscany Ventures, LLC, Neil Galatz, Duke
       Resorts, LLC, Blackstreet Capital Management, LLC

       11- Motion for Precautionary Relief from Stay




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       APPEARANCES (Via CourtCall):

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       For the FAA:                         JOSEPH CONTE, Esquire
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                                            Office of the Chief Counsel
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       For Signature Flight
       Support Corporation:                 MICHAEL CROSNICKER, Esquire
                                            LeClairRyan
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       For Teterboro Rams:                  BRIAN GART, Esquire
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                        (Telephonic Appearances Continued)

       For QSI Ventures,
       LLS Flight Service,
       Aviation Service,
       Debonair, LLC,
       MBN LSN, LLC:                        HERBERT R. DONICA, Esquire
                                            Donica Law Firm, P.A.
                                            106 S. Tampania Avenue
                                            Suite 250
                                            Tampa, Florida 33606
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                                            herb@donicalaw.com

       Mary Peterson and
       former employees:                    MICHELLE NADEAU, Esquire
                                            Kwall, Showers & Barack, PA
                                            133 N. Fort Harrison Avenue
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       For H&E Services and
       Other Owners on 163,
       139, 187 and 188:                    L. CAROL OWEN, Esquire
                                            Baker, Donelson, et al
                                            211 Commerce Street
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                                            Nashville, Tennessee 37201
                                            615-726-5747
                                            cowen@bakerdonelson.com
       For a Number of
       Clients on 136 and 176:              JOHN R. PERKAUS, Esquire
       (a.m. session only)                  Perkaus & Farley
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                                            Chicago, Illinois 60610
                                            312-266-2111

       LW Air I through V, LLC:             GREGORY PLOTKO, Esquire
                                            PETER SMITH, Esquire
                                            Kramer Levin Naftalis & Frankel
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                                            psmith@kramerlevin.com

       ALSO PRESENT (Via CourtCall)
       Representing the FAA:                DALE DONEGAN



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       CONTINUED APPEARANCES (In the Courtroom):

       For Beth Ann Scharrer
       Interim Chapter 7 Trustee:           LYNN WELTER SHERMAN, Esquire
                                            Adams and Reese LLP
                                            101 E Kennedy Boulevard
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                                            Tampa, Florida 33602-5152
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                                            lynn.sherman@arlaw.com

       For Petitioning Creditors
       Soldier Creek Ranch LLC
       and Joel Trammell:                   ROBERT GLENN, Esquire
                                            Glenn Rasmussen, P.A.
                                            100 S Ashley Drive
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                                            Tampa, Florida 33602-5309
                                            813.229.3333
                                            rglenn@glennrasmussen.com
       Fractional Owners as
       Set Forth in Docket 102:             STEVEN BERMAN, Esquire
                                            SARAH GLASER, Esquire
                                            C. PHILIP CAMPBELL, Jr., Esquire
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       For Hutchison Advisors, Inc.
       and Piaggio, Tail N156SL
       and Tail N160SL:                     ROY KOBERT, Esquire
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                         (Courtroom Appearances Continued)

       For Fractional Owners of
       Planes 187, 188, 163
       and 139:                             COURTNEY GILMER, Esquire
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       For Corrections Corporation
       of America:                          DONALD R. ANDERSEN, Esquire
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       For Dallas Airmotive, Inc.:          MARVIN MOHNEY, Esquire
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                                            541 Bay Court
                                            Heath, Texas 75032-7630
                                            214-698-3011



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       For Global Aerospace, Inc.:          KEITH APPLEBY, Esquire
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       For Bar-S Investments, LLC:          PHILIP MARTINO Esquire
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       For Wahoo II:                        MAHLON H. "TRIPP" BARLOW, Esquire
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       For Earl Holland,
       Fractional Owner:                    BARBARA LEON, Esquire
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                                            bleon@solomonlaw.com



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       For Mike Allred,
       Fractional Owner:                    B. GRAY GIBBS, Esquire
       (a.m. session only)                  B Gray Gibbs PA
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                                            727.892.9901
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       For Piaggio North America:           HARLEY RIEDEL, Esquire
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       For MidSouth Services, Inc.
       and Clear Aircraft, Inc.:            MICHAEL MARKHAM, Esquire
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                                            & Burns LLP
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                                            Clearwater, Florida 33756-5643
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       For Lockton Enterprises, Inc.:BRIAN HOLLAND, Esquire
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                                     Kansas City, Missouri 64108
                                     816.460.5329
                                     bholland@lathropgage.com

       For All of the Owners of
       N173SL, and Some of the
       Owners of 105, 108, 132,
       143, 172 and 188:                    ADAM LAWTON ALPERT, Esquire
                                            Bush, Ross, P.A.
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                                            813-224-9255
                                            aalper@bushross.com

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       For the U.S. Trustee:                J. STEVEN WILKES, Esquire
                                            Office of U.S. Trustee
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                                            Tampa, Florida 33602
                                            813-228-2000
                                            steven.wilkes@usdoj.gov

       ALSO PRESENT:
       Chapter 7 Trustee:                   BETH ANN SCHARRER




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    1   Tampa, Florida, August 16, 2013, 9:43 a.m.

    2              COURTROOM CLERK:        13-9719, Avantair, Inc.

    3              THE COURT:      All right.      I’m going to call roll first

    4   with respect to those who are appearing by phone.                 If you’re

    5   here, you can say so and then for the record state the party

    6   you represent.

    7              All right.      We’ll start from the top of my list that

    8   I have from CourtCall.       Bruce Akerly.

    9              MR. AKERLY:      Here, Your Honor, representing the

   10   Involuntary Petitioners.        My local counsel is also present in

   11   the courtroom.

   12              THE COURT:      Thank you.      Brett Amron.

   13              (No response.)

   14              THE COURT:      Not here.     Amanda Applegate.

   15              MS. APPLEGATE:       Present, representing numerous owners

   16   on various aircraft as detailed in our revised appearance

   17   agreement yesterday.

   18              THE COURT:      Thank you.      Joseph Conte.

   19              MR. CONTE:      Present, Your Honor, representing the

   20   Federal Aviation Administration.

   21              THE COURT:      Thank you.      Michael Crosnicker.

   22              MR. CROSNICKER:       Present, Your Honor, representing

   23   Signature Flight Support Corporation.

   24              THE COURT:      Signature Flight what?

   25              MR. CROSNICKER:       Support Corporation.



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    1                THE COURT:    Support.     Thank you.

    2                MR. CROSNICKER:     No problem.

    3                THE COURT:    Dale Donegan.

    4                MR. DONEGAN:    Present, representing Federal Aviation

    5   Administration.

    6                THE COURT:    Thank you.      Herb Donica.

    7                MR. DONICA:    Good morning, Your Honor.             I’m

    8   representing QSI Ventures; LLS Flight Service; Aviation

    9   Service; Debonair, LLC; MBN LSN, LLC.

   10                THE COURT:    All right.      Good morning back to you and

   11   thank you.

   12                All right.    Hugh Fuller.

   13                (No response.)

   14                THE COURT:    Is Hugh Fuller listening?

   15                (No response.)

   16                THE COURT:    All right.      Hugh Fuller is not here.

   17                Brian Gart.

   18                MR. GART:    Yes.   Good morning, Your Honor, Brian

   19   Gart, Berger Singerman, representing Teterboro Rams.

   20                THE COURT:    Good morning back to you and thank you.

   21                Next, Jeremy Johnson.

   22                MR. JOHNSON:    Good morning, Your Honor, from

   23   McDermott Will & Emory, the prepetition counsel to Avantair.

   24                THE COURT:    Thank you.      Good morning all of you.

   25                Okay.   Michelle Nadeau.



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    1              MS. NADEAU:     Here.    I represent Mary Peterson and a

    2   group of former employees.

    3              THE COURT:     A former employee?

    4              MS. NADEAU:     Yes.

    5              THE COURT:     Thank you.      L. Carol Owen.

    6              MS. OWEN:    Yes, Your Honor, I’m here, and I represent

    7   H&E Services and a number of other owners on 163, 139, 187 and

    8   188.

    9              THE COURT:     All right.      Thank you.      John R. Perkaus.

   10              MR. PERKAUS:     Present, Your Honor, representing a

   11   number of clients on 136 and 176.          Thank you.

   12              THE COURT:     Thank you.      Gregory Plotko.

   13              MR. PLOTKO:     Present, Your Honor.         I am representing

   14   LW Air I through V, LLC.        I’m also here with my co-counsel

   15   Peter Smith.

   16              THE COURT:     All right.      Thank you.      Next -- well,

   17   Peter Smith, I guess, has already been announced.

   18              All right.     Ryan Wagner.

   19              MR. WAGNER:     Present, Your Honor.         Also on behalf of

   20   -- appearing as prepetition counsel to Avantair.                 Thank you.

   21              THE COURT:     All right.      Thank you.

   22              Is there anyone else on the phone whose name I did

   23   not call and wishes to make an appearance?

   24              (No response.)

   25              THE COURT:     No.    Okay.    So the only no shows we have



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    1   are Brett Amron and Hugh Fuller.           If anyone wants a list of

    2   those who signed in to participate by phone, we can make that

    3   happen.   Ms. Arciola can give you a copy for those in the

    4   courtroom.

    5                Now, those in the courtroom, let’s start with you.

    6                MS. SHERMAN:    Lynn Welter Sherman, proposed counsel

    7   for Interim Trustee Beth Ann Scharrer, and Ms. Scharrer is in

    8   the courtroom with me today.

    9                THE COURT:    Thank you.

   10                MR. GLENN:    Good morning, Your Honor.              Bob Glenn on

   11   behalf of the Petitioning Creditors and on behalf of two of the

   12   Petitioning Creditors, Soldier Creek and Joel Trammel as owners

   13   and as creditors with regard to the rest of the case.

   14                THE COURT:    All right.      Thank you.

   15                MR. BERMAN:    Good morning, Your Honor.             Steve Berman,

   16   Sarah Glaser and Phil Campbell representing a number of

   17   fractional owners, the listing of the fractional owners we

   18   represent are set forth at Docket 102, which was our amendment

   19   to our notice of appearance and they’re specifically set forth

   20   with respect both to their names and the aircraft in which they

   21   have an interest.      We’re also assisting Amanda Applegate and

   22   John Perkaus in that representation, Your Honor.

   23                THE COURT:    All right.      Thank you.

   24                MR. KOBERT:    Good morning, Your Honor.             Roy Kobert

   25   making an appearance at Docket Entry 23, and was here at the



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    1   last hearing representing Hutchinson Advisors, Inc., fractional

    2   owner in two Piaggio, Tail N156SL and Tail N160SL.

    3              THE COURT:     All right.      Thank you.

    4              MS. GILMER:     Good morning, Your Honor.             Courtney

    5   Gilmer of the Tennessee Bar.        I have been admitted pro hac vice

    6   in representing fractional owners on Planes 187, 188, 163 and

    7   139.

    8              THE COURT:     All right.      Spell your last name for me,

    9   ma’am.

   10              MS. GILMER:     G-i-l-m-e-r.

   11              THE COURT:     Thank you.

   12              MS. GILMER:     Thank you

   13              MR. SORIANO:     Good morning, Your Honor.             Robert

   14   Soriano for Taxiway Alpha, LLC, a lessor of a facility in

   15   California.

   16              THE COURT:     Thank you.

   17              MR. LAMOUREUX:      Good morning, Your Honor.            John

   18   Lamoureux of Carlton Fields on behalf of AvAero Service, LLC.

   19              THE COURT:     Can you spell that.

   20              MR. LAMOUREUX:      It’s capital A-v, capital A-e-r-o

   21   Service, LLC.    They’re the landlord at the St. Pete/Clearwater

   22   Airport, Your Honor.

   23              THE COURT:     All right.      Thank you.

   24              MR. ANDERSEN:      Your Honor, my name is Donald R.

   25   Andersen with the law firm of Stites & Harbison.                 I represent



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    1   Corrections Corporation of America, known as CCA, which has

    2   been assigned a fractional interest in three of the aircraft:

    3   N138SL, N162SL, and N164SL.

    4              THE COURT:     Is Corrections Corp. of America in the

    5   incarceration field?

    6              MR. ANDERSEN:      I believe they operate corrections

    7   facilities, Judge, yes.

    8              THE COURT:     And so your client uses some rights to

    9   use aircraft to transport prisoners?

   10              MR. ANDERSEN:      That’s a good question.            I don’t know

   11   the answer.   I know they transport their employees, but I don’t

   12   know about the prisoners.       I could find out for you.

   13              THE COURT:     No, I’m just curious.         My institutional

   14   knowledge is that they carry them around in vans and they never

   15   go directly where they’re supposed to and they travel around

   16   until they get to their spot.

   17              MR. ANDERSON:      I’ll try to learn more, Judge; I’ll

   18   have more information.

   19              THE COURT:     I had a guy that took six days to get out

   20   of Miami to Tampa via a circuitous route, all the while being

   21   the guest of local jails.       Okay.     Go ahead.

   22              MR. MOHNEY:     Your Honor, my name is Marvin Mohney.

   23   I’m a member of the Texas Bar admitted pro hac vice in this

   24   case and I’m appearing for Dallas Airmotive, Inc.

   25              THE COURT:     All right.      Will you spell your last



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    1   name, please, sir?

    2              MR. MOHNEY:     It’s M-o-h-n-e-y.

    3              THE COURT:     Thank you.

    4              MR. APPLEBY:     Good morning, Your Honor.            Keith

    5   Appleby with the Hill, Ward & Henderson law firm as co-counsel

    6   for Global Aerospace, Inc.        And we also have Roger Clark.

    7              MR. CLARK:     Good morning, Your Honor, Roger Clark of

    8   the Clark Law Group.

    9              THE COURT:     All right.      Thank you.      Same client;

   10   right?

   11              MR. CLARK:     That is correct.

   12              MR. MARTINO:     Good morning, Your Honor.            Philip

   13   Martino appearing on behalf of Bar-S Investments.                We have a

   14   fractional interests in 160SL and 165SL.

   15              THE COURT:     Thank you.

   16              MR. BARLOW:     Your Honor, Tripp Barlow from Sivyer,

   17   Barlow & Watson here in town.         I represent Wahoo II, W-a-h-o-o

   18   Roman Numeral II.

   19              THE COURT:     Thank you.      Anybody else?

   20              MR. BARLOW:     No, ma’am.      Fractional owner in Tail No.

   21   152 and Tail No. 1 -- strike that -- 157 and Tail No. 142.

   22              THE COURT:     You know, I don’t have a spreadsheet

   23   here, so you can just say -- y’all can just say “fractional

   24   owner.”   Somebody will make me a spreadsheet one day I hope.

   25              MR. KOBERT:     Your Honor, if I may, Roy Kobert.              It



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    1   helps because I’m trying to find out who my other fractional

    2   owners are who are in the courtroom.

    3                THE COURT:    Well, I’m glad that we have a dating

    4   service here.

    5                MS. LEON:    Good morning, Your Honor.          Barbara Leon of

    6   the Solomon Law Group on behalf of fractional owner Earl

    7   Holland.

    8                THE COURT:    All right.      Thank you.

    9                MR. GIBBS:    Good morning, Your Honor.              Gray Gibbs

   10   representing Mike Allred who owns interest in 395 Sierra Sierra

   11   or SS, and 140SL, purchased three weeks before the bankruptcy

   12   was filed.

   13                THE COURT:    Thank you.

   14                MR. RIEDEL:    Good morning, Your Honor.             Harley Riedel

   15   on behalf of Piaggio North America.            My client, or its Italian

   16   affiliate, is the manufacturer of these planes.

   17                THE COURT:    All right.      Thank you.

   18                MR. MARKHAM:    Good morning, Your Honor.             Michael

   19   Markham for MidSouth Services and Clear Aircraft.

   20                THE COURT:    Thank you.

   21                MR. HOLLAND:    Good morning, Your Honor.             Brian

   22   Holland on behalf of Lockton Enterprises, fractional owner as

   23   to 187.

   24                THE COURT:    Lockton, L-o-c-k-t-o-n?

   25                MR. HOLLAND:    Correct, Your Honor.



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    1              THE COURT:     All right.      Thank you.

    2              MR. ALPERT:     Good morning, Your Honor.             Adam Lawton

    3   Alpert on behalf of all of the owners of N173SL and then also

    4   on behalf of some of the owners of 105, 108, 132, 143, 172 and

    5   188.

    6              THE COURT:     And by your first statement, when you say

    7   “all of the owners,” does that mean that you don’t believe that

    8   this Debtor has any interest in that particular tail number?

    9              MR. ALPERT:     With respect to 173, that’s correct.

   10              THE COURT:     All right.

   11              MR. WILKES:     Good morning, Your Honor.             J. Steven

   12   Wilkes on behalf of the United States Trustee.

   13              THE COURT:     All right.      Thank you.

   14              Well, Mr. Glenn, it looks like your little paper that

   15   you filed is benefitting a lot of lawyers around the country

   16   and locally.

   17              MR. GLENN:     Always happy to be of service, Your

   18   Honor.   It has attracted a good deal of attention, and

   19   particularly when you realize that because there’s been no

   20   order for relief yet.      The actual notices of filing of this

   21   case have not gone out.       So I expect that there will be more.

   22   I’m not sure if I hate to say that or I’m happy to say that,

   23   but there will be.

   24              With regard to the involuntary petition, it has not

   25   been timely controverted.       The time to answer or respond to the



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    1   petition was extended pursuant to the Court’s order and with

    2   our concurrence as Petitioning Creditors as well as certain

    3   other parties.     No response has been filed.

    4               We have also filed, and I’m not sure that it was

    5   necessary, but just to keep the ball rolling from a paperwork

    6   standpoint, we did file a motion for the entry of an order for

    7   relief and are prepared to hand up an order for relief, unless

    8   the Court wishes to provide some.

    9               THE COURT:     All right.      I was going to call for some

   10   announcements, and your announcement is one that I, frankly,

   11   expected.

   12               Does anyone have any objection?            Now, if you’re on

   13   the phone, please state your name so that our FTR -- or I mean

   14   our digital audio operator can catch your name.                   Does anyone

   15   have an objection to my entering the order for relief?

   16               (No response.)

   17               THE COURT:     No.   All right.      You want to walk it up

   18   here?   Is it important that I should note the time and get it

   19   entered right away?

   20               MR. GLENN:     The entry of the order for relief

   21   certainly does start a number of times running, so it probably

   22   is important.    With regard to this particular order for relief,

   23   I have not done a lot of editorializing, but I did provide in

   24   here the findings with regard to the service based on the

   25   certificate of service that we filed, that the Debtor had



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    1   appeared at least for the purposes of asking for more time.

    2              It orders relief under Chapter 7 of the Bankruptcy

    3   Code.   And pursuant to Rule 1007, the order has been filed

    4   within seven days by the Debtor of a list containing the names

    5   and address as set forth in that rule, and within fourteen days

    6   the schedules that are required by 1007.

    7              The one directs the United States Trustee, who would,

    8   I’m sure, do this anyway, to appoint an interim trustee, which

    9   is a slightly different animal from the previous trustee.

   10   However, we have asked in our motion that -- or at least have

   11   suggested the appointment of Beth Ann Scharrer, who was already

   12   involved in the case of course and has done a fair amount of

   13   work and has counsel in the case.          And we’ve also asked for the

   14   issuance by the clerk of notice -- the order provides a

   15   direction to the clerk to provide the notices pursuant to

   16   Section 342 of the Bankruptcy Code.

   17              And that’s basically all there is in here.            I’m happy

   18   to add anything that the Court wants or take anything out that

   19   the Court doesn’t want.       But that is the order for relief.

   20   It’s a two-page order.

   21              THE COURT:     Have you showed the proposed order to Mr.

   22   Johnson and Mr. Wagner who represent the putative Debtor?

   23              MR. GLENN:     I have not, Your Honor.

   24              THE COURT:     All right.      Why don’t you walk it up

   25   here.   Oh, have you showed it to Mr. Wilkes?



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    1                MR. WILKES:    He has not.      And I don’t have an

    2   objection to the entry of the order.            I just rise to inform the

    3   Court and the parties that standard practice is, absent the

    4   recusal, rejection or removal issues of Trustee Scharrer, she

    5   will remain as Interim Trustee pending the 341.

    6                THE COURT:    All right.      Thank you.

    7                Let me read this into the record for everyone who

    8   hasn’t seen it.     It’s titled Order for Relief:

    9                “On August 16, 2013, the Court considered (A) the

   10   involuntary petition, Docket No. 1 filed by the Petitioning

   11   Creditors:    Soldier Creek Ranch, LLC; Joel Trammell; and

   12   Michael L. Allred, as Co-Trustee of Michael L. Allred Revocable

   13   Trust; and (B) the motion of the Petitioning Creditors, Docket

   14   No. 94, for the entry of an order for relief in this case.

   15   Based on the record of this case and the presentation of

   16   counsel for the Petitioning Creditors, the Court finds as

   17   follows:

   18                “Number (1), on July 25, 2013, the Petitioning

   19   Creditors filed their involuntary petition against Avantair,

   20   Inc., the Debtor.      The involuntary petition was appropriately

   21   served on the Debtor as reflected by the certificate of

   22   service, Docket No. 4, of counsel for the Petitioning

   23   Creditors.    Additionally, the Debtor appeared through counsel

   24   and filed an emergency ex parte motion of Involuntary Debtor

   25   Avantair, Inc. for extension of time to respond to involuntary



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    1   petition, Docket No. 57, seeking an extension through August

    2   13, 2013.

    3                “The Court granted the Debtor’s extension request,

    4   Docket 58.    The Debtor filed no further papers or responses to

    5   the involuntary petition.        Based on the foregoing findings, the

    6   Court determines that the involuntary petition has not been

    7   timely controverted by the Debtor and the Petitioning Creditors

    8   are entitled to the entry of an order for relief pursuant to

    9   Section 303(h) of the Bankruptcy Code.

   10                “It is thereupon ordered as follows:            Number (1),

   11   relief under Chapter 7 of the Bankruptcy Code is ordered by the

   12   Court.   Number (2), as required by Rule 1007(a)(2) Federal

   13   Rules of Bankruptcy Procedure, within seven days after the

   14   entry of this order for relief, the Debtor shall file a list

   15   containing the name and address of each entity included or to

   16   be included on Schedules D, E, F, G, and H as prescribed by the

   17   official forms.     The Debtor shall file within fourteen days the

   18   schedules, statements and other documents required by Rule

   19   1007(b)(1), and the Debtor shall file promptly any other lists,

   20   schedules, and reports required by Rule 1007 or otherwise

   21   required by the Bankruptcy Code or the Federal Rules of

   22   Bankruptcy Procedure.

   23                “The United States Trustee is directed to appoint

   24   promptly an interim trustee pursuant to Section 701 of the

   25   Bankruptcy Code.     (4) promptly upon the Debtor’s filing of the



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    1   list prescribed by Rule 1007(a), the clerk of this court shall

    2   issue appropriate notices pursuant to Section 342 of the

    3   Bankruptcy Code of the entry of this order for relief.”

    4              So that is the verbatim proposed order, which is not

    5   different from the summary Mr. Glenn just rose to provide.

    6              So let me ask, Mr. Thompson (sic) and Mr. Wagner, is

    7   there any objection on your part -- your client’s part to my

    8   entering this order right now?

    9              MR. JOHNSON:     No objection, Your Honor.            I’m sorry,

   10   Your Honor.   This is Jeremy Johnson, no objection, Your Honor.

   11              THE COURT:     All right.      Thank you.

   12              MR. JOHNSON:     We have prepared drafts of many of

   13   those documents by another counsel of the Interim Trustee and

   14   we will continue to work with whatever management we have left

   15   in an effort to cooperate with those deadlines.

   16              THE COURT:     That’s super.

   17              MR. JOHNSON:     The Interim Trustee -- counsel for the

   18   Interim Trustee has filed a 2004 of -- I think -- and I’m not

   19   sure if it was ordered, but I believe that process may be

   20   moving along.    Most of the officers have resigned, which

   21   creates difficulties in trying to comply, but we’ll make our

   22   best efforts to comply with the terms of the order.

   23              THE COURT:     All right.      As I recall from the first

   24   conference, you still had general counsel involved; right?

   25              MR. JOHNSON:     Yes.    The only remaining members that



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    1   hadn’t resigned were the president of the company, Steven

    2   Santo, and the general counsel of the company, Allison Roberto,

    3   the two.    But I’m not sure I can necessarily characterize them

    4   as involved, but they did not resigned pre-involuntary petition

    5   filing.

    6               THE COURT:     All right.      Thank you.

    7               Ms. Scotten, do you want to go ahead and walk this

    8   down to the case manager and see if we can get this order for

    9   relief entered while we have the rest of the hearing.             Thank

   10   you.    And do you know whether the email’s hit the docket?           It

   11   did?

   12               MS. SCOTTEN:     (Inaudible).

   13               THE COURT:     Pardon me?

   14               MS. SCOTTEN:     (Inaudible).

   15               THE COURT:     Okay.    Did everyone see the emails that I

   16   received?   That was the next announcement I was going to make.

   17   Okay.   I don’t know, I guess I’m so out there everyone knows my

   18   email address.

   19               I got three emails.        One was just from a creditor I

   20   think in New Mexico or Mexico even asking how to lodge a claim.

   21   And I think my law clerk responded to him that -- where to find

   22   the proof of claim and that we recommend he get an attorney.

   23   And I don’t remember his name or his company’s name.

   24               But then I get these two.          So for those who haven’t

   25   read them, I’ll read it.



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    1                Mr. Lamoureux, did you see these, importantly?

    2                MR. LAMOUREUX:     Your Honor, I saw them right before

    3   the hearing.    The U.S. Trustee provided me a copy of it.

    4                THE COURT:    Okay.    The subject is AvAero is just a

    5   front corporation for Kevin V. McKamey, Avantair EVP.             It comes

    6   from somebody who is anonymous but has the email address

    7   Garnet4847@mypacs.net.

    8                I put these on the docket.         I wrote when I received

    9   them by email, at least when I opened them.              I redacted my own

   10   email address.

   11                This is what this one says:         “Dear Honorable Judge

   12   McEwen:   I’m sure that you already knew this, but” -- and then

   13   there’s a long URL, which I didn’t click.

   14                Next paragraph:     “AvAero is just a shell company for

   15   Kevin McKamey, Avantair’s executive vice president.”              Another

   16   URL, which I did not click on.          “If he is allowed access, the

   17   rest of Avantair management might as well be allowed access

   18   too, and more engines and parts may disappear along with

   19   maintenance records.       Thank you.      A concerned former Avantair

   20   employee.”

   21                In my own handwriting, when I posted this on the

   22   docket, I wrote:     “Note:     I did not click on the links included

   23   in this email.     Papers submitted for the record in this case

   24   must be in proper form, signed, filed, and served as required

   25   by the applicable rules of procedure and principles of due



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    1   process.”

    2               All right.    The next one is longer.          “Subject:

    3   McKamey/AvAero.”    This time the person had, you know, the

    4   gumption to tell me who he is.         It’s Charles Icester,

    5   I-c-e-s-t-e-r (sic).

    6               “Your Honor, I read in the Tampa newspaper that

    7   AvAero is requesting unfettered access to the crime scene at

    8   Avantair.   I’m sure that you’re aware that AvAero is a front

    9   company for McKamey as is Kevco.          To allow him or any of the

   10   ‘office tenants’ access to the premises will have the same

   11   effect as unlocking the doors.         Many (most/all) of those

   12   tenants are his pals.      Hopefully the facility at KMCO housing

   13   maint. and operational records has also been secured.

   14               “I was a long-term employee at VNR, nine years.              Only

   15   a handful of others have been on the property longer.             I’ve

   16   observed Mr. McKamey’s modus op and can assure you that he

   17   operates with impunity.       Federal Aviation Regulations, custom’s

   18   requirements, and even generally accepted sexual harassment

   19   guidelines apply to all others but not him.

   20               “I can only imagine his personal resolve to comply

   21   with any of your orders.       I have been in frequent contact with

   22   investigator Vivian Vega, DOT-OIG.          As the first employee to

   23   contact her voluntarily after the collapse, I was able to

   24   provide her with some hopefully productive leads.

   25               “In your now key role in unraveling this tangled web,



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    1   understand that the employees as well as creditors are cheering

    2   you on.    You have our support and whatever cooperation can be

    3   offered.   By my estimation, several hundred millions -- million

    4   dollars in wealth has vaporized, but Kevin still has the palm

    5   trees.    Regards, Charles E. Eycester” -- E-y-s-t-e-r is his

    6   actual name -- “ex instructor pilot.”           And he gives a phone

    7   number there.

    8               So I thought you all should know that I got these

    9   things and I have not done anything with them except read them,

   10   not clicked on the links that were involved.              And you may

   11   download a copy from your -- from the PACER.

   12               Now, where should we start, Ms. Sherman, with the

   13   rest of our docket?

   14               MS. SHERMAN:    Your Honor, I’m kind of at a loss as to

   15   where to start, having just --

   16               THE COURT:    Me too.     That’s why I’m pushing it to

   17   you.

   18               MS. SHERMAN:    -- having just read that last email.         I

   19   suppose it might be good to update the Court and the parties as

   20   to where things stand as far as securing facilities and

   21   records.

   22               THE COURT:    Oh.   And that reminds me; another

   23   announcement.    Over the weekend -- was it this past weekend or

   24   the weekend before?

   25               MS. SHERMAN:    The weekend before.         The weekend after



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    1   Ms. Scharrer was --

    2               THE COURT:    -- the weekend before, I received a call

    3   on my cell phone.     It was Ms. Sherman advising me that she was

    4   with Ms. Scharrer at the place, wherever the place was, St.

    5   Pete I guess, and that there were 30-some-odd doors and many of

    6   them were unlocked, and that they would be imminently filing a

    7   motion to give them authority to do something, lock it up or

    8   whatever.

    9               I arranged for a case manager to be on call.            The

   10   motion was uploaded and, as you all saw, I granted it.

   11               Okay.   Go ahead.

   12               MS. SHERMAN:    Well, let’s start with that, Your

   13   Honor.    So the first thing Saturday morning, Ms. Scharrer and I

   14   went to the Clearwater location.          We found it unlocked.        It’s

   15   in the court file an affidavit of Ms. Scharrer as to the

   16   condition of the premises when we got there.

   17               There are lots of computer servers.            There are

   18   airplanes, some with whole wheels and engines that look like

   19   they might be able to fly tomorrow if the FAA would allow them

   20   to fly.   There are others that are shells that are sitting up

   21   on jacks, and they’re sitting in a giant -- all of this is in a

   22   giant hangar area together with other planes of other tenants,

   23   primarily a Dr. Chipman who keeps planes there.

   24               And the way the building is set up, when you walk

   25   into the front office space, you can access the hangar, and



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    1   from the hangar, you can, in turn, access the back of the

    2   office space.

    3              So we looked around and tried to figure out -- the

    4   Debtor has books and records and desks and chairs and computer

    5   servers and paper files throughout the entire office, and

    6   that’s all in Mr. Lamoureux’s motion for relief from stay.                 And

    7   he has also walked through the premises with me.

    8              And so it wasn’t really feasible to lock up any

    9   particular corner of the premises, and the only thing to do was

   10   to lock up the entire premises.         That has been done.          None of

   11   the doors -- all the doors are locked.            Well, they’re

   12   inoperable except one, and there is one person who has a key to

   13   that, and that is the -- I’m sorry, two -- Ms. Scharrer as

   14   Trustee and an agent of the landlord who has been instructed to

   15   let no one in without the Trustee’s permission.                  And he has --

   16   they have been doing that.        Hence Mr. Lamoureux’s motion for

   17   relief from stay.

   18              So all the pieces parts of the airplanes -- and some

   19   of the parts are laying near the airplanes in the hangars and

   20   then there’s a bunch of them on shelves.            Some of them have

   21   tags showing what planes they came off of, some of them do not.

   22   I’m told those parts are worth, ten, twenty, fifty, eighty

   23   thousand dollars depending on what they are.              You think car

   24   repairs are expensive?      Plane repairs must be exponentially

   25   more different.



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    1              THE COURT:     Mr. Gibbs would tell you that from

    2   personal knowledge.     He’s probably the only person in here who

    3   at one time had his own fleet.

    4              MS. SHERMAN:     I believe he still does.             But, yes,

    5   they are quite expensive.

    6              So we got the records and the paperwork in Clearwater

    7   secured.   We immediately sent letters to any FBO or -- Avantair

    8   was leasing hangar for office space that we were aware of,

    9   specifically Signature Aviation in Dallas and Galaxy in

   10   Orlando.   Signature in Dallas, I was able to contact their

   11   general counsel, in-house counsel, and he secured the premises

   12   there and has assured us that nothing will be coming or going

   13   and no one will be coming or going, and that the paper records

   14   and physical property there are safe and, absent a court order,

   15   will not be going anywhere.

   16              I had to physically go to the Orlando location.                At

   17   the Orlando location the Debtor has a complete hangar that it

   18   was subleasing from Galaxy Aviation.           That contains parts and

   19   aircraft, some desks, some computers, and a limited amount of

   20   records.   Those locks are keypad locks where you type in a

   21   computer code, and we were able to find the paperwork to change

   22   the computer codes.     And the fire marshal at Clearwater Airport

   23   and Galaxy Aviation and myself are the only three people that

   24   have codes to those doors.        So anything in the hangar in

   25   Orlando has been secured.



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    1               Also in Orlando --

    2               THE COURT:     You mentioned the fire marshal in

    3   Clearwater?

    4               MS. SHERMAN:     I’m sorry.      The fire marshal in Orlando

    5   Airport.

    6               THE COURT:     Oh, okay.

    7               MS. SHERMAN:     They have to have by rule -- they

    8   actually own a hangar and sublease it.             They have to have

    9   access.    If the gas leaks out of a plane and something catches

   10   fire, they need to be able to get in.

   11               THE COURT:     Who represents Galaxy?

   12               MS. SHERMAN:     Galaxy has got in-house counsel by the

   13   name of Olga I want to say Parra, P-a-r-r-a.

   14               THE COURT:     All right.

   15               MS. SHERMAN:     And we have been in contact with Ms.

   16   Parra as well.

   17               THE COURT:     All right.      Thank you.

   18               MS. SHERMAN:     Also in Orlando is a records room.          And

   19   the records room is about 3,000 square feet.               I think there are

   20   four or five doors leading into the records room in a shared

   21   hangar.    And I believe that’s Hangar 460.            And those rooms were

   22   subleased by Avantair from Galaxy Aviation.

   23               Now, when you go into those rooms, there are file

   24   cabinets, some of which are labeled, some of which are not

   25   obviously labeled, at least to the untrained eye; there are



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    1   binders containing records; there are paper records out loose

    2   on various people’s desks.         It looks like everybody went on

    3   lunch break and didn’t come back, which is, I suspect, pretty

    4   much what happened.

    5                They are probably, for somebody who knew how things

    6   were sorted when the music stopped, something that someone

    7   could make sense of.       It would take your or I or someone else,

    8   even someone with some aviation training, a little bit of time

    9   to figure out how they were sorted and to try and figure out

   10   what went with what planes.         Those rooms have also been

   11   secured.

   12                THE COURT:    Even though they’re in a shared hangar?

   13                MS. SHERMAN:    Well, there’s a hangar area and there’s

   14   some office space.      You have to have a key to get in the front

   15   door.   But all entry doors into the room where those records

   16   are located -- actually, there’s two rooms -- have been

   17   secured --

   18                THE COURT:    All right.

   19                MS. SHERMAN:    -- so no one can have access.

   20                We’ve notified all the major repair facilities that

   21   we were aware of that had parts that the automatic stay was in

   22   effect and if they were in the midst of conducting mechanic’s

   23   lien auctions or anything like that, don’t hand them over to

   24   anybody else, don’t sell them, don’t do anything with them at

   25   least pending further order of the court.



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    1              And as far as I know, all the repair facilities have

    2   honored those requests, although I know some of them have had

    3   people show up and say:       That’s my engine, get it to me.         But

    4   as far as I know, they haven’t done so.

    5              The Debtor kept its computerized records for parts on

    6   the Avtrak system, which is some sort of software that is

    7   supposed to track what parts are on what planes and what life-

    8   limited parts are on what planes so that you can tell at a

    9   glance how many hours or cycles are on all the life-limited

   10   parts.

   11              Initially, that had been turned off.             It was turned

   12   on with read-only access to allow one of the former maintenance

   13   directors to provide us with some lists:            where were the

   14   planes, and what engines were on the planes, and what engines

   15   did those planes initially come from.           The same with the

   16   landing gear and propellers.        Those were partially prepared,

   17   those Excel spreadsheets.

   18              When I got a call from the lawyer representing Avtrak

   19   saying:   We’re getting all kinds of calls from all kinds of

   20   people demanding access, people are calling saying I want to

   21   switch the entire Avantair account to my own name.               And it was

   22   getting -- making them rather uncomfortable shall we say.

   23              So we had to shut down all Avtrak access.              There was

   24   a concern that although it was read-only somebody would be

   25   tampering with files.      So the Avtrak files are being preserved.



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    1   No one can tamper with them and, at this point, no one can

    2   access them even on a read-only basis.

    3               Depending on what happens today, I believe Avtrak has

    4   the ability to allow access on a read-only basis.                But they

    5   would like some guidance as to who or what they should be

    6   allowing access to.

    7               THE COURT:    Who represents Avtrak?

    8               MS. SHERMAN:    I believe she’s filed a notice of

    9   appearance.    I’m sorry, Your Honor, I’ll find it in a moment

   10   for Your Honor.

   11               THE COURT:    Somebody’s entered an appearance?

   12               MS. SHERMAN:    Yes, they filed a notice of appearance

   13   in the case.    It’s a law firm.       And it may not say Avtrak; it’s

   14   the name of the parent corporation.           I think it might be Camp

   15   something, but I -- there’s too many names in my head right

   16   now, Your Honor, and I’m having trouble keeping them all

   17   straight.

   18               THE COURT:    I’m hoping you all will create

   19   spreadsheets one day.      Okay.

   20               MR. KOBERT:    Your Honor, at Docket Entry 89 is an

   21   appearance by creditor Camp Systems International, Inc.

   22               THE COURT:    Okay.    Thank you, Mr. Kobert.

   23               MR. KOBERT:    Robin Abramowitz.

   24               MS. SHERMAN:    That’s correct, Your Honor.

   25               Thank you, Mr. Kobert.



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    1              THE COURT:      Thank you.

    2              MS. SHERMAN:      We’ve gotten in touch with all the

    3   banks where we understood the Debtor had bank accounts to let

    4   them know freeze the accounts, send any money in the accounts

    5   to the Trustee.     And we’ve begun receiving bank statements.

    6   The primary bank accounts were at Wells Fargo.               And they wanted

    7   a subpoena before surrendering the records, but they have been

    8   surrendering the records now and they’re coming in waves.                  A

    9   bunch of them arrived yesterday.           We really haven’t had a

   10   chance to look through them.

   11              THE COURT:      At the last hearing it was represented to

   12   me by the Debtor’s counsel that there was no money.                  Is that

   13   what you have found?

   14              MS. SHERMAN:      Your Honor, there was I believe

   15   $19,000, and I could be wrong, left in one of the Wells Fargo

   16   bank accounts.

   17              THE COURT:      Okay.    Virtually nothing.            All right, go

   18   ahead.

   19              MS. SHERMAN:      That’s correct, Your Honor.

   20              Ms. Scharrer has diverted the mail at the Clearwater

   21   location to a P.O. Box so that she will be receiving it.                  There

   22   was also mail being received at the Orlando location primarily

   23   relating to maintenance and things of that sort.                  That mail has

   24   also been diverted.      And I believe the third address where the

   25   Debtor might have mail was the address shown on the Sunbiz



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    1   records which appear to be a residential address and so any

    2   mail to Avantair that was to be delivered to that address has

    3   also been diverted.

    4              THE COURT:      How about the Signature address?

    5              MS. SHERMAN:      I’m sorry?

    6              THE COURT:      Dallas.     Dallas.

    7              MS. SHERMAN:      I don’t believe they were receiving

    8   mail at that address, Your Honor.

    9              THE COURT:      All right.      Just for safety’s sake you

   10   might want to consider that.

   11              MS. SHERMAN:      Yes, Your Honor.

   12              THE COURT:      All right.      Go ahead.

   13              MS. SHERMAN:      We’ve been in touch with the FAA

   14   Special Team.    They actually reached out to me I want to say on

   15   the Monday or Tuesday after Ms. Scharrer was appointed.

   16   Apparently there is a Special Team that has been assigned to

   17   the Avantair fleet as well as FAA counsel, Joe Conte, who is on

   18   the telephone.

   19              We’ve been in touch with most of the major creditor

   20   contingents that have appeared, most of the major repair

   21   facilities who have called.         And we’ve been in touch -- we’re

   22   trying to work with the manufacturer, Piaggio, who is

   23   represented by Mr. Riedel locally and Marshall Winn out of

   24   state, to try and get with them to determine and get lists of

   25   -- and they’re supposedly being uploaded to an FTP address



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    1   right now -- what parts were on what planes at the time they

    2   were delivered from the manufacturer.

    3               Unlike a car --

    4               THE COURT:    That’s super.       So it would be like a

    5   baseline.

    6               MS. SHERMAN:    Yes, Your Honor.        Unlike a car, the

    7   parts that come on a plane are all -- or at least a great

    8   number of them are separately serial numbered.              And I think

    9   there’s a 138 life-limited parts that have their own serial

   10   numbers on a Piaggio P180.        And there’s some sort of, I think

   11   they call it a “bill book” that you get from the manufacturer

   12   with each plane that describes each and every component that’s

   13   on the plane.

   14               And so everything in the entire Piaggio fleet as it

   15   stood before some of the planes were given back to Mr.

   16   Markham’s clients and some of the planes were given back to LW,

   17   all those planes, we’re getting the baseline on what was on

   18   those planes.

   19               Piaggio also was gracious enough to volunteer one of

   20   their employees to come at the expense of Piaggio and inventory

   21   all the parts that were in the Clearwater location, and those

   22   are new parts as well as used parts.           They are in rooms all

   23   over.   Some are tagged, some are not tagged.             I believe it took

   24   them three or four days to finish Clearwater, and I don’t know

   25   that they’ve finished Orlando as we stand here today.



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    1                THE COURT:    And they did that at their own expense?

    2                MS. SHERMAN:    Yes, Your Honor.

    3                THE COURT:    Go ahead.

    4                MS. SHERMAN:    We’ve also gone through the Debtor’s

    5   fractional ownership records, which are spreadsheets, and the

    6   FAA Registry to try and get a handle on what fractional

    7   interests the Debtor may have retained in any of these

    8   aircraft.    It appears that the Debtor may have retained a

    9   fractional interest in four of the aircraft, which I believe

   10   are N104SL, N146SL, N147SL, and N149SL.

   11                Mr. Markham’s clients, which are MidSouth and Clear,

   12   have filed a UCC against those interests and I believe also

   13   have FAA filings -- security interests against those fractional

   14   interests.

   15                THE COURT:    So based on your review they may be --

   16   have a perfected position?

   17                MS. SHERMAN:    They may, Your Honor.          It’s a little

   18   early to have all of that analysis done.             Those were recorded,

   19   I believe, within 90 days of the bankruptcy case, so there’s

   20   some further looking that needs to be done as far as that.              But

   21   it’s really premature to tell.

   22                THE COURT:    Perfected, may be voidable.

   23                MS. SHERMAN:    I’m sorry?

   24                THE COURT:    Perfected, may be voidable.

   25                MS. SHERMAN:    Perhaps, Your Honor.



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    1              We’ve also done a UCC search to try and get a handle

    2   on the extent to which any creditors may claim a lien on non-

    3   aircraft-type things that you would perfect through a UCC

    4   filing.   There are -- there’s a filing by Dell which appears to

    5   cover some leased computer equipment.           I don’t know if it’s all

    6   the computers or some subset of the computers.

    7              There is also a blanket UCC that’s been filed against

    8   all assets of the Debtor by a Barry Gordon as collateral agent.

    9   And piecing that together with some of the Debtor’s SEC filings

   10   and the exhibits from those filings and having had

   11   conversations with some of the folks who were involved at the

   12   time, it appears that there were some secured convertible notes

   13   issued to a bunch of folks, some of which may have been

   14   insiders and some of which may have been on the board, that

   15   made investments in the November 2012 through March 2013 time

   16   frame.

   17              And it looks like, per the SEC filings, that’s about

   18   $7 million in the aggregate.        We haven’t seen the actual

   19   documents themselves yet.       What was attached to the SEC filings

   20   were not complete.     I don’t know how much money was actually

   21   advanced and how much may have been repaid.             So depending on

   22   the outcome of that, there may or may not be --

   23              THE COURT:     What is identified as the collateral?

   24              MS. SHERMAN:     Your Honor, it has basically every form

   25   of collateral you can name.



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    1              THE COURT:     Blanket.

    2              MS. SHERMAN:     Blanket, Your Honor.          It does mention

    3   collateral -- I’m sorry -- commercial tort claims as collateral

    4   generically.    And I don’t believe that is how you would perfect

    5   as to commercial tort claims.         And after-acquired property

    6   clauses under Article 9 don’t attach to the commercial tort

    7   claims.   So that would be one area we’ve identified that we

    8   believe the UCC might not cover, assuming everything else

    9   checks out as far as the bona fides of the underlying

   10   transaction.

   11              THE COURT:     Are you aware of any commercial tort

   12   claims?

   13              MS. SHERMAN:     Your Honor, I don’t know whether there

   14   are going to be claims against any of the former directors and

   15   officers at this point.       If you read everything that’s on the

   16   blogs on the internet, perhaps there are; I don’t know.             It’s

   17   really premature.     But there may be commercial tort claims

   18   against some of the former insiders.

   19              There are director and officer liability policies.

   20   There’s a main policy for $10 million and an excess policy for

   21   $5 million, and they do not appear to have insured-versus-

   22   insured exclusions that would preclude a suit by the company

   23   against the directors and officers, assuming one does exist.

   24   So that is another avenue to be explored.

   25              We have located four or five vehicles and a custom



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    1   Harley Davidson that are titled in the Debtor’s name which do

    2   not appear to have liens on the title.            Those are sitting at

    3   the Clearwater location.       The keys were located in a drawer at

    4   that facility, and those have been moved to another location

    5   and safe.

    6               THE COURT:    The vehicles, describe them, please.

    7               MS. SHERMAN:    One is a --

    8               THE COURT:    Just by, you know, year and make.

    9               MS. SHERMAN:    -- hybrid SUV that’s some sort of

   10   Buick.   I believe the Debtor purchased it used; found some of

   11   that paperwork.    It’s not going to be terribly valuable.

   12   There’s a pickup truck and an old Ford Taurus and a Subaru;

   13   none of them are going to be terribly valuable.                  I’m told the

   14   Harley Davidson hasn’t run in quite some time.              So I -- without

   15   more knowledge of either Harley Davidsons or what might be

   16   required to fix it, I don’t know the extent to which that may

   17   have value.

   18               And so with that, that’s pretty much the bird’s eye

   19   view of the extent to which we have gone and tried to, in

   20   essence, locate all the marbles and the big ticket items and

   21   make sure that they don’t go anywhere until the Trustee has an

   22   opportunity to figure out who’s on first and what the Debtor’s

   23   interest in all those marbles may be.

   24               We’ve also spent a substantial amount of time trying

   25   to figure out the FAA Regulations and understand those as they



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    1   relate to the current status of the Piaggio fleet.                 Mr. Conte

    2   is on the phone.    And I know Your Honor typically does not

    3   allow people on the telephone to make presentations.                 He sent

    4   me an email this morning that I can read to the Court if you

    5   would prefer Mr. Conte not to --

    6               THE COURT:    No.   My telephone policy is for a trial

    7   people on the phone may not make inquiry.             But for a regular

    8   hearing -- since we’re not having a trial today, this is a

    9   regular hearing -- Mr. Conte may make a presentation.

   10               Go ahead, Mr. Conte.

   11               MR. CONTE:    Good morning, Your Honor.              I let the

   12   Trustee know that last night the FAA issued 23 emergency orders

   13   of suspension against -- regarding 23 of the former Avantair

   14   aircraft.   We intend to issue -- and I sent the Trustee a copy

   15   of one of those emergency orders.

   16               The orders were sent out by FedEx last night and by

   17   certified mail last night.        The representatives for those

   18   aircraft should get the FedEx packages sometime this morning.

   19   We intend to issue 13 -- 12 or 13 emergency orders of

   20   suspension regarding 12 or 13 other aircraft today.                 And next

   21   week, for about 19 aircraft for which we have evidence that

   22   they are not in any sort of flyable condition, instead of using

   23   our emergency authority, we intend to issue notices of proposed

   24   suspension.

   25               In regard to the 23 aircraft that were the subject of



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    1   last night’s emergency order of suspension where we suspended

    2   the airworthiness certificates, those owners and those

    3   representatives have appeal rights to the NTSB.                  Our intention

    4   is -- you know, if they choose not to litigate it, we have our

    5   Special Emphasis Investigation Team.

    6              We’ve developed a checklist of 100 or so items to --

    7   that one would have to look at in order to consider whether the

    8   aircraft is airworthy or not.         And it’s not just looking at the

    9   part.   The significant problem with Avantair is they have

   10   trouble tracking the life limits on life-limited parts.                 And to

   11   the extent that they moved one part from one aircraft to

   12   another, we have evidence where they failed to carry over the

   13   time and service of that part.

   14              So, for example, if an engine had 2,000 hours on it

   15   on Aircraft No. 1, and they moved it off of Aircraft No. 1 to

   16   Aircraft No. 2, they oftentimes zeroed out the time and service

   17   of that engine where that engine might have a 5,000-hour

   18   overhaul limit.    And so 2,000 hours of time on the engine was

   19   not counted for and that, from an FAA perspective, is an

   20   aviation safety problem.

   21              So I can provide the Court this morning, if you’d

   22   like, the N numbers of the aircraft that were subject to the

   23   emergency orders of suspension that were issued last night.

   24   Later this afternoon, when we issue the 12 or 13 additional

   25   emergency orders of suspension, I can give the Court those N



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    1   numbers as well.

    2              THE COURT:      Let’s see.      I have before me -- I’m not

    3   sure how it magically appeared; somebody obviously walked it up

    4   here -- a Federal Express certified return receipt requested

    5   letter or copy of a letter dated August 15th.               This is relating

    6   to N159SL, and it’s Care of Amanda Applegate.

    7              I guess this is representative of the emergency order

    8   of suspension.     It explains findings from an investigation.            It

    9   includes admissions of Avantair officials.              It includes the

   10   FAA’s sampling of Avantair’s fleet with specific examples of --

   11   problems I guess is a loose word, but problems.

   12              It lists aircraft that lack key components, such as:

   13   no left engine, no right engine, loose interior and exterior

   14   panels, et cetera.      It addresses aircraft that has been removed

   15   from Avantair’s operations, specifications.              Some more aircraft

   16   that lack key components such as engines or props.

   17              The order addresses failures to properly preserve

   18   aircraft and parts.      And then lastly, it includes the

   19   determination of the emergency.          It is signed by Peter J.

   20   Lynch, Assistant Chief Counsel for Enforcement through Attorney

   21   John C. Stewart, Jr.

   22              So I have been given this example of the emergency

   23   order.   Am I to take this and put it on the record as an

   24   example?

   25              Where did you get this?



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    1               COURTROOM CLERK:       Ms. Sherman.

    2               MS. SHERMAN:     Your Honor --

    3               THE COURT:     Oh, Ms. Sherman --

    4               MS. SHERMAN:     -- this was a copy that was mailed to

    5   you this morning together with an explanatory email.               Mr. Conte

    6   wasn’t sure whether he would be participating live by phone or

    7   not.

    8               THE COURT:     Okay.    Let me ask Mr. Conte.

    9               Mr. Conte, is this a document that is available

   10   anywhere online?

   11               MR. CONTE:     It’s not available online, Your Honor.

   12   But we can, if you’d like, send you PDF copies of the signed

   13   version of this document that went out last night.                This

   14   version is identical to 18 other emergency orders of suspension

   15   issued last night other than the N number for those other 18

   16   aircraft.

   17               Four of the emergency orders that went out last

   18   night, instead of looking like the order that’s before you now,

   19   are -- were in regard to four aircraft that FAA inspectors

   20   recently re-inspected and for which we found specific

   21   discrepancies.     And so those four orders are a little bit

   22   different than the one before you now.

   23               But this order reflects our order against N159SL and

   24   18 other aircraft; same allegations, just different N number.

   25               THE COURT:     Okay.



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    1               Mr. Kobert, before you speak, let me say -- I’m going

    2   to ask if folks representing parties in interest think that

    3   there should be some sort of an omnibus filing, if I request

    4   the FAA to do that, in this case either by providing the

    5   documents to Ms. Sherman to upload, or whatever, so that all

    6   parties will be on notice of the findings that the FAA has made

    7   with respect to the various aircraft.

    8               MR. KOBERT:    Your Honor, Roy Kobert on behalf of

    9   several fractional owners.        We would support that.

   10               In part, Judge, at least on one of our airplanes,

   11   since there are 16 fractional owners, the first fractional

   12   owner is listed on file in Kansas City with the FAA, and that

   13   fractional owner is a related party, as it turns out, to

   14   Avantair.   So all the notices and liens have been going to

   15   Avantair’s address.      So, in essence, we would probably never

   16   get this notice since it was going just to the first of 16

   17   owners.   So the filing of it will provide transparency and

   18   allow the fractionals to understand the FAA’s perspective on

   19   their particular tail.

   20               THE COURT:    Okay.    That may be the case with some of

   21   the orders, but certainly the one that I just read goes to Ms.

   22   Applegate, who is co-counsel with -- I mean with --

   23               MR. BERMAN:    She’s my co-counsel, Your Honor.

   24               THE COURT:    -- with Mr. Berman’s group, yes.

   25               MR. BERMAN:    Yes, Your Honor.        And we would support



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    1   that sort of a filing.       The only thing that I would actually

    2   request is Ms. -- is if Ms. Applegate has any privacy concerns

    3   with respect to a public filing.           I don’t know what information

    4   is in this.     I’m just looking at it now as is the Court, so I

    5   don’t know if there are any privacy concerns that would sort of

    6   advocate for a not-public filing.

    7              But we’d like the information.            And if aviation

    8   lawyers, including Ms. Applegate, can comment on whether or not

    9   there would be any problem with filing --

   10              THE COURT:      Okay.    Let me ask Ms. Applegate.       She’s

   11   on the phone.

   12              Ms. Applegate, would you have any problem with the

   13   letter that you received going public?

   14              MS. APPLEGATE:       I haven’t actually seen the letter

   15   yet as I’ve (indiscernible) to our office yet.               But assuming it

   16   just has the entity name on it, that is part of the public

   17   record already, so I would have no objection.

   18              THE COURT:      Okay.    It does say -- the letter goes

   19   care of you, and then it says “Representative of owners N15SL,

   20   Aerlex Law Group.”

   21              Okay.    I think that this information is good

   22   information, and it’s information that I think will guide the

   23   parties, especially those who are seeking stay relief, in maybe

   24   making their arguments.

   25              And so, Ms. Sherman, I would like for you to get



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    1   copies of all of these from Mr. Conte, the 23 that have been

    2   issued, the 12 to 13 that will be issued soon, and then the 19

    3   that will be issued next week, which are, I guess, less --

    4   they’re just suggestions, I guess, notices of proposed

    5   suspension so they wouldn’t be orders of suspension.

    6              MS. SHERMAN:     Your Honor, this might be a good time

    7   to address this.    I received yesterday an Excel spreadsheet

    8   that was the Debtor’s last records with every fractional owner

    9   name, every fractional owner address and their emails.              Now,

   10   I’ve been hesitant to disseminate that list.              There are a lot

   11   of mechanics out there, there are a lot of consultants out

   12   there, there are a lot of people out there tracking these

   13   owners and looking to put together various groups.               And I

   14   certainly don’t want that list perhaps to be on the public --

   15              THE COURT:     Eventually that list is --

   16              MS. SHERMAN:     -- but what I was going --

   17              THE COURT:     Within 14 days that list is going to be

   18   public, or 7 days as the case may be.

   19              MS. SHERMAN:     What I would -- if possible, the FAA

   20   had asked me could I provide them with the contact information

   21   and the email addresses at least so the safety notices could

   22   get to those owners.      And again, without -- it was given to me

   23   with a stick and a threat and a promise that I would not under

   24   any circumstances let that get out there in the public domain.

   25   But if I can provide at least to the FAA so that we’re sure



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    1   that all the fractional owners are getting these notices?

    2              THE COURT:     Oh.    You may provide it to the FAA.           Now,

    3   it may become a public record at that point.              So --

    4              MS. SHERMAN:     Your Honor, as long as --

    5              THE COURT:     But I’m not --

    6              MS. SHERMAN:     -- I have a court order --

    7              THE COURT:     -- really that concerned, because I

    8   believe the order that I just entered is going to require the

    9   Debtor to file all that stuff anyway.           Maybe not the phone

   10   numbers and email addresses, I understand that, but the

   11   addresses certainly.

   12              MS. SHERMAN:     That’s fine, Your Honor.             So then it

   13   will be all right for me to provide that information to the

   14   FAA?

   15              THE COURT:     Yes.

   16              MS. SHERMAN:     Thank you, Your Honor.

   17              MR. KOBERT:     Your Honor, Roy Kobert again on behalf

   18   of certain fractionals.       I would support that.         If we could

   19   redact just the phone number and email, the addresses I think

   20   are fine for contact purposes.         And if the FAA -- if Mr. Conte

   21   could also provide us -- at least I know of one airplane where

   22   an application was made with the FAA to actually change the

   23   tail number, and I’d like to know if he can provide -- not

   24   today --

   25              THE COURT:     No.    You ask for that off the record.



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    1               MR. KOBERT:    Yes, Your Honor.

    2               THE COURT:    If he wants to cooperate, fine.         If it’s

    3   something that is discoverable in a relevant contested matter,

    4   you can get it that way.       The Trustee’s authorized to give the

    5   list to Mr. Conte; it may become public.            The Trustee is

    6   authorized to give the list to any of you all with the phone

    7   numbers and addresses -- I mean the phone numbers and emails

    8   redacted.

    9               MR. GART:    Your Honor --

   10               THE COURT:    Yes?    Who is this?

   11               MR. GART:    Brian Gart for Teterboro Rams.          Your

   12   Honor, my client is a lienholder on at least 41 of the

   13   aircraft, and I certainly don’t need to see the list that Ms.

   14   Sherman was speaking of.       I’m -- my guess is that it will

   15   become part of the schedules in a short time.              But we would

   16   like to know and see which of the aircraft will be subject to

   17   the orders of suspension or the notices of proposed suspension

   18   as soon as possible.

   19               THE COURT:    That’s why I’ve asked Mr. Conte to give

   20   all those to Ms. Sherman, and Ms. Sherman will upload those on

   21   the docket under a notice of filing.

   22               MR. GART:    Thank you, Your Honor.

   23               THE COURT:    You’re welcome.

   24               All right.    Now, we have -- Mr. Conte, did you have

   25   anything else to add?



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    1              MR. CONTE:     No, Your Honor.       And actually, we

    2   appreciate getting the actual addresses of the various

    3   fractional owners because some of the emergency orders of

    4   suspension, Avantair itself is the agent for service of process

    5   and that is problematic for us too.           We want the actual owners

    6   to get the suspension -- emergency suspensions or notices of

    7   suspensions so that they know the FAA position -- safety

    8   position on their aircraft.        So nothing further to add.

    9              THE COURT:     All right.      Thank you.

   10              So we’ll segue back to -- or circle back to Ms.

   11   Sherman, the rest of your presentation.

   12              MS. SHERMAN:     Yes, Your Honor.        Thank you.   So we

   13   started looking and trying to figure out what the fleet looked

   14   like when the music stopped and the petition was filed and what

   15   was where and in what condition.

   16              So there’s roughly 55 Piaggio P180s with all these

   17   different owners.     And as we know from the last hearing and

   18   from what Mr. Conte just put on, at different points in time,

   19   different parts have been taken off one airplane and put on

   20   another airplane, that it originally did not come from the

   21   manufacturer.

   22              THE COURT:     Scrambled eggs.

   23              MS. SHERMAN:     Yes, Your Honor, scrambled eggs.         Or as

   24   Mr. Alpert suggested, Mr. Potato Hat (sic).

   25              But we have all -- and some of these planes as they



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    1   sit right now have engines and propellers and landing gear but

    2   not the ones that came from the manufacturer.              There are other

    3   fairly expensive parts on these airplanes, whether it’s the

    4   locks that allows you to get WiFi in the aircraft, which I’m

    5   told costs $75,000, or something else.            The planes are in

    6   various states of scrambling.

    7              Prior to the bankruptcy filing, it appears that

    8   certain planes were returned to LW Air, and I believe those

    9   were five, airframes and certain propellers and engines that

   10   may or may not have been the propellers and engines that were

   11   originally installed on those airplanes when they left Piaggio.

   12   And this is significant --

   13        THE COURT:    And that’s Mr. Markham’s people?

   14              MS. SHERMAN:     LW Air is some folks on the phone.

   15              THE COURT:     Hold on.

   16              MS. SHERMAN:     Mr. Schmidt I believe is who I’ve been

   17   talking to.

   18              MR. PLOTKO:     That’s correct.        Mr. Schmidt is not on

   19   the phone, but that’s Mr. Plotko and Mr. Smith.

   20              THE COURT:     Oh, right.

   21              MR. PLOTKO:     (Indiscernible) was taken.

   22              THE COURT:     Right.    Okay.

   23              MS. SHERMAN:     So some were returned to LW Air with

   24   parts on them that may not have been the original parts from

   25   Piaggio, and some of them weren’t returned in complete, full



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    1   packages with all the parts you need to make a full airplane.

    2   The same thing happened with Mr. Markham’s clients, MidSouth

    3   and Clear.    And I believe they received seven airplanes.

    4                And so we have 12 airplanes, which are technically

    5   airframes and engines and propellers and parts, that have gone

    6   back pre-bankruptcy and are in the possession of third parties,

    7   that may or may not have parts that didn’t originally come on

    8   those planes.

    9                And if that wasn’t confusing enough, we have some

   10   loaner engines from Dallas Airmotive in the mix.                  They have

   11   filed a limited objection to the motion for relief from stay,

   12   and they’re represented here today by counsel.               And I won’t try

   13   and steal his thunder, but as I understand it, there was a

   14   contract between Avantair and Dallas Airmotive where Dallas

   15   Airmotive would service engines.           And while one engine is on

   16   the ground being serviced, you don’t want the plane to have to

   17   sit there, you put a loaner engine on the airplane and off it

   18   goes.

   19                So as it stands right now, there are Dallas Airmotive

   20   engines, I believe some of them may be on the airplanes that

   21   were returned prepetition and some of them are on the airplanes

   22   that are sitting at Teterboro Ram that Teterboro Ram claims a

   23   mechanic’s lien on.      And that would be Mr. Gart’s client.

   24                So we have not only the problem of deciding as

   25   between various owner groups how to unscramble the eggs, but



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    1   we’re going to throw into it at least one vendor we know of

    2   that has some engines out there.

    3                THE COURT:    Okay.    Is that Mr. Mohney’s --

    4                MR. MOHNEY:    Yes, Your Honor.

    5                THE COURT:    -- client?      And so -- and Mr. Amron would

    6   have been here on the phone if you weren’t here in person;

    7   right?

    8                MR. MOHNEY:    Yes, Your Honor.        He’s our local

    9   counsel.

   10                THE COURT:    Okay.    All right.      Thank you.

   11                MS. SHERMAN:    And then we have some mechanic’s lien

   12   claimants.    There are folks all over the country who have done

   13   work on these planes, some of who have possession of either

   14   planes or parts.     Some of the aircraft are parked on various

   15   facilities where storage charges are accruing and we’re

   16   claiming that we’ve got storage liens on some of them.

   17                For example, Mr. Gart’s client, Teterboro Ram, I

   18   believe they’re owed four-hundred-and-some-thousand dollars for

   19   work done on 41 planes.        And apparently under New Jersey law,

   20   they can sell two of the four planes in their possession to pay

   21   themselves for the work they did on all of the planes.

   22                So we have somewhat of a mess.

   23                THE COURT:    It’s daunting.

   24                MS. SHERMAN:    It is daunting, Your Honor.          And when

   25   the case first filed and Ms. Scharrer and I were trying to



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    1   figure out what to do and the stay motions started coming in,

    2   the question became -- and everybody’s saying:               We want our

    3   airplanes.    And I’m envisioning people showing up at the hangar

    4   door in Clearwater saying:         Give us our airplane.

    5                And my question is:       Define airplane.           Is it what is

    6   presently attached to your tail number?             Is it what was on it

    7   when the music stopped, the musical chairs theory?                  Is it what

    8   was on your airplane when it first left Piaggio?

    9                And it’s an interesting conundrum and one that --

   10                THE COURT:    What does the industry standard answer

   11   provide us?

   12                MS. SHERMAN:    I don’t know that there is an industry

   13   standard.    And I don’t know that the Trustee necessarily has a

   14   dog in that fight except to the extent that once we decide what

   15   parts we are going to unscramble, if there are spare parts that

   16   the Debtor owned, those should -- depending on how we decide to

   17   unscramble this egg and whether it’s the -- you know,

   18   “everything that came with the original plane” theory, or the

   19   musical chairs, “where were you when the music stopped” theory,

   20   there may be some parts that belong to the estate.                  I just

   21   don’t know at this point.        And we still don’t have the

   22   inventory yet.

   23                But that -- it’s a very interesting conundrum as far

   24   as when people show up exactly what they are to get possession

   25   of.   And we’ve reached out to all of the owner groups; we’ve



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    1   talked to some consultants.        And, you know, kind of the

    2   question is:    Okay, it’s really an owner group issue; what

    3   would you like me to hand to whom?

    4              And as if that’s already not complicated enough,

    5   airplanes aren’t like cars.        And so the engines, per the

    6   manufacturer’s specifications, if they are not run -- going to

    7   be run and flown every seven days at least, there are certain

    8   maintenance procedures which involve doing some compression

    9   tests and sticking some sort of lubricant and (indiscernible)

   10   in them to make sure nothing bad happens.             It’s a different

   11   procedure if it’s 9 to 28 days, and it goes on and on.

   12              But that wasn’t complicated enough.             We have the fuel

   13   tanks, some of which may be full.          And if you leave fuel

   14   sitting in an airplane, it separates into water, something

   15   microbial grows I am told, and that’s a whole other issue.

   16              But I get -- the Trustee at this point is the

   17   custodian of some of these planes.          We do not have money in the

   18   estate to maintain the planes.         And someone needs to make a

   19   decision who is going to take custody of what pieces and parts

   20   and who is going to be responsible for maintaining those pieces

   21   and parts for the benefit of whomever is determined to be the

   22   owner.

   23              And right now, I don’t know that all the owner

   24   groups, even on the planes that are subject to the stay relief

   25   motions, have received notice of what’s going on.                I don’t know



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    1   that all the lienholders -- and some of these folks, the owners

    2   financed their fractional interest.           So if you finance your

    3   fractional interest, the lender -- at least some of the

    4   recorded liens that were attached to I believe one of Mr.

    5   Alpert’s stay relief motions, filed a lien not only on the

    6   airframe but on the engines and on the propellers.

    7               So if the propellers are sitting on Plane B and

    8   Fractional Owner A had a lender, Fractional Owner A’s lien is

    9   going to be on the propellers if they wind up staying on B.

   10   And I don’t know that any of those lienholders have been

   11   notified.   And it becomes a convoluted, very complicated, and I

   12   suspect very expensive mess to unravel.

   13               And then we have the paper trail that has to follow

   14   the hard goods once a decision is made where they go.             And I’m

   15   at a loss for a brilliant suggestion on what to do, and I know

   16   all the owner groups have their --

   17               THE COURT:    Maybe you should have objected to my

   18   entering the order for relief.

   19               MS. SHERMAN:    But -- and it’s unfortunate, because we

   20   are in fact custodian, at least on the planes that are sitting

   21   in Clearwater and sitting in Dallas and sitting in Orlando of

   22   these planes.    And somebody needs to maintain them for the

   23   benefit of the ultimate -- whoever is decided to be the

   24   ultimate owner.    And I guess you can lift the stay and

   25   everybody can do replevins all over the world.              We, in theory,



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    1   could throw up our hands and abandon.

    2               THE COURT:    That’s not helpful to anybody.

    3               MS. SHERMAN:    And I -- so we’re kind of here saying

    4   we’re waiting for the brilliant suggestion from somebody.

    5               THE COURT:    Okay.

    6               MS. SHERMAN:    We’ve got a lot of consultants who’ve

    7   offered to help.    But again, it’s not really our fight.

    8               THE COURT:    Okay.    Let me say that that presentation

    9   was absolutely excellent.

   10               MS. SHERMAN:    Thank you, Your Honor.

   11               THE COURT:    The work that you all did to try to

   12   triage what you have and what faces you was very well thought

   13   out.   I hear that you have a plea for help at the end of your

   14   presentation.

   15               And now I want to ask -- where is Mr. Soriano.         He

   16   was here.

   17               Mr. Soriano, what was -- you were involved in a

   18   Chapter 7 where we had to sort out -- weren’t you? -- a bunch

   19   of airplane secured lien contests in a Chapter 7 and folks

   20   argued that it’s improper -- I think Mike Tessitore was in

   21   there -- it’s improper for a 7 to be run for the benefit of the

   22   secureds.

   23               MR. SORIANO:    That’s true.       I think maybe Mr.

   24   Enchantment?    Was that the case?

   25               THE COURT:    What is it?



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    1              MR. SORIANO:     Mr. Enchantment?

    2              THE COURT:     No.

    3              MR. SORIANO:     But it does remind me -- Mr. Kobert and

    4   I were talking about this case, well, actually Taylor Bean &

    5   Whitaker where you have that same exact problem.                 The only

    6   difference is --

    7              THE COURT:     Paper.

    8              MR. SORIANO:     -- Taylor Bean & Whitaker had a

    9   tremendous amount of cash in the estate to sort it through and

   10   pay experts to do that.       I have had a lot of experience,

   11   actually, recently with repossessing aircraft and trying to

   12   resell them on behalf of clients, and it is a complicated

   13   process and it’s not uncommon to see the kind of

   14   cannibalization that’s taken place here.

   15              THE COURT:     Right.    We had that same problem and it

   16   was a Chapter 7.    And in the end of the day it worked out, and

   17   I don’t remember how it worked out.           I looked for that case

   18   earlier.

   19              MR. SORIANO:     I don’t recall that, Your Honor.

   20              MR. KOBERT:     Your Honor, was that World Aircraft?

   21   You’re not talking about the helicopter case?

   22              THE COURT:     No, not the helicopter case.

   23              Ms. Scotten, would you mind contacting Mike Tessitore

   24   and seeing if he can tell us what case that was?

   25              Because there may be somewhat of a template, although



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    1   clearly that first case was not as complicated as what Ms.

    2   Sherman just described.       Okay.

    3              MR. KOBERT:     Your Honor, I just emailed him.           Roy

    4   Kobert.   Let’s see if I get a response.

    5              THE COURT:     Okay.    I -- we have things that are on

    6   the calendar.    Based on the presentation of Ms. Sherman, I’m

    7   not sure how to approach these motions for relief truthfully.

    8   I guess I could grant them all and say y’all go fight.              But

    9   that is so not helpful if you’ve got a bankruptcy process that

   10   might provide an orderly way for everyone to claim their fair

   11   share, subject to liens of course.

   12              I could grant everything and let you all fight out

   13   things in State Court, and that’s going to multiply the

   14   problems and the expense for everybody.            And that was really

   15   the rationale for why I kept that Chapter 7 that I was just

   16   speaking of in bankruptcy.        But it’s a problem.

   17              And I will tell you that there was a price to pay in

   18   the Chapter 7 in that the trustee had to get paid.               If the

   19   trustee is going to be the one who’s going to be the traffic

   20   cop, or the air controller, whatever you want to call it,

   21   they’re not going to work for free.           So if you want to rent

   22   this courthouse, you have to pay the rent if you want the

   23   process to be all global and all transparent to all owners and

   24   all lienors in one forum.

   25              MR. BERMAN:     Your Honor --



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    1              THE COURT:     Mr. Berman wants to speak.

    2              MR. BERMAN:     We filed the first motion for relief

    3   from stay, and I have given some thought -- considerable

    4   thought to the challenges --

    5              THE COURT:     You also filed a motion for the

    6   appointment of a trustee, so you were fully onboard with having

    7   someone else marshal things.

    8              MR. BERMAN:     Absolutely, Your Honor.          And I’ve had

    9   lots of discussions about these issues.            And before you give me

   10   the opportunity to argue my two motions, which I think are on

   11   the calendar today, the motion for relief from stay, which was

   12   filed as an expedited motion and there’s a reason for that, as

   13   well as a motion for a 2004 examination, we’ve given some

   14   thought to the problems that the Trustee faces.

   15              And the first problem that I think exists is a

   16   records problem.    The Trustee now has possession of electronic

   17   records, paper records in multiple locations.              And my clients,

   18   and I represent owners of 20 aircraft, which is a large block,

   19   but they have an interest, just like all the other fractional

   20   owners, have an interest in getting good information about

   21   their aircraft.    They need it to fly if these planes are

   22   eventually --

   23              THE COURT:     And with one custodian, we can make that

   24   happen.

   25              MR. BERMAN:     And I’m not arguing for a different



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    1   scenario.

    2               THE COURT:    Y’all just have to bring your copier and

    3   get permission and --

    4               MR. BERMAN:    Well, I had a suggestion --

    5               THE COURT:    -- have a -- and pay for a Trustee’s

    6   representative to be a babysitter.

    7               MR. BERMAN:    And I had a suggestion as to how to do

    8   that.    There can be an electronic database like an electronic

    9   data room that’s made available, and files can be uploaded in

   10   different configurations and accessible to people on different

   11   security protocols so that a fractional owner would have access

   12   to --

   13               THE COURT:    Okay.    I’m not going to order any of that

   14   absent a motion.

   15               MR. BERMAN:    I understand.       I’m just sort of -- you

   16   asked for solutions.      I’m suggesting --

   17               THE COURT:    No.   I’m talking -- let’s look globally.

   18               MR. BERMAN:    That is a piece --

   19               THE COURT:    Here, or in multiple forums across the

   20   United States, in the home counties of mechanic’s lienors,

   21   other secureds?

   22               MR. BERMAN:    Well, I think there’s some combination.

   23   I think the records issues do need to be resolved here, and we

   24   agree.   And as this Court is well aware, trying to resolve

   25   surcharge issues at the back end of the case is not usually the



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    1   best way to approach things.

    2              So we would suggest -- and this will be up to the

    3   Trustee and the creditors, some system to surcharge for the

    4   process of putting these records together, because that

    5   benefits all of the fractional owners in accordance with their

    6   ownership interests.

    7              THE COURT:     And the lienors.

    8              MR. BERMAN:     And the lienors.        And so that deals with

    9   the records.

   10              THE COURT:     Except maybe the mechanic’s lienors.

   11   They don’t give a hoot.       They’ve got their one little piece or

   12   so and they know what it is.

   13              MR. BERMAN:     I think there’s a system that can be set

   14   up to address the records, and we do agree that Ms. Scharrer

   15   should be responsible with those -- with respect to those

   16   records and be compensated for her time in organizing them and

   17   making them available for the benefit of the fractional owners.

   18              The other piece of things, which is the subject of my

   19   motion for relief from stay and many of the other fractional

   20   motions which followed, is what to do with the aircraft.           And

   21   the competing interests are first of all that you do have

   22   planes in different state of repair or disrepair.

   23              You have planes -- some of my clients’ 20 planes have

   24   had their parts put in other planes.           And if I have an engine

   25   that was moved from one of my 20 to one of the other 20, then



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    1   that’s a problem that my group can solve amongst themselves.

    2   If, alternatively, one of my 20 planes’ engines was moved into

    3   someone else’s plane, then that’s a separate problem that is

    4   going to need to be resolved.

    5               THE COURT:    Is it or is it not?         That’s the two --

    6               MR. BERMAN:    Well, it’s not a bankruptcy problem

    7   necessarily.

    8               THE COURT:    Well, no, it’s maybe a legal problem.

    9   What is a plane?    Is it the baseline plane, or is it, as Ms.

   10   Sherman said, you know, when the musical chairs stop, is it

   11   what is existing that moment?

   12               MR. BERMAN:    I think the answer to that question will

   13   be resolved by applicable non-bankruptcy law, state law and

   14   federal law.

   15               THE COURT:    And that’s what I’m going to ask.             I’m

   16   asking that.

   17               MR. BERMAN:    I don’t know the answer.              Ms. Applegate

   18   may be able to speak to that; she is an aviation attorney.

   19   This is a very, very specialized area of the law.                 My sort of

   20   focus on what --

   21               THE COURT:    What would Judge Cristol say?

   22               MR. BERMAN:    I think he would be an awesome advisor

   23   to the Court if he were available and not a sitting judge, to

   24   help out.

   25               I think that’s going to be determined by non-



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    1   bankruptcy law.    And the issue of what to do with these planes

    2   is further compounded by the fact that in all of the planes,

    3   other than four planes and one fractional interest in each of

    4   those four planes, so out of 620 fractional owners, only 4 of

    5   those with the Debtor and with the estate and maybe even

    6   subject to liens.     So for the most part, we’re talking about

    7   non-estate property.

    8              THE COURT:     Right.

    9              MR. BERMAN:     Now, it may be that the estate might

   10   assert an interest in a, you know, a WiFi box that’s on a plane

   11   that wasn’t originally on the plane that was paid for by the

   12   Debtor and is in someone’s plane or is in a hangar somewhere.

   13   But for the most part, we’re talking about property that was

   14   paid for by my clients and the other fractional owners.

   15              THE COURT:     Give me your global view of how this

   16   should proceed with respect to the planes that the estate has

   17   no interest in other than maybe adding a doodad to it.           It’s:

   18   I lift them all and you all can go fight and spend a ton of

   19   money, or we don’t lift and we figure out an orderly process

   20   right away on how to address these.

   21              MR. BERMAN:     I think that expeditious relief is in

   22   everyone’s best interest.       Now, this Court has subject matter

   23   jurisdictional problems, I think, with grabbing a hold of all

   24   the planes and sorting those issues out.            That said, the Court

   25   does have before it motions for relief from stay which can and



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    1   should be adjudicated.      I don’t think that adjudication process

    2   should be prolonged.      I do think that adjudication process

    3   would be a way for you to sort out who gets what plane and what

    4   part goes with what plane.

    5              It’s our position that --

    6              THE COURT:     You know what?       I don’t have to sort out

    7   what part goes with what plane.         If I lift it, that’s y’all’s

    8   problem.

    9              MR. BERMAN:     And that’s what we’ve asked for, Your

   10   Honor.

   11              To address an issue -- and I haven’t talked to Ms.

   12   Sherman about this and I know this is happening somewhat

   13   dynamically.    But to address an issue -- an additional issue,

   14   and there has been sort of a camp out there that says:            No, no,

   15   no, don’t rush on the stay relief, let’s slow things down, keep

   16   all the planes where they are and let’s, you know, get the

   17   records and sort out everything.          That process as I understand

   18   from Ms. Applegate may take upwards or longer than 90 days to

   19   truly understand every part in every plane.             And that comes at

   20   a substantial cost, especially to people who are not trying to

   21   assert liens against the property.

   22              So I think the Court has at least two decent

   23   alternatives.    One, you lift the stay today with respect to the

   24   owners of those aircraft.       You let the owners take their

   25   aircraft back and sort out these issues under applicable non-



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    1   bankruptcy law for jurisdictional reasons and other reasons.

    2   You don’t necessarily lift the stay with respect to non-owners

    3   of the aircraft because if there are creditors out there and

    4   they want to assert their claims, that’s something that should

    5   probably be addressed through an appropriate stay relief

    6   process.    And I know Mr. Gart filed his motion just yesterday.

    7               The other alternative I think is a very expedited

    8   process to adjudicate the stay relief motions.              And in so

    9   doing, you could determine who gets what plane and what that

   10   plane is.   Does it include the parts which were originally on

   11   it?   Which hopefully Mr. Riedel’s client will be able to tell

   12   us what parts came with what planes.           And it sounds like those

   13   lists may be available because they built the planes

   14   originally, so that shouldn’t take much time.

   15               THE COURT:    If the baseline theory prevails.

   16               MR. BERMAN:    Right.     Well, that will be an issue that

   17   is presented.    And then I think Mr. Riedel’s client is also

   18   doing an inventory of sort of the parts that are onsite in St.

   19   Pete and Orlando, maybe we have the same thing done in Texas.

   20   That process shouldn’t take that long.

   21               The other issue, and Ms. Sherman sort of alluded to

   22   it, and this is the thing that I had spoken to her about, is

   23   the possibility -- and I know this may come at some cost, but

   24   if the process is not prolonged, we can maybe minimize the cost

   25   of an aviation-type ombudsman to look out for the interests of



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    1   each of these fractional owners.

    2                We do it in healthcare cases, we do it in some other

    3   cases.   This is a case that doesn’t necessarily have a model.

    4   And that would be a way --

    5                THE COURT:    Are you suggesting a certain kind of

    6   committee?

    7                MR. BERMAN:    Not necessarily a committee, Your Honor,

    8   although maybe a committee would work, but a person who is not

    9   necessarily the hired expert or advocate of any owner in

   10   particular but could be someone who knows aviation, who knows

   11   parts and planes and can say these parts naturally go with

   12   these planes or they don’t.

   13                THE COURT:    Aren’t I -- am I not precluded from

   14   appointing a special master, which is what you’re suggesting?

   15                MR. BERMAN:    No, I’m not suggesting a special master.

   16   I’m suggesting someone who would be appointed --

   17                THE COURT:    Functionally you are.

   18                MR. BERMAN:    No, because I’m not asking for the

   19   master to make decisions.

   20                THE COURT:    These parts go with this plane.

   21                MR. BERMAN:    I’m asking for -- I’m not even asking.

   22   I’m suggesting that someone who looks out for the rights and

   23   the interests of each of the fractional owners would be a way,

   24   possibly, to ameliorate the risk that Ms. Sherman talks about.

   25                Now, ideally, I filed a motion for relief from stay



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    1   as an expedited motion and I’d like it to be granted today.

    2   What I don’t want to happen is for this process to turn into a

    3   Bankruptcy Court replevin court where we have six-month-long

    4   litigation to determine who gets what.

    5              If we’re talking about a couple of weeks or three

    6   weeks to sort out these issues and we have a system in place, I

    7   would support that.      But I wouldn’t support extending this

    8   Court’s jurisdiction to cover the adjudication of the rights

    9   between plane owners completely as if this Court were going to

   10   handle replevins, which is essentially what we’re talking

   11   about.

   12              So those are the two approaches that I see under the

   13   circumstances:     A decision to lift the stay because it’s not

   14   property of the estate, and let people do what they need to --

   15   or it’s not even lifting the stay --

   16              THE COURT:      And then leave the planes in the custody

   17   of Ms. Sherman while the State court replevins wind out?

   18              MR. BERMAN:      No.    No.   You -- the Trustee should be

   19   relieved of any obligation with respect to the planes, and an

   20   orderly process outside of Bankruptcy Court can proceed.           The

   21   alternative to that --

   22              THE COURT:      And so Mr. Lamoureux’s client ultimately

   23   gets no rent.    The Trustee should be charging rent and then

   24   remitting rent to Mr. Lamoureux’s client.

   25              MR. BERMAN:      Well, if the Trustee were to store and



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    1   maintain and service these planes without, you know, a funded

    2   estate, then, yes, I would agree.          But we’re not talking about

    3   an operating Debtor entity here.

    4              I think that the --

    5              THE COURT:     What do we do about the Dallas Airmotive

    6   engines that are on planes that are the subjects of these

    7   motions?

    8              MR. BERMAN:     I think you have a classic situation

    9   where you have nondebtor-versus-nondebtor disputes which are

   10   going to have to be litigated somewhere and resolved, either

   11   negotiated -- and my clients have been negotiating with

   12   mechanic’s lienors and other vendors since before this case was

   13   filed to resolve some of those claims.            That process will

   14   continue, and there may be and will likely be a litigated

   15   process.

   16              If you want to sort of have an orderly system of stay

   17   relief to make sure that you’re giving relief to the right

   18   people with respect to the right aircraft, that process can and

   19   should be doable within a short period of time.                  That’s what we

   20   wanted to avoid any prolonged litigation over.

   21              I think technically the Court could acknowledge that

   22   the stay doesn’t apply to these aircraft and simply enter a

   23   comfort order with respect to the owners and sort through the

   24   other issues.    Ms. Sherman obviously has D & O claims.               We have

   25   suggested that there be certainly a surcharge to cover the



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    1   records process which needs to move forward.               And there may

    2   very well be other property of the estate but, generally, these

    3   planes are not going to be property of the estate.                So either

    4   option makes some sense, Your Honor.

    5              THE COURT:      How do you -- if Ms. Scharrer hires a

    6   consultant to create a database with every sheet of paper in it

    7   in some organized form, and let’s say it takes, I don’t know,

    8   a-couple-hundred-thousand dollars to do that, what kind of

    9   subscription fee do we charge for access?

   10              MR. BERMAN:      Well, I think you do it on the front end

   11   through surcharge so you don’t have problems sorting that out.

   12   I suggested a model --

   13              THE COURT:      I know, but what?        Six hundred owners,

   14   you each pay $5 -- I mean, 10,000, whatever it is?

   15              MR. BERMAN:      I’ve suggested that the Trustee budget

   16   what this project is going to cost, and I know that Ms. Sherman

   17   has been considering what that budget would look like.                This

   18   Court would have to approve, presumably, a budget.                And then

   19   the owners -- you can do it a couple of ways.               You can do it by

   20   percentage ownership.       And in my filing yesterday, my new

   21   notice of appearance, I’ve shown the Court what each of my

   22   clients has --

   23              THE COURT:      And what if they don’t pay?            What if

   24   someone’s not able to pay?

   25              MR. BERMAN:      This Court has worldwide jurisdiction to



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    1   enforce its orders.      You can enter --

    2              THE COURT:      I can’t make a person that’s penniless

    3   pay a ten-thousand- or five-thousand-dollar share to Ms.

    4   Sherman.   I will not let those two ladies be taken advantage

    5   of.

    6              MR. BERMAN:      And I’m the first one who -- well, I’m

    7   maybe not the first one, but I suggested a surcharge approach

    8   at the beginning of this process as soon as I heard the Trustee

    9   was appointed.     And we asked for the Trustee to be appointed.

   10              THE COURT:      Yes.    And at the same time moved for stay

   11   relief.

   12              MR. BERMAN:      Well, two different issues.           We wanted

   13   the Trustee --

   14              THE COURT:      Right.

   15              MR. BERMAN:      -- appointed to take control of the

   16   things that are property of the estate, and I think the records

   17   are clearly property of the estate, with the exception of the

   18   log books, which I think belong to the planes.               But I don’t

   19   think the Trustee should be burdened with the other property

   20   which is not estate property.

   21              I think there are systems for dealing with both:

   22   that the sort of technical, legal approach with respect to stay

   23   relief -- as you just acknowledged, the stay doesn’t apply to

   24   nondebtor property.      And the planes -- in all of my 20 planes,

   25   save 2, the Debtor has no fractional ownership, and in those



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    1   two, have one-tenth or sixteenth fraction.             So you can lift the

    2   stay with respect to the other owners and allow the parties to

    3   do what they -- what the Bankruptcy Court doesn’t necessarily

    4   do for them.

    5              THE COURT:     Maybe Ms. Sherman sells the one-tenth

    6   ownership, or whatever it was, to all the other owners.

    7              MR. BERMAN:     Nothing to prevent her from doing that.

    8              THE COURT:     But we have to figure out what the thing

    9   consists of.

   10              MR. BERMAN:     Right.     And I actually had that

   11   conversation with Ms. Sherman with respect to her fractions.

   12              THE COURT:     Okay.

   13              MR. BERMAN:     The other approach is to set an FEH in

   14   short time for us to prove up the issues in our respective

   15   owner motions for relief from stay.           I think the vendors and

   16   mechanic’s lienors have different issues than the owners.            I

   17   don’t think they need expedited relief like the owners need.

   18   If there are liens that have attached to planes prepetition --

   19              THE COURT:     If I give you a comfort order, I give

   20   them a comfort order, and then it’s a free-for-all, and that’s

   21   fine with me.    If the owners -- it could be a democracy.          If

   22   the owners don’t want to have something happen in this court,

   23   even though I might not have jurisdiction over particular

   24   planes, then you have a food fight in State Court.

   25              You can’t tell me that you want a comfort order for



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    1   your group but I have to tell Mr. Gart:            No, you’ve got to go

    2   through the long way.

    3              MR. BERMAN:     Two different issues.          Mr. Gart’s motion

    4   reflects that -- I know his motion is not even set today.             But

    5   his motion reflects that he contracted with the Debtor and

    6   these are prepetition claims against the estate.

    7              You can certainly say in a comfort order --

    8              THE COURT:     No.   In terms of the secured interest,

    9   you’re saying that’s outside of bankruptcy.             So they could go

   10   through, do their mechanic’s lien thing --

   11              MR. BERMAN:     If they have a lien -- if they have a

   12   lien, their lien -- if their lien existed prepetition and they

   13   had a right to assess a lien and state law gives them a lien,

   14   that lien doesn’t change by virtue of whatever orders you’re

   15   going to enter.

   16              THE COURT:     Right.

   17              MR. BERMAN:     We understand that.

   18              THE COURT:     And if I’m going to lift the door --

   19              MR. GART:    Your Honor, there is a concern with that.

   20   I just don’t want that to go unsaid.           So --

   21              THE COURT:     Okay.    You know what, don’t worry about

   22   it.   Until I make -- you know, set a hearing and we have

   23   everyone weigh in on their particular issues, silence is not a

   24   bar to anything in my courtroom.

   25              MR. GART:    I would like a moment to be heard, Your



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    1   Honor, at the appropriate time.         But I --

    2               THE COURT:    Okay.    I’ll come back to you.

    3               MR. GART:    Thank you.

    4               THE COURT:    Are you finished, Mr. Berman?

    5               MR. BERMAN:    Yes, Your Honor.        Those would be my two

    6   approaches with respect to the stay relief that I think should

    7   hopefully address the Court’s concerns.

    8               THE COURT:    Okay.

    9               MR. BERMAN:    Thank you.

   10               THE COURT:    Mr. Andersen; right?

   11               MR. ANDERSEN:     Yes, Your Honor.        Judge, I represent

   12   Corrections Corporation of America.           It has an assigned

   13   fractional interest in three aircraft, two of which are the

   14   same aircraft that Mr. Berman has been speaking on behalf of.

   15   But I have a very different view, so it’s not as though those

   16   individual fractional shared interests are all aligned in their

   17   approach.

   18               THE COURT:    That’s why I said we might have to have a

   19   democracy once we get the schedules firmed up and everyone has

   20   notice.

   21               MR. ANDERSEN:     And, Your Honor, we think that this

   22   court provides a very good venue for resolving many of these

   23   issues.

   24               THE COURT:    Even if I don’t have subject matter

   25   jurisdiction?



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    1              MR. ANDERSEN:      Well, I think that’s the first issue,

    2   and I think that’s -- I think that’s a serious question.                But I

    3   do think that there are some -- I think there’s some things

    4   that should be considered.        And I’m speaking a little bit out

    5   of turn because I’m not a bankruptcy expert.              I’m a board

    6   certified aviation lawyer and I’ve been in Bankruptcy Court

    7   before some.    And I know Footnote 17 from Pepper v. Litton, so

    8   I’ve read --

    9              THE COURT:     Well, I don’t, so --

   10              MR. ANDERSEN:      That was Justice Douglas’s admonition

   11   about the inherent equitable powers of the Bankruptcy Court.

   12              THE COURT:     Oh, well, I think we’ve been trumped in a

   13   more recent Supreme Court decision.

   14              MR. ANDERSEN:      I think so too.       And I’m showing my

   15   age.   I apologize, Judge.

   16              THE COURT:     That’s okay.

   17              MR. ANDERSEN:      But in any event, my client’s

   18   interests I think are demonstrated by the fact that they were

   19   -- my client was only interested in air transportation.                 It

   20   just needed hours in an airplane to fly its employees around

   21   the country, and the way it did it is it entered into this

   22   fractional share program.       And I’ll try to be very brief --

   23              THE COURT:     It’s like a timeshare.

   24              MR. ANDERSEN:      Exactly, Your Honor.         And it has some

   25   regulatory origins I think that may be helpful for me to



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    1   describe to the Court if I may.         But the FAA Regulations are

    2   different for commercial air carriers than they are for owners

    3   of aircraft.    And the fractional share concept developed

    4   initially so that aircraft could be operated under the private

    5   air transportation rules rather than the commercial air

    6   transportation rules.

    7              And the concept developed where there might be one or

    8   two or three owners who would just share -- have their

    9   airplanes in the same hangar and they’d share back and forth.

   10   And the FAA said that’s okay.         But as the concept grew where

   11   you’d have these fleets of 40, 50, or 60 aircraft, the FAA

   12   looked at this and said:       Wait a minute, this looks a lot like

   13   you’re running a commercial air carrier here.

   14              And the people who are operating it said:             Oh, no,

   15   the way we’ve resolved this is each of these people who are

   16   paying for this transportation are actually assigned an

   17   interest in an aircraft.       So they’re really operating their own

   18   aircraft and, therefore, they should be treated like private

   19   air transportation rather than commercial air transportation.

   20              To fast forward through a regulatory process, the FAA

   21   said:   We’ll go along with that, but you’ve got to follow some

   22   special rules which are in what’s called Part 91 Subpart (k) of

   23   the Federal Aviation Regulations, which do prescribe the safety

   24   requirements and the organizational requirements for these

   25   fractional share programs.



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    1               So entities like my client who would want to buy air

    2   transportation, they would go to the fractional share program,

    3   they would say:    We want X number of hours per month.

    4               And they would say, as in this case:            We’re going to

    5   give you 3.25 percent interest in N I think it’s 138SL, we’re

    6   going to give you a 9.25 percent interest in N162SL, and a 9.25

    7   percent interest in N164SL.

    8               My client never looked at those airplanes as far as I

    9   I know.   They never asked what color they were, how they --

   10   what the interior was, kicked the tires.            And frankly, when

   11   they called for transportation, those airplanes probably didn’t

   12   show up; instead it was just another airplane in the fleet.

   13               And so, as it stands now, if our client is treated

   14   now as an owner of aircraft -- N138SL is supposedly in very

   15   good condition down in Palm Beach with both of its engines.

   16   N162 -- I’m sorry, that was N164SL is down in Palm Beach in

   17   very good condition.      N138SL, which is one of the airplanes

   18   that Mr. Berman’s group represents some of the fractional share

   19   interests in, is in Sacramento, California with one engine off

   20   of it.    And N162SL, which is another aircraft which I think Mr.

   21   Berman represents a fractional share interest in, is actually

   22   over in a hangar over in Clearwater, and we believe it probably

   23   -- it was cannibalized and probably didn’t even have engines on

   24   it at the time that the interest was assigned to our client.

   25               So it’s not as though we’ve got owners who have



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    1   specific interests other than the fact that in order to meet

    2   these regulatory requirements they had to be assigned an

    3   ownership interest, and those ownership interests had to be

    4   recorded in the FAA Aircraft Registry in Oklahoma City.

    5              And in the FAA Regulations -- and Mr. Conte is on the

    6   phone, he can -- I’m certain he can elaborate on this --

    7              THE COURT:     Yeah, I was going to ask Mr. Conte if

    8   138SL, 162SL, or 164SL are the subject of any of the 23 letters

    9   that have gone out or will be the subject of the 12 to 13 that

   10   are to go out imminently.       Mr. Conte?

   11              MR. CONTE:     13SL (sic), 162SL, and 164?

   12              THE COURT:     Yeah, 138, 162, and 164.

   13              MR. CONTE:     Those three aircraft have not been

   14   subject of anything yet.       All I can say is that two of those

   15   aircraft will be subject to notice of proposed suspensions next

   16   week, and one will be subject to an emergency suspension order

   17   later today.

   18              THE COURT:     Okay.    Thank you.

   19              Go ahead, Mr. Andersen.

   20              MR. ANDERSEN:      Your Honor, if I may?         Essentially, as

   21   our client looks at this problem, it doesn’t have any interest

   22   in acquiring airplanes all around the country in various states

   23   of disrepair with which it then has to negotiate with other

   24   people to get parts from other airplanes to try to put them on

   25   those airplanes at litigation expense, at repair expense, at



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    1   transportation expense.       And so lifting the stay -- essentially

    2   what I’m saying -- and I guess I’m arguing in advance for not

    3   lifting the stay at this time and for this Court keeping

    4   jurisdiction, and I know we have to come back to the

    5   jurisdictional issues.

    6              But what I’m arguing as a solution is that the

    7   Trustee continue, as has been done, to assemble an inventory of

    8   these aircraft and that a solution be proposed that would

    9   basically maximize the value of the fleet.

   10              And if I may, from an aviation standpoint,

   11   unscrambling the egg makes no sense at all.             Trying to find out

   12   where these engines were originally and putting them back on

   13   the airplane they came from, or finding the individual life-

   14   limited parts, you know, digging through the airplane to find

   15   the part and then sending it back to the airplane from which it

   16   came is a very expensive process and it really doesn’t maximize

   17   the value of the fleet.

   18              And at the end of the day, we also don’t favor the

   19   musical chair approach.       I mean, we’ll benefit on one of the

   20   airplanes apparently because we’re in the right chair on one of

   21   them.

   22              THE COURT:     So is your suggestion we sell all with

   23   the consent of all owners?

   24              MR. ANDERSEN:      Judge, either with -- my view is that

   25   -- is to sell them all, arrange to sell them all.                And whether



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    1   the consent of all the owners is required or not -- again, here

    2   I’m stepping into deeper water than I should --

    3              THE COURT:     On the planes that the Debtor has no

    4   interest in, there is no place in the Code where I can sell.              I

    5   can sell co-owners’ interests -- I can approve the sale of

    6   such.

    7              MR. ANDERSEN:      Then, perhaps, if I may address the

    8   ownership interest -- ownership issue, and this is my own

    9   thinking on it --

   10              THE COURT:     And if we can get consent of even a part

   11   of it -- well, of course, then you have the scrambled eggs

   12   issue touching those that may not consent.

   13              Go ahead.

   14              MR. ANDERSEN:      What I’m thinking, Judge, and I’m

   15   thinking about three different concepts.            One is that each of

   16   these putative owners paid for transportation by paying hourly

   17   fees, and they also paid for certain maintenance fees.           But my

   18   view of it is that they were not expecting that those

   19   maintenance fees were necessarily going to buy the next part

   20   that went on their individual airplane or the next engine that

   21   went on their individual airplane.

   22              Instead, in the aggregate, these maintenance would be

   23   -- create a pool which would then be used to provide the

   24   maintenance on the fleet.       So I guess my point is to some

   25   degree the owners -- these putative owners have implicitly



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    1   consented to the Debtor, Avantair, taking these funds,

    2   purchasing parts and putting them on various airplanes.           And so

    3   I guess I’m coming around to some type of implied consent type

    4   of a view, which is that when participants shared in this

    5   program, you know, they were implicitly consenting to the fact

    6   that their funds would be used to purchase parts that go in

    7   other airplanes.

    8               And so now to the extent that parts are on any or all

    9   of these airplanes that were purchased with the funds from

   10   everyone, that there is some implied consent there for Avantair

   11   to have -- to establish some type of an interest in the

   12   aircraft.

   13               The other thought I’ve had is whether there’s some

   14   type of an equitable lien.        And again here I’m stepping into

   15   really deep water because I don’t know whether equitable liens

   16   will do any good or not.       They might even -- and I’ve litigated

   17   Florida mechanic’s liens and statutory --

   18               THE COURT:    Well, if there’s an ownership interest,

   19   you wouldn’t need an equitable lien.           Are you talking about an

   20   equitable lien on the engine that at one time belonged to one

   21   of your planes and is somewhere else?           Is that what you’re

   22   suggesting?

   23               MR. ANDRESEN:     Judge, I’m, suggesting on either the

   24   engine or the part, yes.       I’m saying that there’d be an

   25   equitable lien on the --



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    1                THE COURT:    On the missing part that’s somewhere

    2   else?

    3                MR. ANDERSEN:     Yes, Your Honor, that’s exactly right.

    4                THE COURT:    Okay.    And what’s the third thing?

    5                MR. ANDERSEN:     The third possibility is and it’s been

    6   raised -- many of the owners when they get on these telephone

    7   calls start talking about how their parts were stolen from one

    8   airplane to another.       And my personal view is that they weren’t

    9   -- parts were not stolen.        Everyone knew that they were

   10   maintaining a fleet of aircraft and from time to time parts

   11   would need to be exchanged.

   12                Now, that’s premature, I suppose, on my part, but

   13   that’s just my view of it.         But to the --

   14                THE COURT:    So that’s a waiver argument?

   15                MR. ANDERSEN:     It’s possibly a waiver or possibly --

   16   possibly even a constructive trust argument, Judge.               To the

   17   extent that parts from another airplane are now on -- from an

   18   original airplane are now on another airplane, the Debtor was

   19   acting as a constructive trustee for the owner of those

   20   original parts.

   21                So I mean, those are just three possibilities I think

   22   that the Court might explore in terms of finding a basis for

   23   saying that the Debtor does have an interest in these

   24   airplanes.

   25                And then what I’m told by my bankruptcy partners is,



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    1   if there is an interest, Section 363(h) might allow the Trustee

    2   to then sell the interest of the remaining --

    3              THE COURT:     If the Trustee -- if the estate has an

    4   interest in the plane, yes.        You can -- you can sell things

    5   that are co-owned.     That’s what 363(h) is.

    6              MR. ANDERSEN:      Yes, Your Honor.        And I think that’s

    7   the general direction I’m proposing that might be considered

    8   and might be explored, to enable the Trustee to perhaps do some

    9   form of triage and look at these airplanes and say these are

   10   the ones that have the most value, perhaps they can be sold for

   11   the greatest amount.      And then sell off the rest of the fleet,

   12   and some of them are just parted out with the idea that --

   13              THE COURT:     Well, let me ask you as an aviation

   14   expert:   What is a plane?      Is it the original plane with its

   15   original parts except those that have become defunct and

   16   replaced with new parts?       Or is a plane what is put together as

   17   a plane with parts that originated from another plane on the

   18   day that the music stops?

   19              MR. ANDERSEN:      Judge, I mean, from a legal

   20   standpoint, I think that at least -- I think from a legal

   21   standpoint the owners of the original plane continue to be

   22   owners of the parts of that original plane, at least the

   23   engines and propellers after they’re removed.

   24              Part of the reason I say that, and this is maybe --

   25   you were asking what an industry standard or convention is.



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    1   The FAA does allow interests in engines and propellers to be

    2   separately registered -- excuse me -- separately recorded in

    3   the FAA Aircraft Registry.         So engines and propellers are the

    4   types of things that if someone buys an airplane, and they

    5   typically buy the airplane and they’ll identify the engines and

    6   propellers.

    7                You know, the musical chairs theory is really

    8   problematic because --

    9                THE COURT:    How about landing gear; is that something

   10   that is like engines and props?

   11                MS. APPLEGATE:     Your Honor, this is Amanda Applegate,

   12   may I be heard?

   13                THE COURT:    Yes, ma’am.

   14                MS. APPLEGATE:     Okay.    I too, like Mr. Andersen, I

   15   sort of practice in this area, and I would agree with Mr.

   16   Andersen that generally the airframe, the engine and propeller

   17   could be considered the parts that would go with the aircraft

   18   when you’re defining the term “aircraft.”

   19                With respect to whether or not this is akin to

   20   timeshare, I have a very different view than Mr. Andersen.

   21   When the FAA looked at fractional programs and created 91

   22   Subpart (k), they did it under Part 91, and that is for private

   23   ownership.    If the FAA had thought that this was more akin to

   24   commercial, they would have put it under Part 135.                But they

   25   decided to put it under 91 because it was private ownership.



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    1              Further, if Mr. Andersen’s clients wanted to just buy

    2   time, they could have purchased charter transportation or a jet

    3   card.   But in fact, they purchased a share in a particular

    4   aircraft, and probably depreciated that asset as a true owner

    5   of that aircraft.     And so I would just say that, you know,

    6   fractional ownership is different than timeshare.

    7              And the owners of these aircraft did not just buy

    8   time, they paid a purchase price for their fractional share and

    9   recorded that percentage sale with the FAA to evidence their

   10   ownership of that aircraft.

   11              THE COURT:     All right.      Thank you.

   12              All right, Mr. Andersen, anything else?

   13              MR. ANDERSEN:      Your Honor, if I may take a quick look

   14   at my notes?    Essentially, Your Honor, our view is that an

   15   orderly, efficient liquidation in Chapter 7 would maximize the

   16   value of the fleet for creditors such as my client because of

   17   the various conditions of the aircraft.

   18              And, Your Honor, we think that trying to unscramble

   19   the egg, while it may try to put the pieces back to their -- to

   20   some potential or legal ownership, would be an extremely

   21   expensive and very -- and frankly, self-defeating process.

   22              And lifting the stay would be a particular problem

   23   because we don’t even have agreement among the co-owners.           And

   24   what’s more, if there are parts in different airplanes, we’re

   25   going to have to deal with liens, we’re going to have to deal



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    1   with other fractional share owners of other aircraft, and that

    2   will be an extremely expensive process which would not be

    3   beneficial to anyone.

    4               THE COURT:    I agree.     All right.      Anything else?

    5               MR. ANDERSEN:     I think (inaudible) --

    6               THE COURT:    Okay.    Let me ask the man who started all

    7   this.

    8               Mr. Glenn, what was your vision of how this would

    9   play out?

   10               MR. GLENN:    Your Honor, for me to suggest that I

   11   anticipated what has occurred here today would be overstating

   12   my powers of observation greatly.

   13               I don’t -- our objective when we started was to have

   14   an independent party in charge of assembling the information

   15   that is available to make some sense out of this scrambled egg.

   16               THE COURT:    Were you aware that there were very few

   17   planes in which the Debtor had an actual ownership interest?

   18               MR. GLENN:    No, Your Honor. I thought that actually

   19   most of the planes were subject to some sort of ownership in

   20   Avantair and that would be the hook for jurisdiction.            In

   21   addition to -- the hook being there are still some contracts

   22   out there that have not been rejected that may be another hook

   23   for this sort of -- for this sort of jurisdiction.

   24               But frankly, it didn’t occur to me, and I presume

   25   that it’s correct, that there are four -- only four of these



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    1   planes that have ownership in the Debtor, and certainly it

    2   might have been different at the outset if we had known that.

    3               I’m taken with some of the arguments that have been

    4   made about what these arrangements actually are and how maybe

    5   the only way that you can kind of even out the treatment of

    6   various owners who had a percentage interest in a plane.

    7               THE COURT:    Call them equity interests.

    8               MR. GLENN:    They really didn’t --

    9               THE COURT:    Call them investors.

   10               MR. GLENN:    In a very real sense they certainly were

   11   that.   And -- but the notion that we are now going to --

   12               THE COURT:    When a person owns a share of stock, what

   13   do they own?

   14               MR. GLENN:    They have an undivided interest in a

   15   business.   And is this the same thing?           It may very well -- may

   16   very well be.    There is certainly some appeal to that -- to

   17   that kind of approach.      On the other hand, and the reason that

   18   has some appeal, is that when stay relief -- if stay relief

   19   were granted and Mr. Berman takes off for his 20 owners, what

   20   happens to --

   21               THE COURT:    I don’t know that they all can take off.

   22               MR. GLENN:    What happens to -- well, they can’t take

   23   off.    I mean, they certainly -- as a plane takes off, they

   24   certainly can’t do that.       But he proceeds to enforce whatever

   25   interests his clients want him to do.           Well, what happens to



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    1   the other fractional ownerships in those planes?                  What happens

    2   to the -- those of us who may have an interest in some engine

    3   that’s on one of those planes he takes back?               The complications

    4   are overwhelming.

    5              And it seems to me that while we pursue some of these

    6   theories about how we might be able to make some sense out of

    7   this case, that the Trustee be allowed to continue to do the

    8   same fine job that she is doing about gathering information.

    9              If someone wants to file some sort of litigation to

   10   determine that these are essentially equity ownerships, they

   11   can do that.    To the extent that people want to tee up their

   12   motions for relief from stay in a way that presents evidence to

   13   the Court about why stay relief should be granted, they can do

   14   that.

   15              But I think it is going to take a few weeks to get to

   16   the point where we can make any sense out of this case.

   17              THE COURT:      We’ve got to have schedules.            We’ve got

   18   to have full disclosure.        We’ve got to give 600-some-odd owners

   19   and however many lienors that we can find notice of whatever it

   20   is that we do.

   21              It would be my hope that we could shortcut some of

   22   the legal arguments and get 100 percent vote of the owners to

   23   allow Ms. Scharrer to sell everything, everything, to one

   24   entity that may want to put this fleet back together and spend

   25   the money to do so.



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    1                I’m not cutting off anybody; I’m thinking out loud at

    2   this minute.    Has anybody ever been in a case where a timeshare

    3   building full of condos was sold free and clear of the

    4   individuals’ interests in the timeshare units?

    5                Mr. Martino rises.

    6                MR. MARTINO:    Yes, unfortunately I have.             And the

    7   answer is it depends upon how it’s titled.              If it’s titled --

    8   many timeshares are sold, you actually get a deed to the

    9   property.    It’s an undivided --

   10                THE COURT:    A fractional --

   11                MR. MARTINO:    -- one-minuscule ownership.             And at

   12   that point, that deed, under state law, is treated as ownership

   13   and you can’t make that go away in the bankruptcy process.                    On

   14   the other hand, there are some that are simply contract rights

   15   and you do have more latitude.          The problem is:           What are you

   16   left with?

   17                And, you know, I’ve sat here -- and I’ve got a

   18   fractional ownership interest client with two of them.                  We’re

   19   struggling really hard to protect the people from the

   20   foreseeable consequences of the way they decided to own these

   21   interests.    And we’re trying to forge jurisdiction by consent,

   22   and I kind of remember some cases that say you can’t do that.

   23                I’m glad that you’re sitting up there and I just have

   24   to answer that one question.

   25                THE COURT:    You know, Judge Paskay issued a worldwide



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    1   injunction in Lykes, and it worked.           In Berkley Multi-Units, we

    2   had multi-level of in pari passu mortgage interest holders.              We

    3   dealt with that.

    4               MR. BERMAN:    Your Honor, Mego Financial Corporation,

    5   it’s a case in which I was involved, it was in the District of

    6   Nevada.   Chief Judge Zive had that case, and that was a

    7   timeshare case.    And the answer to your question is the same as

    8   Mr. Martino’s, which is, it depends on titling.

    9               In this case, the one before you, the individual

   10   owners, my clients, own a piece and they have a registered

   11   ownership interest with the FAA.          So that’s their property

   12   right.

   13               THE COURT:    I’m just talking out loud, Mr. Berman.

   14               MR. BERMAN:    No, and I’m not quarreling with the

   15   Court.    But Mego is a good source of a lot of published

   16   decisions, and Judge Zive had to deal with those issues.

   17               Now, in Mego, the bigger problem was substantial

   18   mortgage debt on the real estate, and the mortgage debt

   19   blanketed a lot of the ownership interests --

   20               THE COURT:    And that’s what I had in the aviation

   21   case that I can’t remember the name of.            There was no equity

   22   for the estate.    It was just a matter of figuring out who’s got

   23   what piece of what aircraft.

   24               MR. BERMAN:    Right.     But the owners, if they do have

   25   a cognizable title interest under applicable law and bankruptcy



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    1   law, still keep that, notwithstanding the bankruptcy case, and

    2   the bankruptcy case is administered just to deal with the other

    3   -- whatever is property of the estate.

    4               THE COURT:     Okay.

    5               Ms. Gilmer had risen.        But, Mr. Kobert, you’ve been

    6   up twice.   I’ll -- you know, go ahead, tell me what you want to

    7   tell me.    And then Ms. Gilmer.

    8               MR. KOBERT:     Very, very briefly, Judge, to cover some

    9   of the points.     First off, on the issue of -- you raised the

   10   issue of the owners being akin to equity.              Avantair does have

   11   stockholders, shareholders.         I think as a fractional owner we

   12   are not in that same ilk.        If there was 100 percent --

   13               THE COURT:     I was just thinking out loud.

   14               MR. KOBERT:     Okay.    First, to deal with very quickly

   15   what’s on the calendar.        One of my tails of my client is on Mr.

   16   Berman’s plane, so I suppose I fall in the go-slow camp.             I

   17   would ask at this preliminary hearing that you don’t grant stay

   18   relief today.

   19               We do have a notice of hearing problem; Your Honor

   20   alluded to it, due process.         A lot of the fractional owners

   21   aren’t even here, don’t know about these procedures because we

   22   don’t have schedules, et cetera.

   23               I realize there’s a cost to status quo.

   24               THE COURT:     And what do I do if I grant Mr. Berman’s

   25   but there’s another fractional owner for -- I think in two of



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    1   the planes you’ve got other fractional owners.              They may

    2   dispute what to do with the plane.

    3               MR. KOBERT:    Or has every fractional owner been

    4   notified?   I don’t know.

    5               THE COURT:    Right.    No, I don’t know.

    6               MR. KOBERT:    And I’m not saying it hasn’t been.            I

    7   didn’t check the service because I don’t even know who my

    8   fractional owners are, and now I’m going to find out who some

    9   of them are when I get the report from Ms. Sherman.

   10               And what I want the Court to understand is, and I

   11   think you’ve alluded to it, is prior to the involuntary being

   12   filed, I dealt with this issue when I talked to the

   13   fractionals.    It’s like herding cats.         The first thing I said

   14   is:   We need a single-purpose entity.          We need one SPE.       Maybe

   15   it takes nine-sixteenths to do something, but getting sixteen-

   16   sixteenths of anything is impossible.           And that’s the problem

   17   from the get-go.

   18               THE COURT:    Maybe not if we show what the parade of

   19   horribles is.

   20               MR. KOBERT:    And that would help, Judge.           I think --

   21   dealing with the other issues we talked about, the other thing

   22   we learned this morning is that even if relief was granted, I

   23   guess you can take the plane up I-275, but you’re not flying it

   24   anywhere.

   25               THE COURT:    Right.



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    1                MR. KOBERT:    So in the interim, the cost of storage,

    2   whether it be with what we have now or a fractional, or who’s

    3   going to pick the storage place.           Is the one fractional going

    4   to provide insurance for the others?            We’ve heard issues about

    5   insurance running out July 31.

    6                THE COURT:    Right.

    7                MR. KOBERT:    My client stepped up and paid the August

    8   insurance, I suppose to Mr. Berman’s clients’ benefit.               Or

    9   maybe we’re overinsured, God forbid.            That’s the worst thing

   10   that can happen.     This is the parade of horribles.             I just want

   11   to go a little slower.       I’m not saying to deny the relief, but

   12   I’m concerned about going too fast because we have so many

   13   issues.

   14                As far as some of the comments and suggestions made,

   15   I think they’re interesting.         I think they should be shared

   16   with Ms. Sherman and we should bring that forward on a motion

   17   hearing --

   18                THE COURT:    That’s why we’re talking out loud right

   19   now; okay?

   20                MR. KOBERT:    Thank you, Judge.

   21                THE COURT:    I think that the consent thing could be

   22   supplied by having, just like other auctions have, different

   23   owners put different things in in one common batch.               So Ms.

   24   Scharrer sells four planes under 363(h) and at that same

   25   auction, bidders are entitled to bid for the whole shebang.



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    1   All the owners, if they say, can throw their stuff in.

    2                MR. KOBERT:    And there’s the opportunity, Judge,

    3   almost like buying and selling claims, if certain owners don’t

    4   want to participate, maybe they’re willing to sell their

    5   fraction to another fractional owner.

    6                THE COURT:    Anyway --

    7                MR. KOBERT:    Yes, Judge.

    8                THE COURT:    -- those kinds of discussions are things

    9   we have to have, albeit fast.          Like I said, those two ladies

   10   can’t be hurt, landlords can’t be hurt; that’s not fair.

   11                MR. KOBERT:    Agreed.

   12                MR. GART: Can I mention one other group that

   13   shouldn’t be hurt, Your Honor?

   14                THE COURT:    The mechanic’s lienors?

   15                MR. GART:    And, Your Honor, I’m sorry to interrupt

   16   and I --

   17                THE COURT:    That’s Brian Gart.        Wait a minute.   Mr.

   18   Gart, let me finish the thought then, so that you won’t be

   19   concerned.

   20                Once the money is in the pot, then we figure out how

   21   to carve it up according to priorities.

   22                MR. GART:    I understand the Court’s frustration and

   23   concern.   I certainly, having been involved in many aviation

   24   cases, can appreciate the dilemma the Court’s facing.

   25                THE COURT:    I’m not facing anything.          I think that



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    1   everyone should have an interest in looking at this very

    2   clearly.   The alternative of lifting stays is going to create a

    3   proliferation of litigation.

    4              MR. GART:     Your Honor, I just want you to be aware

    5   that Teterboro Ram is two guys, Dennis Espinosa and Ryan Cino,

    6   doing work up in Teterboro, and they were providing maintenance

    7   on the aircraft for the benefit of the owners.               And they’re

    8   storing the aircraft now at the rate of $1500 a day at their

    9   expense.   And they can’t afford to continue to do this while we

   10   sort this out.

   11              The mechanic’s lienholders, I think you mentioned in

   12   one comment thinking out loud, that we don’t care.                 That may be

   13   a little harsh, but we certainly don’t need to wait around

   14   while they put Humpty Dumpty back together again.

   15              THE COURT:      My point was your people might be in

   16   first place, especially if the Debtor doesn’t have an interest

   17   in whatever it is that you have.

   18              MR. GART:     Well, first place may be a great place to

   19   be in if it means that we get paid soon in light of the storage

   20   charges.   But the other concern, Your Honor, is I heard Mr.

   21   Berman suggest that the owners should not be stayed, the non-

   22   owners would be stayed because they contracted with the Debtor.

   23   Well, that’s not even accurate.

   24              THE COURT:      I’ve already covered that.             If it’s

   25   nondebtor property, there is no stay as to anyone’s action



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    1   against such property.

    2                MR. GART:    Exactly, Your Honor.

    3                THE COURT:    I already said that, so you don’t need to

    4   restate it.    Tell me something new.          And I did say I’d give Ms.

    5   Gilmer the chance to say something, and I did tell you I would

    6   come back to you.      But let’s go ahead and finish, Mr. Gart.

    7   What else do you want to say?

    8                MR. GART:    Your Honor, the only other concern is

    9   that, while we understand that this may need to be sorted out

   10   for all of the owners.       We, again, don’t need it all sorted out

   11   for us and for the mechanic lienholders that I represent today

   12   or in the future.      And so this idea of being surcharged for

   13   that, that’s going to be a problem for our clients.

   14                THE COURT:    Understood.

   15                MR. GART:    And lastly, Your Honor, again, we filed

   16   the stay relief motion as a precaution because we saw this

   17   moving on different tracks and we’re very concerned it not.

   18   Thank you.

   19                THE COURT:    What specific -- let’s see.             Let me go

   20   back to your appearance.

   21                MR. GART:    Your Honor, Teterboro has provided

   22   maintenance with respect to 41 of the aircraft.                   We’re owed --

   23                THE COURT:    Forty-one.      And are all 41 of those

   24   aircraft aircraft in which the Debtor has no interest?

   25                MR. GART:    Oh, I believe so; that is correct.             And in



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    1   addition, four of those aircraft are at the Teterboro location

    2   and, subject to reviewing the FAA’s notices of either proposed

    3   suspension or of suspension, they can be sold and ferried to

    4   owners or put in -- allowed to go forward in the foreclosure

    5   process that was proceeding prior to the commencement of the

    6   involuntary.

    7              THE COURT:      All right.      Thank you.

    8              Okay, Ms. Gilmer.

    9              MR. GART:     Thank you, Your Honor.

   10              THE COURT:      You’re welcome.

   11              MS. GILMER:      Thank you, Your Honor.          Courtney Gilmer,

   12   and we do have four motions for relief that were set for

   13   hearing today.     It adopted 54, 55, 56, and 59.            And Mr. Gart’s

   14   discussion about the four planes that are in possession at

   15   Teterboro Rams is timely because two of those four planes are

   16   planes which we have filed motions for relief on before the

   17   Court today.

   18              None of the four planes for the four motions for

   19   relief, none of those four planes have any interest of the

   20   Debtor.   They’re all owned entirely by --

   21              THE COURT:      Not even a WiFi box?

   22              MS. GILMER:      In terms of the registration records

   23   with the FAA for the airframe, the propellers, and the engine,

   24   the Debtor does not reflect an interest.

   25              THE COURT:      Can you tell me that anything on -- that



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    1   there is nothing on those planes that the Debtor would have an

    2   interest in?

    3                MS. GILMER:    We don’t know that yet, Your Honor.

    4                THE COURT:    Then I’ll set yours for trial.

    5                MS. GILMER:    In terms of -- can I talk about the

    6   practicalities?     Because I think there might be another road.

    7   And the reason that we filed our motions for relief and asked

    8   for an expedited hearing are the practicalities, some of which

    9   Mr. Gart addressed.       $360 a day per plane, when I can make

   10   arrangements to scoot it next door for half of that.              But

   11   because --

   12                THE COURT:    I can give you partial relief from stay.

   13                MS. GILMER:    I think that would be great, Your Honor.

   14   Just to have the ability for these owners -- they’re already

   15   incurring so many damages.         The scrambled egg is going to be an

   16   expensive breakfast.

   17                THE COURT:    So what about your clients’ sentiment to

   18   a big, old auction?

   19                MS. GILMER:    I don’t think that an auction of the

   20   planes prior to proceeding through a repair and maintenance

   21   process, especially in light of this FAA action, I don’t see

   22   much of a market for these aircraft that are subject to FAA

   23   emergency directives and that are not deemed airworthy.              The

   24   value of these planes is putting the pieces back together and

   25   getting that airworthiness certificate from the FAA allowing



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    1   them to get into the air.

    2              THE COURT:      But what if someone wanted to have all of

    3   these planes and create a new entity, was willing to undertake

    4   the repair and do all those things, put a pot of money for you

    5   all to fight over?      Perhaps mechanics’ liens would be at the

    6   top, especially those that we’re dealing with planes that are

    7   not the Debtor’s.

    8              MS. GILMER:      I’m not sure how we fund that process,

    9   Your Honor, through another surcharge.             And why should my

   10   clients, whose planes are in relatively good condition,

   11   especially the one sitting in Teterboro that could be through

   12   the process and on the market quickly, why should they be

   13   hampered by Mr. Andersen’s planes with CCA that apparently are

   14   shells.

   15              THE COURT:      Well, what if one of your planes has one

   16   of his doodads on it?

   17              MS. GILMER:      Then, I think as we work through the

   18   inventory process that Ms. Sherman was discussing, then that is

   19   worked out at the state law level and --

   20              THE COURT:      Who participates in hiring the consultant

   21   who’s going to do the inventory?

   22              MS. GILMER:      I’m not sure about how that gets sorted

   23   out, Your Honor.     I concede that’s a difficult issue.

   24              THE COURT:      No need to inventory, no need to upload a

   25   single document if there’s a 100-percent buy-in to one sale of



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    1   the whole thing, a hundred percent of the assets, whatever they

    2   are, with complete consent of the owners, get sold.                  That’s

    3   just something that, you know, I’m thinking about as being a

    4   possibility.

    5              Let me give you the name of the case.                  It was

    6   Southeastern Airlines.

    7              You weren’t in that, Mr. Soriano?

    8              MR. SORIANO:      If I was, Your Honor, I can’t remember

    9   what I did.

   10              MR. BERMAN:      I was in that case for a brief time.

   11              MR. SORIANO:      It sounds familiar.

   12              THE COURT:      It’s 06-6729.

   13              MR. BERMAN:      That was an airline case, Your Honor.

   14   That was an actual airline if I remember correctly.

   15              THE COURT:      But there were planes.          It was a Chapter

   16   7.

   17              MR. BERMAN:      I understand.

   18              THE COURT:      All they did was sell -- they agreed to

   19   -- how to carve up proceeds among secured creditors with

   20   different priorities.       And it looks like Angela Esposito was

   21   the trustee.

   22              Okay.    Go ahead, Ms. Gilmer --

   23              MS. GILMER:      Your Honor, I would argue --

   24              THE COURT:      -- because I’m about to start into the

   25   regular calendar.      I’m just -- I was looking at the global, you



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    1   know, five-mile-high view as to how to handle all this.

    2              MS. GILMER:      I just do think that some alternative to

    3   allow owners, if there’s going to be some other process,

    4   whatever that process may be, to allow owners to mitigate their

    5   damages.

    6              One of our planes, 139SL, is sitting outside baking,

    7   for lack of a better term, at Palm Beach International.                  And we

    8   cannot get in and do anything to protect our interest in that

    9   plane to mitigate our damages and to secure what little value

   10   might be left for the owners.

   11              THE COURT:      If I let you off the reservation, are you

   12   going to bring back the Debtor’s stuff and the other owners’

   13   stuff that may be on that airplane?

   14              MS. GILMER:      If I don’t, Your Honor, then I think

   15   those actions, to the extent they were the Debtor’s property,

   16   would be subject to the Court’s jurisdiction; and to the extent

   17   that they were property of other owners, that is subject to

   18   state law action.

   19              THE COURT:      One moment.      That just proliferates the

   20   litigation.    Okay, I have the order whereby we sold the fleet

   21   in Southeast Airlines and authorized a surcharge.                 It’s

   22   Document No. 139 in that case.          I’m going to give this to Ms.

   23   Sherman.   It’s the only copy I have.

   24              Ms. Arciola, would you give that to her?

   25              Okay.    Let’s start in on the regular calendar.               We’ll



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    1   take a -- oh, I’m sorry.

    2                MR. CLARK:    Your Honor, I did have -- just have

    3   several brief comments.        Once again, my name is --

    4                THE COURT:    And this is the holistic, global view;

    5   right?

    6                MR. CLARK:    Correct.

    7                THE COURT:    You’re Mr. Clark?

    8                MR. CLARK:    That is correct, Your Honor.             And like

    9   Mr. Andersen sitting to my right, my background is in aviation

   10   not in bankruptcy.

   11                The followup and some comments that he made about

   12   maximizing the value of the fleet.           I think it’s important to

   13   recall that the focus here today has been on fractional

   14   interest that these individual owners have.              However, each

   15   fractional owners’ interest was taken subject to the program

   16   documents.

   17                And under those program documents, the manager, which

   18   was Avantair, had sole discretion to do many of the things that

   19   is now being complained about.          In other words:           could exchange

   20   aircraft, substitute aircraft, provide aircraft out of the corp

   21   fleet, had the ability apparently under the contract documents

   22   to move parts from one craft to another in order to provide the

   23   most efficient operation of the entire fleet.

   24                THE COURT:    So you’re saying there’s a waiver in any

   25   interest, that it’s the musical chairs when it stops version.



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    1              MR. CLARK:      There may be.       So -- but under this

    2   program document, the owners are required to pay a monthly

    3   maintenance fee.     And my understanding is that the Trustee now

    4   succeeds to these maintenance documents.             So there’s already --

    5   or these program documents.         So there’s already a process in

    6   place by which owners can be assessed a monthly maintenance fee

    7   which by contract documents are to provide for the maintenance

    8   and storage of the aircraft.

    9              Now, I also point out that with these emergency

   10   orders being issued by the FAA, these airplanes are not going

   11   anywhere, with the possible exception of the ones -- the 18 or

   12   so next week there’s going to be notice of possible suspension.

   13              So it’s important, of course, to preserve the value

   14   of the aircraft.     But under these program documents, the

   15   Trustee does have the mechanism to take control of them,

   16   preserve them, and assess appropriate fees under these program

   17   documents against the owners and, therefore, agreeing with Mr.

   18   Andersen, that maximizes the value of the fleet to give this

   19   Court the opportunity to take some time and work out these

   20   obviously (indiscernible) type issues.             Thank you.

   21              THE COURT:      Thank you.

   22              MS. SHERMAN:      Your Honor, the folks that actually

   23   understand the aviation stuff have made some very interesting

   24   points.   And if you accept Mr. Andersen’s proposition that --

   25   and you look at the program documents, I think we can certainly



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    1   find a toehold for this Court’s jurisdiction if that’s what we

    2   want to do.

    3              The Debtor even can swap people from plane to plane.

    4   The Debtor also had the ability to send owners:                   I’m proposing

    5   to do this.    And if a majority of them didn’t affirmatively say

    6   no, kind of a negative notice thing, the Debtor was free to do

    7   it as far as maintaining the planes and taking certain other

    8   actions with the planes.

    9              THE COURT:      So there was a majority vote?             There was

   10   a democratic process put in?

   11              MS. SHERMAN:      Basically the Debtor says:             I’m going

   12   to do this.    And unless a majority said no before a deadline,

   13   the Debtor was free to do it.          So I think we have a toehold for

   14   jurisdiction and I think we have a mechanism for perhaps

   15   resolving this.

   16              And what I was going to propose to Your Honor was

   17   sort of a middle ground on the stay relief -- and I wish I

   18   could take credit for it, but somebody far smarter than I

   19   actually was the one who thought of it -- and that would be to

   20   allow every owner or a single owner’s representative -- I don’t

   21   think you need 16 people trouping in -- but some representative

   22   for every plane to go out wherever these planes are and

   23   inventory a laundry list of parts.

   24              And whether we call that propellers and engines and

   25   the tail number, or propellers and engines and a certain



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    1   portion of the life-limited parts -- I’m not smart enough to

    2   know what that list should be -- but go out and inventory them.

    3              Take the steps to maintain the engines per the

    4   manufacturer’s specifications, and take the steps to drain the

    5   fuel tanks so we don’t have microbials growing.                   And then

    6   report back to the Court with an FAA cert:              These are the other

    7   owners, these are people who claim a lien on the propellers and

    8   the engines that are on our planes.            And we have a consultant

    9   do it.

   10              We received -- a number of folks have been calling

   11   and saying:    Hey, we can be a consultant, we can do this, that

   12   and the other.     And it’s putting the cart ahead of the horse,

   13   but Mr. Gibbs is sitting here in the courtroom.                   He happens to

   14   be a lawyer, but he also happens to run a charter air business.

   15   And in fact, his company was taking some of the Avantair

   16   customers around when their planes weren’t flying at the end as

   17   a charter business.

   18              So whether it was the ombudsman that Mr. Berman

   19   suggested -- but I think if the fractional owners all agreed

   20   that we would hire somebody to look at the planes, make

   21   recommendations as to what needed to be done as far as

   22   maintaining the planes and how much it would cost.                  And then

   23   report back to the Court on what was going on with the planes

   24   and if they need to be moved inside or moved someplace cheaper.

   25   I know Mr. Gart doesn’t want to provide, you know, free



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    1   storage.   And I know that Ms. Gilmer doesn’t want to pay twice

    2   the storage she needs to pay.

    3              But do some of these minimal reshuffling, securing,

    4   doing the maintenance on things while we’re figuring out and

    5   providing notice to the world.          It might be an acceptable

    6   middle ground so that when we come back here and everybody

    7   makes their arguments, after the world has had notice, what

    8   should happen to the planes and are we going to do the musical

    9   chairs theory or the back-to-the-bill-book theory, we’ll at

   10   least all know what we’re talking about and the planes will not

   11   be in harm’s way in the meantime.

   12              So that’s my big picture, global view.                 And it can be

   13   Mr. Gibbs; it can be somebody else.            I mean, Mr. Gibbs says

   14   he’s got the manpower and the technical knowhow and the ability

   15   to do this, but the owner groups are going to have to all agree

   16   that they’re going to -- to fund it because it’s not going to

   17   be free.

   18              THE COURT:      So we need to have, let’s see, a hundred

   19   and how many representatives?          155 representatives?

   20              MS. SHERMAN:      I don’t think we have that many planes

   21   left.   I believe there’s 60 --

   22              THE COURT:      Minus the 12?

   23              MS. SHERMAN:      -- 30 some.       There was 55 minus 12, so

   24   I think there’s 43.

   25              THE COURT:      Oh.   I wrote down 155.         Sorry.    That’s



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    1   55, okay.

    2                Before we move into the calendar, anyone else want to

    3   be heard on the global view of how this could/should work -- a

    4   suggestion on how it could or should work?

    5                Mr. Mohney?

    6                MR. MOHNEY:    Your Honor, Marvin Mohney for Dallas

    7   Airmotive.

    8                THE COURT:    And you’ve got some engines of your

    9   client’s in planes --

   10                MR. MOHNEY:    That’s correct, Your Honor.

   11                THE COURT:    -- of the Debtor or these fractional

   12   owners.

   13                MR. MOHNEY:    Right.     There’s an additional fact that

   14   I’d like to call to the Court’s attention.

   15                My client does engine servicing and the Debtor was

   16   one of its customers -- or clients.            We filed a response last

   17   night and attached to it a listing of engines that we have and

   18   their various status of work in process.             We have approximately

   19   20 engines at Dallas Airmotive.

   20                THE COURT:    And these are your company -- your

   21   client’s engines, or these are the Debtor’s?

   22                MR. MOHNEY:    These are engines that Dallas Airmotive

   23   (sic), pursuant to their program, gave to us to rehabilitate.

   24                THE COURT:    Okay.    So they belong to fractional

   25   owners and to some extent maybe the Debtor.



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    1              MR. MOHNEY:      Correct.     And we don’t know who those

    2   people are.    We have their serial numbers.            We’ve given their

    3   serial numbers.     But all of our dealings have been with

    4   Avantair, that’s the manager of the program.               So in my mind,

    5   that lends itself more to the unscramble the egg approach than

    6   it does for the musical chairs approach of a global resolution.

    7              We have a separate issue that Ms. Sherman mentioned

    8   and Your Honor mentioned, which is, we have some loaner engines

    9   that are out there.      Four of them are leased engines.           Two of

   10   our leased engines are on an aircraft that is subject of a lift

   11   stay motion of Mr. Berman and of being held and proposed for

   12   auction by Mr. Gart’s client.          We’d like to get our engines

   13   back and get the right engines on the right planes.

   14              THE COURT:      Is there any argument that the mechanic’s

   15   lien attaches to the engine that your client is leasing since

   16   there was maybe not privity?

   17              MR. MOHNEY:      I think there’s certainly an argument

   18   about that.

   19              THE COURT:      But you don’t know?

   20              MR. MOHNEY:      I have not looked into that, Your Honor.

   21              THE COURT:      And Mr. Gart’s going to say:           We have it

   22   all.

   23              MR. MOHNEY:      And my client put the engines that it

   24   has and has done work on, asserts its possessory mechanic’s

   25   liens as well.



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    1                THE COURT:    Okay.

    2                MR. MOHNEY:    It has not been paid on the engine work.

    3                THE COURT:    And that’s all -- this list in your

    4   paper --

    5                MR. MOHNEY:    That’s correct, Your Honor.           It’s

    6   Exhibit --

    7                THE COURT:    It is page 7 of 11.

    8                MR. MOHNEY:    That’s correct, Your Honor.           It’s

    9   Document --

   10                MR. GART:    And, Your Honor, we would suggest that

   11   that will become the owner’s problem.

   12                THE COURT:    Yes, I know.

   13                Okay.   We have a line.       Did you finish, Mr. Mohney?

   14                MR. MOHNEY:    I’m sorry.      I am finished, Your Honor.

   15   Thank you.

   16                THE COURT:    Okay.    Thank you.

   17                MR. GIBBS:    Hi, Judge.      I’m Gray Gibbs and I just

   18   thought I would followup on Ms. Sherman’s comments about the

   19   possibility of a consultant coming in.             I think that my

   20   aviation company does have the manpower and the ability to do

   21   that.   We have a 135 certificate, so we deal a lot with the

   22   FAA.

   23                And just to speak to the unscrambling of the egg.           I

   24   completely agree with Mr. Andersen.            I think props and engines

   25   are clearly owned by the owner of the airplane.



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    1              THE COURT:      What about landing gear?

    2              MR. GIBBS:      Well, if you get a bill of sale, you get

    3   a bill of sale that mentions by serial number the props and the

    4   engines but not the gear.        So I think that props and engines in

    5   an airplane makes an airplane.

    6              THE COURT:      And the gear is not part of the frame?

    7              MR. GIBBS:      Pardon?

    8              THE COURT:      The gear is not part of the frame?

    9              MR. GIBBS:      I would say no.       However, here’s the

   10   point:   I think that whoever becomes the consultant’s first

   11   call needs to be to Mr. Conte.          The FAA is going to dictate

   12   when these airplanes fly again.          If they say:       You need to find

   13   your old gear, or you can never prove how many landings are on

   14   this gear, therefore, you’re going to have to replace it, you

   15   might go like:     Oh, now we have to go find the right gear.

   16              I mean, the reason they’re suspending the operation

   17   of the airplanes, at least one of them -- and Mr. Conte can

   18   speak to it -- is because you have no clue -- if it’s a life-

   19   limited part that has 100,000 cycles on it, if it’s a part that

   20   you don’t know where it came from or how many cycles have been

   21   put on it --

   22              THE COURT:      It needs to be replaced.

   23              MR. GIBBS:      Exactly.     So if you say, well, we’re just

   24   going to go with airframe, gear and -- I mean airframe, props

   25   and engines, you may have 133 parts you’re going to have to



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    1   replace.   That may be an insurmountable problem anyway.

    2              But to me, the first step is get with the FAA, find

    3   out what they’re thinking in terms of if and why, how we can

    4   put these airplanes back together to where we can deliver them

    5   to their owners to where they’ll be in flyable condition.             If

    6   it were me, I wouldn’t ask for 100 or 55 representatives or 33.

    7   I would let Beth Ann Scharrer hire a consultant.

    8              Even if she is ultimately going to just abandon the

    9   property, agree to the lifting of the stay and return it to the

   10   owners, she needs to figure out what she’s going to return to

   11   them.   And that I think you do have jurisdiction to do.

   12              So I would say appoint a consultant --

   13              THE COURT:      She would have to figure out what to

   14   return to them, meaning what is actually the estate’s?

   15              MR. GIBBS:      Right.    Exactly.       Well, and you can’t --

   16   I mean, obviously, we cannot return to Mr. Berman an airplane

   17   with engines that he doesn’t own.           So --

   18              THE COURT:      Sure we can, and then they can fight

   19   about it outside.

   20              MR. GIBBS:      Well, right, which is just -- nobody’s

   21   done any good -- I mean, to me, I would put the owners on

   22   notice that we are going to put these airplanes back together

   23   to where they are in the best condition we can get them to you.

   24   And then just be aware, we are going to abandon the property

   25   after that’s done.      You better go get either centralized



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    1   management, you better file a state court receivership because

    2   you cannot come in here -- if you own an undivided fifteen-

    3   sixteenths, you don’t own it all.

    4              And I think it’s just like the condo association, if

    5   you own it, you don’t have to sell.            And so I don’t think it’s

    6   a democracy.    I think they have to come up with centralized

    7   management.    They can elect a leader and do powers of attorney.

    8   They can do -- they can all put their interests in an LLC or

    9   something like that, or they can appoint a receivership.            But

   10   they’d be on notice that that’s coming.

   11              Whenever we get it, that’s who we’re going to give

   12   the property back to, but first we have to figure out what

   13   we’re giving back to them.         And that’s what I think the first

   14   job is.

   15              THE COURT:      Well, we can just give it all back to

   16   them and -- we can get an inventory, give it all back to them

   17   and then do motions for turnover of the estate’s piece of it.

   18              MR. GIBBS:      But you can’t even give them their

   19   engines because you don’t know where their engines are.            I

   20   mean, at the very least, the engines and props.

   21              THE COURT:      No, no.     I don’t mean -- I say abandon --

   22              MR. GIBBS:      Right.

   23              THE COURT:      -- any interest except that that is

   24   clearly the estate’s.       Let the owners take them.

   25              MR. GIBBS:      Well, if you do that, you really do a



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    1   huge disservice for them because --

    2              THE COURT:      To whom?

    3              MR. GIBBS:      If Mr. Berman gets an airplane back and

    4   he finds out his engine’s not on it, how’s he going to find his

    5   engine?

    6              THE COURT:      That’s his problem.         He’s asking for that

    7   problem.

    8              MR. GIBBS:      Well, he’s -- he’s not after that

    9   problem.   He should be begging you to go put his airplane back

   10   together and --

   11              THE COURT:      That’s not what he’s asked for.

   12              MR. GIBBS:      Well --

   13              THE COURT:      He’s asked for me to lift the stay.

   14              MR. GIBBS:      Well, I know I heard him say that.         But

   15   he’s like a dog chasing a car.          What’s going to happen when he

   16   catches it?

   17              THE COURT:      Maybe his firm gets rich because of all

   18   the litigation that will ensue.

   19              MR. GIBBS:      I’m sorry, Your Honor, say --

   20              THE COURT:      I said maybe his firm will get rich

   21   because of all the litigation that will ensue until somebody

   22   decides is the cost of this litigation worth it.

   23              MR. GIBBS:      Right.    Well, again --

   24              THE COURT:      Okay.    How much -- okay.        Let’s say that

   25   this consultant could be your other company, and let’s say you



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    1   cost whatever you cost.        Who’s going to pay for it when there’s

    2   no money?

    3               MR. GIBBS:     Well, I think what you do is you suggest

    4   to them that they should contribute $500 apiece to cover the

    5   cost of that.    And if they don’t, that’s fine.

    6               THE COURT:     All 600 owners?

    7               MR. GIBBS:     Sixteen owners per airplane.            And if they

    8   don’t, whenever they get their airplane back, they’re going to

    9   have a lien because you can give the -- you can give the

   10   consultant a lien on the airplane --

   11               THE COURT:     Oh, boy, then that really muddies the

   12   water.   You’ve got the Gart lien, you’ve got the ownership

   13   interest of somebody else that owns the engine, then you.

   14               MR. GIBBS:     That’s true.      But the Gart -- but they

   15   are going to get their airplane put back together by one

   16   person, centralized, that knows -- that is dealing with the FAA

   17   and gets it done as expeditiously as possible, rather than 40

   18   other people trying to find their own engine out there.

   19               I mean, it ultimately is the best service to the

   20   owners to get one centralized party that can say:                 I want to

   21   see the records.

   22               THE COURT:     I agree.     I agree.     But that will be a

   23   democracy because among their little units they will have

   24   voted, they will have voted to do a thing.              And then we’re only

   25   dealing with 55 minus 12, or whatever it is, people to get



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    1   votes from.

    2               MR. GIBBS:     Well, we’ve been messing around with this

    3   for what, six weeks now, and I think I heard one attorney say

    4   he had sixteen -- hundred percent.           I mean, it is difficult to

    5   get them to agree to anything.          And if you let the Trustee just

    6   hire the consultant, then at least it starts moving --

    7               THE COURT:     Okay.    Let me fin -- okay.           Thank you.

    8               Anybody else that wants to talk about the global

    9   view?   We’re going to make a little break for lunch.

   10               MR. BERMAN:     I have one more -- one more comment,

   11   Your Honor, on the global issues, if I may.

   12               THE COURT:     Why do you keep moving from lectern to

   13   lectern?

   14               MR. BERMAN:     I like to be mobile.

   15               THE COURT:     You’re confusing me.         Go ahead.

   16               MR. BERMAN:     Your Honor, a couple of points in

   17   response.

   18               THE COURT:     I thought for a minute you were in Mr.

   19   Andersen’s camp because you were on that side of the room.

   20               MR. BERMAN:     Location doesn’t necessarily determine

   21   alliances in this courtroom, Your Honor.

   22               There was a management program.            And many of my

   23   clients with respect to the 20 aircraft on whose behalf I’m

   24   speaking, did terminate those agreements prepetition.                 So I

   25   don’t know that that solves the problem necessarily.



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    1               Ms. Gilmer’s suggestion and Mr. Campbell’s suggestion

    2   I think should be considered when you look at things globally.

    3   And I’m happy to argue my motion for relief from stay after the

    4   recess.   But --

    5               THE COURT:     Which one was Mr. Campbell?

    6               MR. BERMAN:     Mr. Campbell made a suggestion to me --

    7               THE COURT:     Oh, because he hasn’t said -- okay.       I

    8   was thinking -- did I miss a statement in my notes from Mr.

    9   Campbell?

   10               MR. BERMAN:     No, no.     And Ms. Gilmer’s suggestion.

   11   You know, the owners, according to Mr. Gart, are incurring fees

   12   on a daily basis --

   13               THE COURT:     Yeah.

   14               MR. BERMAN:     -- right now, involuntarily.

   15               THE COURT:     Right.

   16               MR. BERMAN:     So the suggestion of allowing the owners

   17   to take physical possession of their aircraft temporarily

   18   without any authorization to sell, fix, do anything, just take

   19   physical -- whether we move it to a hangar next door that’s

   20   cheaper or we move it down the street.

   21               We take physical possession for a couple of purposes:

   22   One, to do an inventory.        And you left the -- you solve the

   23   problem of whose going to do the inventory and how it gets paid

   24   for by having each owner group do their own inventory on their

   25   aircraft subject to the Trustee’s participation and



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    1   involvement.

    2                THE COURT:    How are you going to get unanimity of the

    3   individual owner groups?

    4                MR. BERMAN:    There’s a --

    5                THE COURT:    Does it go to your house?              Does it go to

    6   my house?

    7                MR. BERMAN:    Your Honor, there are representatives of

    8   each of the aircraft, certainly of the 20 for whom I’m -- on

    9   whose behalf I’m speaking, and those representatives have to

   10   make decisions.     And in this --

   11                THE COURT:    Do they have the proxy or power of

   12   attorney from all of the other owners?

   13                MR. BERMAN:    I don’t know the answer, but Ms.

   14   Applegate would know the answer to that question.                  My simple

   15   suggestion was you, on a limited basis, grant relief to allow

   16   us to take physical possession to cut off these expenses that

   17   are accruing on a daily basis.          We do an inventory, and then

   18   the owners can decide a couple of different choices.

   19                THE COURT:    How do you get physical possession from

   20   Mr. Gart’s client whose lien depends on holding possession?

   21                MR. BERMAN:    Well, because you can say whatever liens

   22   existed as of the petition date continue on and aren’t

   23   disrupted.    You can enter an order that whatever liens existed

   24   aren’t disrupted by a temporary movement.              We’re talking about

   25   trying to save money.       And at $1500 a day, that is a crazy burn



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    1   on --

    2               THE COURT:     No kidding.

    3               MR. BERMAN:     -- aircraft that may be worthless.

    4               Let the owners do an inventory and come back to you

    5   in two weeks or three weeks to put on a presentation.                Maybe

    6   it’s an evidentiary presentation on a stay relief motion.

    7   Maybe it’s a status report to say:           Okay, for tail number

    8   whatever, this is the inventory, this is the status of the

    9   aircraft.    We worked with the FAA and this is what they say

   10   needs to be done in order to make this airworthy.                 And guess

   11   what?   My 16 owners have determined that they want to do thus

   12   and so with respect to that plane.

   13               And it may very well be that they’ll want Ms.

   14   Scharrer to sell the plane.         But I can tell you today, I don’t

   15   have authority from my owners of my 20 aircraft to sort of put

   16   them into the estate and have the estate sell them.                Maybe some

   17   of the owners will want to do that, and maybe some won’t.                But

   18   until we get the opportunity to look at our planes, talk with

   19   the FAA, figure out what needs to be done, we can’t make those

   20   sorts of decisions.

   21               And ultimately, these are business decisions that

   22   will be driven by the owners of the aircraft.               If the plane is

   23   worth X dollars in its current condition and it will take Y to

   24   fix it --

   25               THE COURT:     So what you’re telling me is some of



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    1   these stay motions were premature because all -- the business

    2   decision was not informed by all of these complications.

    3              MR. BERMAN:      No.    I’m saying that the stay relief

    4   motions were timely because the Debtor doesn’t have an interest

    5   in these planes.     The owners may choose to have the Debtor sell

    6   them along with other estate property if they want to sort of

    7   throw them into the auction.         But we don’t know what the

    8   condition of the plane is.

    9              That’s why, when I filed my motion for relief from

   10   stay, I asked for a trustee, because I wanted someone who was

   11   trustworthy to take control of the records.              And I asked for a

   12   2004 examination because I want to know all of the books and

   13   records that go with my aircraft, because my owners need to

   14   decide what to do with their particular aircraft.                 And it may

   15   be different decisions aircraft by aircraft.

   16              I think if there’s a question of who do you appoint

   17   to do the expert analysis and how does it get paid for, you

   18   solve that problem by letting the owners of each aircraft do

   19   it.

   20              THE COURT:      You’re going to give Dallas back its

   21   engine?

   22              MR. BERMAN:      I’m sorry?

   23              THE COURT:      You’re going to give Dallas back its

   24   engine?

   25              MR. BERMAN:      All of those discussions -- yes.            My



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    1   clients have been having, through Ms. Applegate and Mr.

    2   Perkaus, have been having discussions with mechanic’s lienors

    3   and other vendors since before the case was filed resolving

    4   those sorts of disputes.

    5              I think if -- you don’t have to make a decision what

    6   you’re going to do ultimately with each of the 43 remaining

    7   aircraft today.     But you can allow the owners to take

    8   possession for the limited purpose of cutting off expenses,

    9   doing an inventory and coming back on an evidentiary basis and

   10   saying:   Okay, here’s the aircraft, here’s how we own it,

   11   here’s how the Debtor doesn’t own it, and here’s what needs to

   12   be done with it with respect to this aircraft.

   13              That’s the 20,000-foot view, and I would advocate --

   14   I certainly want to have the opportunity on my motion after the

   15   recess, Your Honor.

   16              THE COURT:      Yeah.    We’re going to take a recess.

   17              Mr. Wilkes, you can wrap it up.

   18              Ms. Scotten, would you please somehow get word to my

   19   12 o’clock meeting that I’m going to join late.

   20              MR. WILKES:      Thank you, Your Honor.

   21              MR. RIEDEL:      I yielded my podium to Mr. Wilkes.

   22              THE COURT:      Okay.

   23              MR. RIEDEL:      If I could have just a minute, Your

   24   Honor?

   25              THE COURT:      You will.



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    1              MR. WILKES:      With regards to Mr. Berman’s position

    2   that limited relief for -- to take possession of the airframes

    3   would not jeopardize mechanic’s liens or materialman liens is

    4   not accurate because Mr. Berman’s whole argument is that this

    5   Court doesn’t have jurisdiction over the airframe to begin

    6   with.

    7              If you do not have jurisdiction over the airframe to

    8   begin with --

    9              THE COURT:      I know.     I can’t preserve the priority if

   10   I yank it from their hands.

   11              MR. WILKES:      That’s correct.

   12              MR. GART:     I’m glad he said it first, Your Honor.

   13              MR. RIEDEL:      Thank you, Your Honor.          On behalf of

   14   Piaggio, my client has been working with the Trustee, as Ms.

   15   Sherman said, to inventory these.           They know the planes better.

   16   If any of these planes need parts, we’re the sole source of any

   17   new parts that come in, obviously, for addition to these.

   18              I think that it’s important that there is a snapshot,

   19   a photograph taken now -- you know, ideally as of the petition

   20   date -- but now at least.

   21              And if those parties who have requested relief from

   22   the stay, you know, volunteering therefore to do something, if

   23   limited stay relief were given to them to have access to

   24   planes, do an inventory, to file that report, to -- with the

   25   consent of the Trustee and, obviously, this might require the



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    1   consent of a mechanic’s lienholder who has possession -- to

    2   move the plane to save money, and the Trustee consents, that

    3   the stay would lifted for that purpose as to those aircraft,

    4   which might be 20 in the case of Mr. Berman’s clients.            You

    5   really have the Trustee, at no cost to her, getting information

    6   that’s available to all parties and for Your Honor to look at

    7   coming back.    And Ms. Gilmer can do the same thing, have

    8   access.

    9               And those parties who don’t want relief from stay and

   10   who don’t have clients who want to inspect the aircraft, don’t

   11   have to.    That would be for the Trustee to come up with a

   12   report or whatever, perhaps a surcharge, perhaps a consultant,

   13   but try and come up with some proposal to come back and have

   14   all that information.

   15               THE COURT:     Yeah.    I do think we need to take a step

   16   back and everyone needs to consult with clients about the

   17   parade of horribles.       And I do think that minimizing expense is

   18   good.    I don’t know what I can do about mechanic’s liens.          I

   19   guess, Ms. Gilmer, you would just pay -- your clients would

   20   just pay.    And Mr. Gart would go away.

   21               Okay.   And she’s shaking her head yes.

   22               MR. CONTE:     Your Honor, this is Joe Conte from the

   23   FAA.    May I be heard on one point?

   24               THE COURT:     Yes.

   25               MR. CONTE:     So to the extent that any of the owners



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    1   are going to go through the recertification process, on just

    2   the four aircraft that we actually looked at and that were the

    3   subject of specific findings on the orders issued last night,

    4   it took a team of FAA inspectors, probably seven or eight

    5   inspectors total, two weeks to develop those specific findings

    6   on those four aircraft.

    7              And so on the recertification process, Dale Donegan,

    8   who is the contact person where people have to surrender their

    9   certificates to our offices in Fort Worth, there will be a

   10   gatekeeping kind of process where we’re not even going to go

   11   out and look at the aircraft unless the owner or the owners

   12   present certain documents to us ahead of time.

   13              And so it would be -- I want to disabuse anybody of

   14   the notion that the FAA has the resources to look at all of

   15   these aircraft in the next two, three, or four weeks.             We’re

   16   going to look at aircraft that kind of meet certain standards

   17   in terms of recordkeeping, in terms of certification from

   18   someone in the private sector that they believe it’s airworthy

   19   and they’ve looked at all the records.             And then we’re going to

   20   come in behind that and kind of audit what they’ve done.             But

   21   that’s not a quick process.

   22              So I just wanted to alert you and the owners to that.

   23              THE COURT:      I’m happy to have your float in the

   24   parade of horribles, sir.

   25              Okay.    We need to take a break.           We’ll come back,



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    1   including those on the phone, please, that I haven’t reached.

    2   I want global approaches.        Maybe we’re having a group think

    3   tank here, which is good because you’re all here at the same

    4   time and you can all hear it and you don’t have to have a bunch

    5   of conference calls.

    6              And then I’d like to take a step back, give some time

    7   for folks to consult, and come back on the motions for stay

    8   relief except for some, perhaps, limited relief that is geared

    9   towards decreasing the costs of storage.

   10              I think when we come back we can talk about an

   11   approach whereby folks could file some proposal to do some

   12   things, whether it be a consultant, permit the owner groups to

   13   inspect, a mechanism whereby owners could weigh in or vote for

   14   a total sale of all of this stuff and let it be one rich

   15   person’s problem.      And then carve up the money according to the

   16   priorities that we would have to.

   17              In the Berkley Multi-Units case, when the property

   18   sold, the in pari passu mortgage holders, they just had to

   19   share pro rata.     There’s a way to do it fairly.

   20              You think about the cost of doing what your groups

   21   need to do, the cost of the internal marshaling of the group to

   22   consensus and the state court suits and the state court

   23   defenses to mechanic’s liens.          You weigh the cost of all of

   24   that versus the potential for not getting your fair share but

   25   getting something with a big sale.



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    1               So when we come back, I will pick up there.              We’ll

    2   pick up with the global sense.          Then we’ll come back and we’ll

    3   talk about the individual motions and we’ll schedule a time

    4   whereby -- and it will be after the schedules get out.                We can

    5   come back and talk about how to make sense of this thing.                It

    6   is a problem.

    7               I’m willing to do this, but if y’all make it so that

    8   it’s not easy, I’m just going to let everybody go and then you

    9   can deal with all the junk that’s going to hit you in state

   10   court.    And all of your clients, all of them, will spend more

   11   money, I am sure, than if you did it all consensually here.

   12               That’s my thinking at this point, but of course I

   13   haven’t made up my mind.        Thank you all --

   14               MR. RIEDEL:     Your Honor, just as a quick note, I will

   15   not be able to come back for the afternoon session because of

   16   calendaring.    But I will share my thoughts on a global solution

   17   with Ms. Sherman and she’ll be able to -- to the extent that’s

   18   relevant at all.

   19               THE COURT:     Okay.    That’s Mr. Riedel for Piaggio.

   20   Okay, thank you all.       Come back at 1:30, please.

   21               And, CourtCall, if you could reopen at 1:30 for those

   22   that want to call back in, I would appreciate it.                 Thank you.

   23            (Luncheon recess held from 12:15 p.m. to 1:48 p.m.)

   24               COURTROOM CLERK:       13-9719, Avantair, Inc.

   25               THE COURT:     All right.      We are resuming in session



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    1   this afternoon.     It’s now 1:45.       We said we’d come back at

    2   1:30.    I assume that those who are not here are not here by

    3   design.

    4               Mr. Holland has left to catch a plane.                He has Mr.

    5   Lockton or an entity by the name of Lockton as his client.                 But

    6   he has left Mr. Alpert and Ms. Gilmer to sort of stand in his

    7   shoes.

    8               Let me go back through the roll call on the phone and

    9   see if some folks have not returned.

   10               Is Mr. Akerly still with us?

   11               MR. AKERLY:     Yes, Your Honor, I am.

   12               THE COURT:     Mr. Amron, have you finally joined?

   13               (No response.)

   14               THE COURT:     No.    Ms. Applegate, are you there?

   15               MS. APPLEGATE:       Yes, I am.

   16               THE COURT:     Mr. Conte, are you there?

   17               (No response.)

   18               THE COURT:     He did not rejoin in the afternoon.

   19               Mr. Crosnicker, are you there?

   20               MR. CROSNICKER:       Yes, Your Honor.

   21               THE COURT:     Mr. Donegan, are you there?

   22               MR. DONEGAN:     I am.

   23               THE COURT:     Okay.    So there is at least one FAA

   24   person here.

   25               Mr. Donica I know is there because I asked him about



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    1   something.

    2                And has Mr. Hugh Fuller finally joined?

    3                (No response.)

    4                THE COURT:    No.   Mr. Gart’s there I know because we

    5   had some colloquy before officially calling the case.

    6                Mr. Jeremy Johnson, are you aboard?

    7                (No response.)

    8                THE COURT:    Okay.    He did not return.

    9                Ms. Nadeau, are you here?

   10                MS. NADEAU:    Yes, Your Honor.

   11                THE COURT:    All right.      L. Carol Owen, are you here?

   12                MS. OWEN:    Yes, Your Honor.

   13                THE COURT:    Mr. Perkaus, are you here?

   14                (No response.)

   15                THE COURT:    Okay.    Did not return in p.m.

   16                UNKNOWN SPEAKER:      Your Honor, he’s going to join us

   17   in a little bit.     He’s running --

   18                THE COURT:    Okay.    I’m being told that Mr. Perkaus

   19   will join us at some point in time through CourtCall.

   20                Is Mr. Plotko still there?

   21                MR. PLOTKO:    Yes, Your Honor; Mr. Plotko and Mr.

   22   Smith.

   23                THE COURT:    Mr. Smith is there.

   24                And Mr. Wagner?

   25                MR. WAGNER:    Yes, Your Honor, I’m on.



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    1               THE COURT:     Oh, you are here.        Okay.

    2               MR. WAGNER:     Yes.

    3               THE COURT:     Good.    In the courtroom, Ms. Leon is

    4   here, Mr. Andersen is here, Mr. Mohney’s here, Mr. Glenn is

    5   here, Mr. Berman is here, Ms. Sherman is here, Mr. Alpert is

    6   here, Ms. Gilmer is here, Ms. Beth Ann Scharrer the Trustee is

    7   here, Mr. Lamoureux is here, Mr. Appleby is here, and Mr. Clark

    8   -- did I say that right?

    9               MR. CLARK:     Yes, ma’am.

   10               THE COURT:     -- Mr. Clark is here.         Mr. Campbell is

   11   sitting in the back, and there’s some other people sitting in

   12   the back.    Mr. Wilkes is sitting in the back.

   13               Okay.   So let’s return to the global discussion for

   14   those who haven’t had a chance to weigh in on that, and then

   15   we’ll transition to the motions.           Anybody on the phone --

   16   anybody in the courtroom who hasn’t weighed in that wants to?

   17               (No response.)

   18               THE COURT:     Okay.    Let’s go to the phones.       Let’s

   19   see.   Just jump in somebody.

   20               MR. AKERLY:     Your Honor, this is Bruce Akerly,

   21   counsel for Involuntary Petitioners.            The only -- I concur on a

   22   number of the comments with respect to -- those comments with

   23   respect to making sure we identify the estate’s interests in

   24   any of these assets.

   25               But in that regard, with respect to the pending



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    1   motions by those folks who believe that either -- that they

    2   should have access to their ownership group’s aircraft or the

    3   estate has no interest in those aircraft, one of the

    4   allegations and one of the reasons for the filing of the

    5   petition was the fact that, as you recall at the last hearing,

    6   my client went out to one of the hangars where nine or ten

    7   aircraft were located, and they were in a various state of

    8   cannibalization.     And it’s our concern that parts have been

    9   placed from one aircraft onto another aircraft.

   10               And again, I think the estate does have some

   11   interest, even if it’s only one-sixteenth, in some of these

   12   aircraft.    And it’s very important that the estate keep its

   13   arms around these assets for a sufficient amount of time so

   14   that the Trustee and owners of aircraft in which the estate may

   15   have an interest have the ability to make sure that all

   16   aircraft have the parts that belong to their aircraft or those

   17   parts have been located and properly identified.

   18               This is important particularly in light of the fact

   19   that the FAA has now indicated that it is sending out letters

   20   with respect to pulling airworthiness certification.              Those

   21   aircraft, to the extent those ownership groups, including my

   22   client, want to get their aircraft back in order, they are

   23   going to have -- then have it recertified, and so they’re going

   24   to want to make sure that the proper parts are in those

   25   aircraft.



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    1               And so I would weigh in on the side that that

    2   activity take place within the confines of the bankruptcy

    3   estate and under the umbrella of the Trustee so we can make

    4   sure and have assurance that there’s a sufficiently organized

    5   and good process for that.

    6               So that’s the only thing I would add at this point,

    7   just that we all try to agree upon a mechanism or a process

    8   where all owners share in that process and the ability to

    9   verify their aircraft.

   10               THE COURT:     All right.      Let me ask you a question.

   11   When you say “parts,” are you talking the engine and the prop,

   12   or are you talking all parts going back to the baseline

   13   approach?

   14               MR. AKERLY:     All parts.      All parts because there are

   15   -- and in fact, if you remember, there was an email that you

   16   read at the first hearing I believe that was presented by

   17   perhaps Mr. -- well, one of the ownership attorneys that

   18   mentioned an elevator or -- I’m not an airline person, but it

   19   identified that certain other types of parts from aircraft have

   20   been taken from one aircraft to another to make that aircraft

   21   work.   They used the word “rob.”          Whether that’s rob, beg,

   22   borrow, steal, I don’t know.

   23               But in any event, I think we need to make sure that,

   24   again, whatever is necessary to obtain airworthiness

   25   certification, we need to make sure that that is preserved.



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    1              THE COURT:      Okay.    Well, you want -- you’re in favor

    2   of the unscramble the eggs, put Humpty Dumpty back together

    3   again according to the original way.            Except there are

    4   documents -- well, first of all, there apparently may be a body

    5   of law that says a plane is the frame, the prop and the engine.

    6   And there is also a body of documents that apparently allow

    7   Avantair to do exactly that which you are suggesting should not

    8   have been done.

    9              And so there’s a waiver argument there in terms of

   10   being able to claim back an aileron, or whatever the thing was,

   11   an elevator, from another plane.           So I think there’s a legal

   12   question there.

   13              MR. AKERLY:      Yeah.    And that is going to have to be

   14   determined in a proceeding I think that would properly be in

   15   front of you.

   16              THE COURT:      No.   Because if the Debtor doesn’t have

   17   any interest in it, then all the owners can fight in every

   18   state of the nation where they may live and good to whoever

   19   gets it into court first.        And you all will have a lot -- enjoy

   20   a lot of remuneration, you lawyers.

   21              Okay.    Who’s next on the phone?

   22              (No response.)

   23              THE COURT:      Anybody with a global view, the 10,000-

   24   foot view, aerial view?

   25              MR. DONICA:      Your Honor, this is Herb Donica.       I



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    1   represent several of the interest owners.              I’ve been told by

    2   our Louisville counsel -- I’m local counsel for a Louisville

    3   law firm -- that we have within our motion 14 out of the 16

    4   owners, the other two ownership interests are not property of

    5   the Debtor.    There are other investors, have you, and we’re in

    6   the process of working with them.

    7              I anticipate within a few days we’ll represent all 16

    8   owners.   At that point, I don’t think there’s any allegation

    9   that the Debtor could have an interest in the planes owned by

   10   this ownership group.       But I’m concerned that the global

   11   resolution that’s been proposed is -- will result in the same

   12   amount of expense that the owners would have on their own.

   13              I don’t know if it’s the best thing to do other than

   14   to cut these people loose and let them go get their plane.               I

   15   think if you want to condition that upon having each movant

   16   submit a list of separate property, when we talk about the

   17   engines, the landing gear, those items that may not be subject

   18   to a security interest, we can do that so that the Trustee is

   19   informed as to what’s out there.

   20              For example, if we’re in possession of somebody

   21   else’s motor or the motor might partially belong to the Debtor,

   22   then we should be required to cooperate with that process.               But

   23   in terms of going and managing our aircraft, I think that we

   24   should be turned loose to do that.

   25              THE COURT:      All right.      Thank you.



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    1              Anyone else on the phone?

    2              (No response.)

    3              THE COURT:      Okay.    We’re finished with the global

    4   view.   So let me tell you what I’m thinking about with respect

    5   to the other motions, and then you can argue separately if you

    6   want to argue for more or less of what I’m thinking.

    7              I like the idea of giving the ownership groups access

    8   to inventory:    what’s in the plane, on the plane.               That needs

    9   to be done I think somewhat in concert with the Trustee.                The

   10   Trustee may have a particular part on the plane.

   11              I think it is fair to allow ownership groups to move

   12   non-estate-owned claims, meaning the estate has no ownership

   13   interest in the planes, to cheaper space.              That would be

   14   subject to the rights of mechanic’s lienors, meaning, if the

   15   thing is in a state where there must be a bond put up or

   16   payment in cash for release of the mechanic’s lien, then that

   17   must be done.

   18              It would be subject to the estate’s rights for

   19   turnover of any individual parts or, I don’t know, attributes,

   20   accessories, the WiFi box for example, to get those things

   21   turned back to the estate.

   22              I believe that the Trustee could -- and this has

   23   nothing to do with the motions for stay relief -- but organize

   24   a sale of the four that the estate has an interest in.                Of

   25   course that would be permitted with credit bids, unless there’s



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    1   cause for not allowing credit bids.            And we could fashion that

    2   as an opt-in type of a process where, if the planes -- the

    3   other owners of other planes that -- in which the estate has no

    4   interest, if they want to participate, fine.               If they want to

    5   do it as part of one sale and share the burden of the expenses,

    6   fine.

    7              If those owners want to allow the planes to be sold

    8   in a batch or a lot, then they must agree up front on how the

    9   proceeds would be split and what surcharges would be permitted.

   10   Absent agreement up front, I’m not refereeing the food fight at

   11   all.

   12              And so I’m thinking that that’s the minimum relief,

   13   the points that I said, the access to inventory and to move

   14   them, I think that’s the minimum relief I should give to all

   15   non-estate-owned claims.

   16              MR. GART:     Your Honor -- Your Honor, may I be heard?

   17              THE COURT:      Is that Mr. Gart?

   18              MR. GART:     It is, Your Honor.         Your Honor, I wanted

   19   to just jump in and raise a concern.            We looked at the issue

   20   during the break, and as far as we can determine, turning over

   21   possession -- one of the reasons we in fact sought stay relief

   22   is that if we were to turn over possession, while it doesn’t

   23   defeat the lien, it does preclude us from setting or proceeding

   24   with an auction upon stay relief.

   25              And unless the owners are prepared to consent to



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    1   peaceful repossession for auction purposes, we could not reset

    2   our auction.    So --

    3              THE COURT:      Mr. Gart, did I not just say it’s subject

    4   to either putting up a cash bond or payment to get it out --

    5              MR. GART:     That’s fine, Your Honor.           I just wanted --

    6              THE COURT:      To pry it loose from your hands, they

    7   have to get it out of your hands legally.

    8              MR. GART:     That’s fine, Your Honor.           Thank you.   If

    9   we can fashion something along those lines, then we can put an

   10   end to the storage charges.         But I don’t want to, by giving up

   11   possession, in any way defeat the auction rights upon stay

   12   relief.

   13              THE COURT:      If I confirm that no stay -- well, if I

   14   confirm that no stay exists but that for some reason we leave

   15   things in place and just grant access to inventory the planes

   16   and allow the movement, the movement includes paying the

   17   mechanic’s liens.      I’m not going to -- you know, I’m not going

   18   to deprive your client of that right.

   19              Now, as I understand it, your client is holding

   20   things that in no way the estate has an interest in; is that

   21   right?

   22              MR. GART:     Your Honor, that’s my understanding.            We

   23   have no objection to an estate representative or an owner

   24   representative having access for purposes of inventorying parts

   25   and equipment or determining that the estate has no equipment



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    1   on these aircraft.      But again, that’s my understanding.

    2                THE COURT:    Okay.    All right.      So let’s go through

    3   the motions.    The first one on my calendar is Mr. Berman’s.

    4                Mr. Berman, what relief do you seek today?

    5                MR. BERMAN:    Your Honor, we are of a like mind with

    6   Your Honor, and that was precisely the discussion that I had

    7   with Ms. Sherman and Ms. Scharrer before we restarted this

    8   afternoon.

    9                With respect to the aircraft, the relief we’d like

   10   today is precisely what you have suggested, which is:              First,

   11   access be given to a representative of each ownership group for

   12   each plane to both take physical possession and move the

   13   aircraft, if we can do that in a way to save costs.               And if

   14   there is a valid lien on those aircraft, then we’ll have to

   15   comply with applicable state law to do whatever we’re going to

   16   do to move it.     But we want to, obviously, cut that burn as

   17   quickly as possible.

   18                If there’s a dispute over what the lien is and the

   19   extent of it, I suppose that can be resolved in some state

   20   court forum quickly.       If it can’t, maybe we’ll have to come

   21   back here to resolve that.

   22                Only two of our twenty planes --

   23                THE COURT:    If it’s non-estate property --

   24                MR. BERMAN:    Then we’ll just deal with it in state

   25   court.



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    1              THE COURT:      -- you deal with it in state court.       I’m

    2   not going to have my staff consumed with babysitting what

    3   should be out in state court unless everybody is onboard for a

    4   100-percent consensual sale.

    5              MR. BERMAN:      We would like there to be an inspection

    6   of each of the aircraft, so that we can have a list to come

    7   back to the Court with, and make a report for each plane on a

    8   plane-by-plane basis:       what equipment is there, what’s usable,

    9   what the condition of the plane is.

   10              And hopefully in the next few weeks, we’ll be able to

   11   get a handle on, you know, the extent of the cannibalization of

   12   the parts and make an evidentiary presentation to you on the

   13   remaining relief in the motion for relief from stay.

   14              At first I advocated before the lunch break that each

   15   ownership group should be able to choose their own inspector.

   16   And after consulting with Ms. Applegate, it appears to be a

   17   more efficient process if there’s one inspection group that

   18   does the inspection work for all of the aircraft.

   19              I think the Trustee can and should make that

   20   determination.     The Trustee should have no financial

   21   responsibility for that inspection.            And that financial

   22   responsibility should be borne by the owners.

   23              THE COURT:      Okay.    Then no inspection would be taking

   24   place until there’s a hundred-percent upfront money in deposit.

   25              MR. BERMAN:      I think that’s fine if that’s the



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    1   Court’s direction.      I don’t know what the cost of each

    2   inspection is.     There are some folks out there who have done

    3   some of the inspection work already.            I know that Mr. Riedel’s

    4   client has already done some parts inspection work.               I think

    5   the information can be shared and we can try to minimize the

    6   cost of the inspection.        But I think that’s an important first

    7   step.   Because if we’re going to go down at least one of three

    8   roads --

    9              THE COURT:      I don’t care how you inventory.          If I

   10   give you access --

   11              MR. BERMAN:      Fine.

   12              THE COURT:      -- and you do it group by group, fine.

   13   But if it’s going to be one person, then everybody’s got to

   14   have their money in the bank upfront.            And that’s going to

   15   maybe delay things, maybe not.

   16              MR. BERMAN:      And I will leave that and trust the

   17   Trustee and her counsel to either say, hey, this is going to

   18   work or it’s not going to work.          I think that’s going to be the

   19   most efficient methodology from a cost perspective.

   20              Then with respect to -- and by the way, I think it is

   21   appropriate for the -- for the Court to indicate that the

   22   estate shall not have any further financial responsibility with

   23   respect to housing the aircraft from today forward because

   24   you’re now revesting -- I mean, I moved for stay relief and I’m

   25   asking you to allow us to take physical possession to preserve



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    1   the status quo.     We’re not going to do anything other than

    2   access and do an inspection.         But it shouldn’t be the estate’s

    3   responsibility.

    4                If the other owners’ counsel for the other aircraft

    5   want to speak to that, they certainly can.              But I am --

    6                THE COURT:    So you mean you’d cut a separate deal

    7   with John Lamoureux?

    8                MR. BERMAN:    Yeah.    I mean, if there are lien

    9   creditors out there that have valid liens and we want to

   10   resolve them, we can negotiate and resolve them, and that may

   11   eliminate some of the -- some of the, you know, cross-issues in

   12   this case.    But it shouldn’t be the estate’s responsibility on

   13   a move-forward basis to house the equipment.

   14                And as Ms. Sherman pointed out, the ownership groups

   15   for each aircraft should have the responsibility to maintain

   16   the equipment in accordance with, you know, the manufacturer’s

   17   spec, so that if it turns out that one of my planes has an

   18   engine that belongs to another law firm’s client, that there’s

   19   no further waste to that equipment.            Because it may be that

   20   we’ll have to move engines back and forth to --

   21                THE COURT:    It depends on what the law says about who

   22   owns that thing.

   23                MR. BERMAN:    And we don’t obviously know what the law

   24   says.   But if you’re giving us access, we will have the

   25   responsibility.



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    1                THE COURT:    I’m thinking two steps:          Inventory that

    2   is complete enough so that Ms. Scharrer can see whether some of

    3   her improvements or accessions -- accessories, whatever, are on

    4   a plane so that she can go that, or the value of that thing,

    5   later.   And then you all move the planes.             Move them, or leave

    6   them and cut a deal with Mr. Lamoureux, with Galaxy, with

    7   Signature.

    8                MR. BERMAN:    Right.     And I wasn’t suggesting that all

    9   of our --

   10                THE COURT:    Or Palm Beach or wherever they are,

   11   Sacramento.

   12                MR. BERMAN:    I wasn’t suggesting that all of our

   13   clients would want to move their planes.             But if they can make

   14   cheaper arrangements to save on storage costs while we go

   15   through this sort of discovery process, then I’d like to have

   16   the opportunity to do that.

   17                THE COURT:    Right.    And if stay relief is granted,

   18   it’s granted for all purposes, including the landlords to begin

   19   lien enforcement actions for landlord liens, et cetera, if

   20   there’s not a consensual resolution for storage.

   21                MR. BERMAN:    And I think that the stay relief issues

   22   that are the permanent possessory stay relief issues should be

   23   put off for an evidentiary hearing.

   24                THE COURT:    Why?

   25                MR. BERMAN:    Why?    Because there are questions --



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    1   you’ve raised questions and Ms. Scharrer has raised questions

    2   about what the parts are.        If we’re going to lift the stay,

    3   then we should be able to take the planes back completely.                If

    4   we’re going --

    5                THE COURT:    That’s what I’m suggesting:            Please take

    6   them back.    And then if you go with a WiFi box, you’re going to

    7   pay her for the WiFi box, or you’re going to take it off and

    8   give it to her so she can sell it somewhere else for $75,000.

    9                MR. BERMAN:    Right.     And we obviously don’t have a

   10   problem with that.      My suggestion was we do this in steps, and

   11   the first step is access and inventory.

   12                THE COURT:    That’s right.       And then you give the

   13   report, and then you are allowed to move it.               Or it will sit

   14   there and it will accrue storage charges under --

   15                MR. BERMAN:    I was suggesting we be allowed --

   16                THE COURT:    -- not under the estate.

   17                MR. BERMAN:    -- we be allowed to move it now, with

   18   the Trustee’s consent, to a cheaper facility if we want to move

   19   it, and then start an inventory/inspection process.

   20                THE COURT:    That’s fine.

   21                MR. BERMAN:    And then we come back to you and we do

   22   one of two things.      We make a report to you and we say:            Hey,

   23   we figured out how to deal with all these planes, and some of

   24   the planes are going to be sold consensually with the Trustee,

   25   some of the planes are going to move to another operator, some



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    1   of the planes are just going to be taken back by their owners.

    2              We’ll present to you owner by owner what they want to

    3   do with respect to their planes.           Maybe it will be global,

    4   maybe it will be in different pieces.            And we also would be

    5   prepared to present evidence on the stay relief issues at that

    6   point in time.

    7              And I’m suggesting --

    8              THE COURT:      What evidence would I need?            If I’ve got

    9   an inventory and the WiFi box is on your plane, you’re going to

   10   take it off and give it back to her or you’re going to pay her

   11   for it.

   12              MR. BERMAN:      If we don’t need to have an evidentiary

   13   hearing -- there were some suggestions that you need to have

   14   evidence on the stay relief issues -- then we would be

   15   prepared --

   16              THE COURT:      If you all agree to the inventory and

   17   what it shows, it’s what it shows.

   18              MR. BERMAN:      Okay.    Fair enough, Your Honor.

   19              I think that’s an appropriate step-by-step process so

   20   that it may be that there’s consensus to solve some or all of

   21   the planes, and it may be that there’s not.              And each path will

   22   have different consequences to the owners.

   23              THE COURT:      Right.    And then you --

   24              MR. GART:     Your Honor --

   25              THE COURT:      -- carefully think this through because



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    1   I’m thinking that I might, at the cost of the United States

    2   Courts, have this transcript typed up so that once all the

    3   owners are known, they can simply access this and see every

    4   fact that they should utilize in making a business decision on

    5   what course to follow.

    6              Mr. Gart, you were about to say something?

    7              MR. GART:     Your Honor, I would just ask that with

    8   respect to every order for -- granting stay relief today,

    9   that’s set for hearing today, include the same language with

   10   respect to paying off the mechanic’s liens or bonding them off

   11   until the mechanic’s liens are paid; otherwise, we’re going to

   12   have a nightmare later.

   13              THE COURT:      Oh, really?      Like state law won’t

   14   control?

   15              MR. GART:     Well, Your Honor, I’m concerned --

   16              THE COURT:      I mean, I’ll say it.         I’ll say it for

   17   comfort sake.

   18              MR. BERMAN:      Well, Your Honor, my only concern with

   19   making a determination that liens need to be paid sort of

   20   presupposes that liens exist.          If there are liens out there --

   21              THE COURT:      State law rights of mechanic’s lienors

   22   are preserved.

   23              MR. BERMAN:      Will be preserved, right.

   24              THE COURT:      So if you really want to have the plane

   25   in your hand now and not litigate in state court, you will pay



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    1   him, or you will negotiate it, or you’ll put up a bond.

    2              MR. BERMAN:      Whatever the law requires.

    3              THE COURT:      Whatever the law requires.

    4              MR. BERMAN:      Understood.

    5              MR. GART:     I’m just -- for Mr. Berman’s benefit and

    6   others, to the extent that they want to take possession of the

    7   planes, they’re going to have to satisfy the lien or find

    8   another accommodation pursuant to state law.               And then our stay

    9   relief will come up with respect to the auction of at least the

   10   four planes that are in New Jersey, and we’ll deal with it

   11   then, unless Your Honor is granting stay relief for that

   12   purpose as well

   13              THE COURT:      I’m thinking that we should try to do as

   14   much as we can now.      But to the extent that you have anything

   15   on an estate-owned plane, I’m not going to lift the stay for

   16   any purpose on that one.

   17              MR. GART:     No, we don’t, Your Honor.

   18              THE COURT:      Well, I don’t know that.          I don’t know if

   19   Ms. Sherman agrees.

   20              MR. BERMAN:      And Mr. Gart’s motion is not up today.

   21              THE COURT:      I know it’s not up today.              But what

   22   difference does it make?        If I say you can move it, why can’t I

   23   say that they can go forward?          It’s really a comfort order.          If

   24   no stay exists, no stay exists.          Let’s not pretend that it

   25   does.



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    1              MR. BERMAN:      I agree, Your Honor.         I agree.

    2              MR. GART:     Thank you, Your Honor.

    3              MS. SHERMAN:      Your Honor, as far as the inspection

    4   and what we’ve outlined -- Mr. Berman outlined, as long as it’s

    5   clear that the estate has no further obligation for

    6   maintenance, putting chainlink fence around these, safeguarding

    7   them in a hangar, and we’re dealing with whole aircraft and

    8   tail numbers and the engines that are affixed and parts that

    9   are currently affixed to them, that’s what’s moving.

   10              THE COURT:      That’s right.

   11              MS. SHERMAN:      The other question, Your Honor, you

   12   indicated you didn’t think we had to come back.                   Unfortunately,

   13   we may have to.

   14              THE COURT:      Now -- well, wait a minute.             The engines

   15   that are, for example, in Mr. Gart’s client’s hands, if those

   16   engines that aren’t affixed to a plane aren’t involved with the

   17   Debtor, then yeah, those can be moved, subject to the lien

   18   rights.

   19              MS. SHERMAN:      Well, I think we can’t decide whether

   20   the estate has an interest in the engines until we’ve decided

   21   whether we’re going to use the musical chairs theory or the

   22   unscramble Humpty Dumpty theory.

   23              I mean, I hate to get sounding silly in nursery

   24   rhymes, but if we are -- if it’s the engines that originally

   25   came on the airframe that control, it’s going to be one



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    1   question.    If it’s the engines that are hanging on the airframe

    2   now, it’s a different question.

    3               Unfortunately I had this issue in the Kiwi bankruptcy

    4   case a gajillion years ago in New Jersey, and one of the

    5   aircraft lessors --

    6               THE COURT:     You don’t look that old.

    7               MS. SHERMAN:     -- took the position that my client’s

    8   leased engines and loaner engines -- the Dallas Airmotive

    9   situation -- had become accessions to the plane.                  And the law

   10   of accessions is kind of like fixtures and pornography, you

   11   know it when you see it but there’s no clear cut to ask.

   12               So once the inventory comes back and we figure out

   13   where the engines are on the planes that the estate may have a

   14   fractional ownership in, we may have to have Your Honor decide

   15   which theory --

   16               THE COURT:     Okay.    But that would only be four

   17   engines -- four times two, eight engines.

   18               MS. SHERMAN:     And propellers.        And the other question

   19   we have, Your Honor --

   20               THE COURT:     How many sets of propellers?            I really

   21   did not even look up what this thing is.

   22               MS. SHERMAN:     Two propellers and two engines.             And I

   23   did bring a glossy brochure for Your Honor -- so you can have

   24   an idea.    It’s a beautiful plane.

   25               THE COURT:     Okay.    So it’s a small set of -- it’s a



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    1   small set of those things that we may need to hold back.            It’s

    2   eight propellers and eight engines.

    3               MS. SHERMAN:     And there are also, unfortunately, lots

    4   and lots and lots and lots and lots of very expensive parts

    5   that are not installed on aircraft.            And somebody is going to

    6   have to decide --

    7               THE COURT:     We’re only talking about the planes.

    8               MS. SHERMAN:     -- on that at some point in time too.

    9               THE COURT:     We’re only talking about the planes.

   10               MS. SHERMAN:     Yes, Your Honor.

   11               THE COURT:     We’re not talking about the shelves with

   12   all the stuff on it.

   13               MS. SHERMAN:     Okay.     And so all the owners will be on

   14   notice that if that engine needs to be preserved or that fuel

   15   tank needs to be drained, it is on their dime, all the

   16   fractional owners.

   17               THE COURT:     Right.    And that --

   18               MS. SHERMAN:     And the Trustee consents --

   19               THE COURT:     And does that include the fuel

   20   containers, or whatever you call them, and the engines that you

   21   contend are the Debtor’s?

   22               MS. SHERMAN:     To the extent the estate has a

   23   fractional ownership in those four aircraft, the estate will go

   24   along with what all the other owners would like to do on that

   25   airplane.



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    1                THE COURT:    Okay.

    2                MR. BERMAN:    I think that probably deals with the

    3   property issues.     The records issues, which Ms. Sherman also

    4   addressed with me at our meeting, I wanted to suggest the

    5   approach -- because they’re sort of already down that road and

    6   you’ve given them relief to secure the records.                   And the

    7   suggestion that I would make is that they continue to put those

    8   records together.      And whether they upload them to a secure

    9   website that’s accessible to the owners or they have paper

   10   files in a room that can be accessed with a librarian or

   11   something like that, however the Trustee wants to do it --

   12                THE COURT:    And again, if the Trustee wants to do

   13   that and make that service available, those who want to

   14   participate need to put money in the bank so that she can pay

   15   to have that set of data available to you all.

   16                MR. BERMAN:    And that was my suggestion, as well,

   17   that there be a budget for whatever they need to do and then

   18   they divide it up amongst the aircraft or whatever.

   19                THE COURT:    I don’t want them to have to do anything.

   20   They will say:     Here’s how much this project costs, bring me

   21   the money.

   22                They’re not going to divide it.           They don’t care.

   23   You can pay all of it.

   24                MR. BERMAN:    I understand, Your Honor.              I just want

   25   to make sure they’re not going out -- because you have granted



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    1   them relief to secure the records.

    2               THE COURT:     Yes.

    3               MR. BERMAN:     They physically have possession of the

    4   records.

    5               THE COURT:     Right.

    6               MR. BERMAN:     And they have been organizing them.          And

    7   I want to make sure that there’s no question about them getting

    8   compensated for that work, and so that was going to be my

    9   approach with respect to both the records.

   10               We do also have a motion for a 2004 examination, and

   11   we would like to have the opportunity to examine

   12   representatives of the Debtor’s in conjunction with the

   13   issues --

   14               THE COURT:     Is that on today’s calendar?

   15               MR. BERMAN:     I thought it was.

   16               THE COURT:     I didn’t see it.

   17               MR. BERMAN:     I don’t have your calendar in front of

   18   me.   Let me get the docket number.

   19               MS. SHERMAN:     I don’t think it’s on the calendar,

   20   Your Honor.

   21               THE COURT:     I usually don’t hear those things.       I’ll

   22   look at it.

   23               Maybe -- Ms. Scotten, would you look at that motion

   24   and see if there’s anything that looks like it’s --

   25               MR. BERMAN:     It’s Docket 25.        We filed it on July 31.



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    1              THE COURT:      I want to see if it’s overreaching, and

    2   if it’s not, I can just go ahead and grant that I think.

    3              MS. SHERMAN:      We also had -- the estate had filed

    4   some motions for a 2004 examination.            It’s not relating

    5   specifically to the planes but to the bigger picture.                 And Your

    6   Honor had asked us to upload orders, and we have done that.

    7              THE COURT:      Okay.    Well, then, should I finish now on

    8   the first motion?

    9              MR. LAMOUREUX:       Your Honor, John Lamoureux on behalf

   10   of the landlord.     I heard the Court’s ruling.            I’m in agreement

   11   with Mr. Gart’s comments, and I heard the Court:                  Whatever sort

   12   of mechanic’s liens, landlord liens that may exist.

   13              I heard from Trustee’s counsel something a little bit

   14   different than the understanding that I thought we had prior to

   15   today’s hearing with --

   16              THE COURT:      Okay.    Let me ask you for a timeout.           Are

   17   you addressing Mr. Berman’s motion right now?

   18              MR. LAMOUREUX:       Mr. Berman’s motion, Your Honor.

   19              THE COURT:      Okay, go ahead.

   20              MR. LAMOUREUX:       And the question is, is I can sit

   21   down reserving my comments so when my motion comes up it can

   22   impact -- it may impact Mr. Berman’s motion.               The issue that I

   23   heard the Trustee say today is that the estate would have no

   24   further responsibility to segregate, put up fences or protect

   25   the collateral that’s owned by these fractional interest



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    1   holders.

    2               That is different than the understanding that I had

    3   reached with Trustee’s counsel prior to today’s hearing.              And

    4   those issues impact my motion that deals with what I call the

    5   “access order.”     And so I can deal with those issues now, I can

    6   reserve all those comments until my motion is heard.

    7               THE COURT:     Okay.    Tell me what objection you have to

    8   my allowing Mr. Berman access to inventory --

    9               MR. LAMOUREUX:      It’s the issue, Your Honor, of -- it

   10   deals with this landlord mechanic’s lien issue and whether or

   11   not the lease that we have with the Debtor is (1) still in

   12   existence, and then (2), what impact that may potentially have

   13   on my client’s landlord liens on non-estate property.

   14               THE COURT:     Okay.    May I ask you a question?       Under

   15   Florida law, if your lease is with Ms. Sherman --

   16               MR. LAMOUREUX:      That’s correct.

   17               THE COURT:     -- but she allows Mr. Berman to put stuff

   18   inside --

   19               MR. LAMOUREUX:      That’s correct.

   20               THE COURT:     -- and your landlord is not in privity

   21   with Mr. Berman, does Florida law create a landlord’s lien on

   22   that stuff that is in Mr. Berman’s ownership?

   23               MR. LAMOUREUX:      There is an argument, yes, Your

   24   Honor.

   25               THE COURT:     What is that argument?          I’m not familiar



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    1   with it.

    2                MR. LAMOUREUX:     I believe it’s Code Section 715, Your

    3   Honor.   Florida Statute --

    4                THE COURT:    715 or 83?

    5                MR. LAMOUREUX:     715, Your Honor.        There’s a whole

    6   procedure by which landlords cant go ahead when collateral that

    7   has basically been left over --

    8                THE COURT:    That’s abandoned property.             That’s not --

    9                MR. LAMOUREUX:     Well, Your Honor, the Trustee is

   10   saying it doesn’t have an interest in this property.                 So if it

   11   doesn’t have an interest --

   12                THE COURT:    It had management right of managing it.

   13   It didn’t have an ownership interest perhaps.               It had a right

   14   to have it there to manage it for a third party with whom the

   15   landlord has no privity.        And as I understand it, 715 is the

   16   abandoned property statute.

   17                MR. LAMOUREUX:     And, Your Honor, the question then

   18   becomes the issue regarding the lease and how long this lease

   19   is going to last and whether or not the lease is terminated

   20   within 60 days or if it’s terminated earlier and the impact

   21   that that may have on the equipment that basically is left

   22   there.

   23                MR. BERMAN:    Your Honor, I was suggesting a very

   24   simple approach, which is, whatever the lien rights are are

   25   preserved.    We’re not seeking to unseat lien rights.



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    1                THE COURT:    No.   If you move it out -- if there’s a

    2   landlord’s lien, which I, frankly, question, but if there’s --

    3   enforceable against property of a third party, if you move it

    4   out, the landlord’s lien is destroyed --

    5                MR. BERMAN:    Well, I’m suggesting that you --

    6                THE COURT:    -- unless there’s a distress for rent

    7   issued; right?     Am I remembering it sort of -- anyway.           So if

    8   you move it and it destroys an applicable non-bankruptcy state

    9   law right of the landlord, then what do we do with that?

   10                MR. BERMAN:    But I’m suggesting -- and I will

   11   respectfully disagree with Your Honor’s conclusion before the

   12   break that you didn’t have the jurisdiction to preserve those

   13   liens.   I think if you’re considering stay relief, you

   14   certainly have jurisdiction to condition --

   15                THE COURT:    It’s not stay relief.         Let’s put it on

   16   the table.    We’re calling it something that -- there is no

   17   stay.

   18                MR. BERMAN:    Well, there is a stay with respect to

   19   estate property.

   20                THE COURT:    Right.

   21                MR. BERMAN:    And there’s uncertainty today as to

   22   which is the estate property and which is the non-estate

   23   property.    So pending that determination, which I’m suggesting

   24   would happen at some point in the near future, a few weeks out,

   25   you could preserve those lien rights.            And my folks can



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    1   certainly negotiate with Mr. Lamoureux to try to resolve those

    2   issues.   But I’m not looking for anyone to adjudicate today

    3   that a lien exists or doesn’t exist.

    4                I think you can, by virtue of your order, whatever

    5   order you’re going to enter on my motion today, you can say the

    6   lien rights which existed prepetition and up to today are

    7   preserved.

    8                MR. GART:   It needs to say more than that, Your

    9   Honor.

   10                MR. LAMOUREUX:     Your Honor, my point in standing was

   11   to make sure that -- and I agree -- if that is Mr. Gart

   12   speaking on the phone, I agree, I think it might need to say a

   13   little bit more than that.

   14                The purpose of me standing, Your Honor, rather than

   15   sitting down and waiting for my motion, is to make it clear

   16   that we have or may have these certain rights.               And I’ve

   17   already spoken with Mr. Berman prior to the Court starting the

   18   hearing this morning about sitting down and talking with -- if

   19   they’ve got collateral over at the Clearwater/St. Pete Airport,

   20   how do we go about preserving and protecting it.

   21                And I stand because what I believe -- I’ve reached an

   22   agreement with Trustee’s counsel with respect to how to

   23   preserve and safeguard the Piaggio aircraft and other equipment

   24   there, that we can talk about when my motion comes up, may not

   25   now be on the table.       And I just wanted to make sure that those



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    1   arguments and those rights that my client has or may have are

    2   preserved.

    3                THE COURT:    They are preserved --

    4                MR. LAMOUREUX:     Thank you, Your Honor.

    5                THE COURT:    -- because I can’t disrupt them.       So

    6   that’s the only opposition is just to clarify --

    7                MR. GLENN:    Your Honor, just one clarification.         You

    8   mentioned that there is no stay.           I mean, there is a stay under

    9   362 because it’s property of the estate.

   10                THE COURT:    Only of the property of the estate.         But

   11   we’re talking about -- Mr. Berman assures me that none of the

   12   planes he’s talking about in his motion is a plane that the

   13   estate --

   14                MR. BERMAN:    Your Honor, two of them are, to be

   15   clear.

   16                THE COURT:    Oh, two of them.

   17                MR. BERMAN:    Two out of the twenty.

   18                THE COURT:    Well, then, 18 of them go away.

   19                MR. BERMAN:    I understand that.

   20                THE COURT:    Two --

   21                MR. GLENN:    Your Honor, there’s also --

   22                THE COURT:    Two do not go away.

   23                MR. BERMAN:    I understand that, unless we can move it

   24   with the consent of the Trustee to a cheaper location --

   25                THE COURT:    Yes.



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    1              MR. BERMAN:      -- to save money.

    2              THE COURT:      Yes.

    3              MR. GLENN:      In at least one other motion, there is a

    4   notation attached to it that Avantair owns an interest in one

    5   of the planes --

    6              THE COURT:      I’m not talking about estate property.

    7   Right now we’re talking about -- I’m only talking about where

    8   clearly no stay exists as to any piece of the plane.

    9              Ms. Gilmer and Mr. Alpert, for example, together

   10   represent 100 percent of the owners -- of one plane or two

   11   planes?

   12              MS. GILMER:      One plane, Your Honor.

   13              THE COURT:      One plane.

   14              MR. ALPERT:      I have another plane on top of that with

   15   all the owners.

   16              MR. GLENN:      What I was saying, Your Honor --

   17              THE COURT:      Okay.    There are two planes here where

   18   unquestionably the estate has no interest, so let them go.

   19              MR. GLENN:      Your Honor, in one of those motions, let

   20   me say it again --

   21              THE COURT:      Okay.

   22              MR. GLENN:      -- there’s an attachment that shows a

   23   listing from the FAA of ownership interests.               In one case,

   24   Avantair is shown, although there is a letter apparently from

   25   Avantair saying:     We don’t claim an interest in it.            Now, that



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    1   raises some issues.

    2              THE COURT:      I agree.     I’m going to go -- I’m going

    3   motion by motion.      Is that thing in Mr. Berman’s motion?          No.

    4              MR. GLENN:      No, not --

    5              THE COURT:      Okay.    Then, my ruling, Mr. Berman, 18 of

    6   the planes -- well, all the planes, you may have access to

    7   inventory, everything in there in cooperation with the Trustee.

    8   You may move the 18 planes that the Trustee does not assert any

    9   right in except to the extent that we can trace parts that are

   10   not -- I don’t know how to say this -- deemed to be part of the

   11   plan.   And the rights are preserved to the estate to seek

   12   turnover of such parts, if any.          And that would include,

   13   perhaps, some engines, some props, and any accoutrements that

   14   may have been added, such as a WiFi box.

   15              You do so subject to all applicable state law rights

   16   of lienholders, whether they be mechanic’s lienholders,

   17   consensual Article 9 lenders, the landlord’s lien, if any.               And

   18   I’m looking at 83.10 -- excuse me -- 83.08 and I’m not sure

   19   that that would apply but maybe so, maybe not.               But you all can

   20   negotiate that.     If you can’t, then Mr. Lamoureux may sue and

   21   assert the lien.

   22              We will come back for a status report on either

   23   September the 11th or September 13th.

   24              MR. BERMAN:      And, Your Honor, can that -- may I be

   25   heard briefly?



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    1              THE COURT:      Yes.

    2              MR. BERMAN:      Can that hearing, whenever you’re going

    3   to set it, be for a sufficient amount of time for us to put on

    4   evidence if there’s a question about ownership of --

    5              THE COURT:      Yes.

    6              MR. BERMAN:      -- equipment?       So it would be an

    7   evidentiary hearing if needed?

    8              THE COURT:      Yes.    How much time do you all think per

    9   plane would be needed to say which pieces parts are whose?

   10              MR. BERMAN:      May I have a moment, Your Honor?

   11              THE COURT:      And I don’t mean whose as between

   12   nondebtor owners.

   13              MR. BERMAN:      Right.     Just to put on the case and say:

   14   Here’s the stuff that goes with this plane, and this plane is

   15   subject to our motion and we want complete relief, or whatever.

   16              THE COURT:      Right.

   17              MR. BERMAN:      May I have just a moment, Your Honor?

   18              THE COURT:      Yes.    But in any event, you will not get

   19   complete relief on the two planes that the estate has an

   20   interest in.

   21              MR. BERMAN:      Understood, Your Honor.

   22              MR. ANDERSEN:       Your Honor, may I be heard briefly

   23   when Mr. Berman finishes?

   24              THE COURT:      On Mr. Berman’s motion?

   25              MR. ANDERSEN:       Yes, Your Honor.



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    1              THE COURT:      Sure.    But let him finish talking with

    2   Mr. Campbell so that he’s not distracted.

    3              Somebody else wants to pick on your motion, Mr.

    4   Berman.

    5              MR. BERMAN:      I’m used to it.        I would suspect we

    6   could put on evidence, if there was a contest about ownership,

    7   in a couple of hours with respect to our 20 planes.

    8              THE COURT:      All 20 in a couple of hours?

    9              MR. BERMAN:      A couple --

   10              THE COURT:      That’s great.

   11              MR. BERMAN:      Maybe say half a day.          I mean, I’ll try

   12   to do it as streamlined as possible.

   13              THE COURT:      That’s good.

   14              Okay, Mr. Andersen.

   15              MR. ANDERSEN:       Judge, this is in relation to Mr.

   16   Berman because my client, CCA, has a fractional interest in two

   17   of the aircraft which are the subject of the motion.              And I

   18   know from the discussions that that fractional owner group has

   19   had before, one of the aircraft has only one engine and the

   20   other aircraft has neither of its engines.

   21              And I heard Mr. Berman say:           We may have to move some

   22   engines.   And the concern I’ve got is, as I understand, the

   23   relief is being granted -- the Court’s granting relief to

   24   inventory these aircraft.

   25              What I would prefer not to have to do is get involved



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    1   in some kind of state court litigation with another owner when

    2   we trace -- or with a maintenance facility when one of those

    3   engines is traced, for example, to Dallas Airmotive, or if the

    4   engines from the airplane that have neither of its engines are

    5   now traced to another airplane where they’re currently a part

    6   of that airplane.

    7               THE COURT:     I’m sorry, but that is the status of this

    8   case.    If the estate doesn’t have a hook in it, then you all

    9   fight outside.

   10               Mr. Mohney’s client, for example, maybe you lose

   11   under the law of accessions, maybe you don’t.               You fight that

   12   out.    As I said, I’m not going to sit here and referee little

   13   dustups between constituencies that I don’t have jurisdiction

   14   to unless everybody’s in, everybody.

   15               MR. ANDERSEN:      And, Your Honor, as I understood it,

   16   the Court is considering typing up this transcript so it can be

   17   provided to the fractional share owners so they can --

   18               THE COURT:     Yes, because I think you all have to have

   19   a real heart-to-heart amongst everybody about what is really

   20   the best.

   21               MR. BERMAN:     And I think we will use that status

   22   hearing to report to the Court where the owners stand with

   23   respect to their desires.        And that way maybe the Court can

   24   fashion some relief that is better for everyone than the relief

   25   that is possible under the Code.



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    1              THE COURT:      I think I’m going to have to treat this

    2   as an opt-in type of a thing, absent a hundred-percent buy-in,

    3   with an agreed take at the end of the day on how you carve up

    4   the proceeds.    Remember, there is a blanket lienor, there’s --

    5   maybe there’s some avoidable liens on some of the planes that

    6   the estate has an interest in.

    7              Mr. Mohney?

    8              MR. MOHNEY:      Yes, Your Honor.        Just a point of

    9   clarification for my client.         Is the -- does the Debtor have an

   10   interest in the plane to which the Bank of America loaner

   11   engines have been attached?         We referenced a couple of planes

   12   that they have an interest in, and I wasn’t sure if that one

   13   which is subject to Mr. Berman’s motion and allegedly subject

   14   to Mr. Gart’s lien was part of that group.

   15              MS. SHERMAN:      Your Honor, I don’t know to which

   16   airframe Mr. Mohney is talking about.            And of course we have

   17   not had really a whole lot of time to figure out which

   18   fractional -- what planes we have fractional interests in.

   19   Preliminarily, it looks like there are four, and those -- I can

   20   tell Your Honor those tail numbers.            But that doesn’t mean that

   21   we’re not going to find something else that gives us additional

   22   rights, fractional interests in other planes.               But those are

   23   N104SL, N146SL, N147SL, and N149SL.

   24              And the FAA Registrations, as Mr. Andersen pointed

   25   out earlier, they’re almost like a perfection thing.              They



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    1   don’t create ownership.        They’re a way of registering the

    2   ownership.    So we’re going to have to go back to the ultimate

    3   pieces of paper, the bills of sale.            And people sold out and

    4   sometimes they were parked temporarily with the Debtor before a

    5   new fractional owner came in.          We’re going to have to go back

    6   to and inventory all of those before we’re going to be able to

    7   say definitively these are the planes that the estate has a

    8   claim to a fractional ownership in.

    9                And as we’re talking about everything today, you

   10   know, I’m not sure we’re all even on the same page as to who’s

   11   picking up what and who’s inventorying what.               And I don’t know

   12   how we do it without the musical chairs theory or the Humpty

   13   Dumpty theory being decided.

   14                And we will abide with whatever the Court decides,

   15   but I’m almost thinking we need to come back later because I’m

   16   not sure that everybody has enough information to really know

   17   what we’re doing.      But whatever Your Honor rules, as long as

   18   it’s clear --

   19                THE COURT:    In the meantime --

   20                MS. SHERMAN:    -- that the Trustee has no more

   21   responsibility or expense in safeguarding this, we’re fine.

   22                THE COURT:    Well, if one of the planes that is moved,

   23   in fact, is owned by the Debtor, then the Debtor is going to

   24   have a share in the expense to preserve it.

   25                MS. SHERMAN:    That’s fine.



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    1              THE COURT:      So --

    2              MS. SHERMAN:      That’s fine.

    3              THE COURT:      You can’t have it both ways.

    4              MS. SHERMAN:      That’s fine.

    5              MR. BERMAN:      And the intention was when we come back,

    6   whenever this hearing is, everyone should know what their

    7   relative positions are better.          The estate will know what its

    8   claiming an interest in, and the owners should have a clearer

    9   picture.   We’ll have an ownership list.            We’ll be in a much

   10   better position to put on our arguments as to what we control

   11   and what we have a right to dispose of or retain or whatever.

   12              THE COURT:      Okay.    That -- the argument Ms. Sherman

   13   just made throws a monkeywrench in my thinking.                   So it’s

   14   potential -- there is potentially an interest of the estate in

   15   every plane?

   16              MS. SHERMAN:      Depending on whether we’re doing Humpty

   17   Dumpty or something else, yes, Your Honor.

   18              THE COURT:      I’m not talking about engines that may be

   19   in another plane.      I said they could be moved with --

   20              MS. SHERMAN:      Not every tail number.

   21              THE COURT:      -- the obligation to turn over.              But if,

   22   for example, Ms. Gilmer’s clientele, they’ve got 16 owners and

   23   they say their 16 -- their club of 16 doesn’t include the

   24   estate at all.     And you don’t know that?

   25              MS. SHERMAN:      Right now I have no reason to dispute



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    1   what she’s saying.      What I don’t know is when she grounds that

    2   plane with that tail and she takes it somewhere, is there an

    3   engine, is there a propeller, is there a part that the estate

    4   has a right to?     And the only way I know that is whether we

    5   know whether we’re unscrambling them back to virgin status when

    6   they came from Piaggio or whether we’re going to stop with some

    7   subset of parts and say:        These are accessions and wherever

    8   they were when the music stopped --

    9              THE COURT:      I’m going to carve out all of the things

   10   that are on the shelves.        I’ve already said I’m going to carve

   11   out the eight props and the eight engines that may have to be

   12   associated with the four planes that we know of.

   13              I said that the inventory would include -- if a non-

   14   estate plane is moved -- or an allegedly non-estate plane is

   15   moved and there’s something on the plane that really belongs to

   16   the estate, there will be an obligation to turn over.

   17              MS. SHERMAN:      That gets to the final question, Your

   18   Honor:   How deep does the inventory go?            There are parts and

   19   there are -- there’s a point at which it is no longer cost

   20   effective to fight about them.          I mean, everybody, as a

   21   practical matter, is going to have to inventory the 138 life-

   22   limited parts because the FAA is going to require --

   23              THE COURT:      I’d throw them all out and start over

   24   because there’s no reliability whatsoever in any of those

   25   parts.



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    1              MS. SHERMAN:      Well, then, we’re throwing out all the

    2   planes, Your Honor.      You know, you can have them overhauled,

    3   and then they start all over at zero.            And, you know, depending

    4   on the part, that makes some sense.

    5              But do we do just the engines? just the propellers?

    6   Do we throw in the landing gear?

    7              THE COURT:      Okay.    Let me put it to you:         What would

    8   the Trustee do to rebut an assertion that there is nothing on a

    9   plane that belongs to the estate?           How deep does she go?

   10   That’s up to her.

   11              MS. SHERMAN:      I guess I’d have to know whether if any

   12   of those parts were on a plane that we have a fractional

   13   ownership in or if there’s any argument that any of those parts

   14   were spares and we’re going to do the “go back to the virgin

   15   list” theory, then we may have an interest in every single

   16   plane.

   17              THE COURT:      I’m going to give you two days.          I’ve got

   18   9/11 and -- they’re both bad days, 9/11 and Friday the 13th.

   19              MS. SHERMAN:      How many planes do we -- how deep down

   20   in the inventory do we go?

   21              THE COURT:      I’m not telling you how to fulfill your

   22   fiduciary duty to rebut an evidentiary showing that the estate

   23   has no interest in something.          I’ve provided --

   24              MS. SHERMAN:      What is Mr. Berman to inventory?

   25              THE COURT:      -- the clawbacks -- pardon me?



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    1              MS. SHERMAN:      What is Mr. Berman to inventory and Mr.

    2   Alpert to inventory and Ms. Gilmer to inventory?                  I just want

    3   to make sure to make sure we’re all inventorying the same

    4   parts.

    5              THE COURT:      Ms. Gilmer may not want to inventory as

    6   much as you might.      They just want to know what’s on there.

    7   And according to their business judgment about how far they

    8   should inventory is how far they will inventory.

    9              MR. BERMAN:      Your Honor, my original suggestion was

   10   to have the Trustee run the inventorying, but I don’t want that

   11   to delay the process.

   12              THE COURT:      But what if you want to just see whether

   13   ten big things are on there --

   14              MR. BERMAN:      And I think that -- I will leave that to

   15   the discretion of our FAA lawyers because they know better and

   16   the FAA experts or the aviation experts, they know best what

   17   needs to be done for us to prove up ownership.               Although I’ll

   18   be litigating it, they’re going to be the ones who will help

   19   make those decisions.

   20              I originally suggested that the Trustee engage one

   21   inspector to do all the inventory.

   22              THE COURT:      And I said you all may do that.

   23              MR. BERMAN:      Right.     That’s up to the Trustee and the

   24   parties if that’s what they want to do.

   25              THE COURT:      But I don’t want, for the third time,



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    1   these ladies to be holding the bag or chasing anybody for

    2   payment either.

    3               MR. BERMAN:     I’m with you.       I’ve represented

    4   trustees.

    5               THE COURT:     If you want Gray Gibbs to be the one, and

    6   you all want to come up with a protocol of this is how much we

    7   inventory, and he’s going to do it on a plane-by-plane basis,

    8   you heard what Mr. Conte said, it took seven men and women two

    9   weeks.   That’s a lot of hours, a lot of hours.              And I can

   10   imagine it’s going to be very expensive.             And so the budget can

   11   be created, but these ladies don’t have to lift a pinky until

   12   they get the money in hand.

   13               MR. BERMAN:     And there have been folks who have

   14   performed some inventory and services prepetition, and it may

   15   be that that’s the most efficient route to go.               But the parties

   16   can discuss that amongst themselves about how to accomplish

   17   that.

   18               THE COURT:     I don’t care how you inventory whatever

   19   it is you want to inventory.

   20               MR. BERMAN:     Understood, Your Honor.

   21               THE COURT:     I’m just saying you have access to do it.

   22               MR. BERMAN:     We’ll -- with the Court’s permission,

   23   we’ll prepare a draft order on our motion and circulate it.

   24               THE COURT:     Yes.    And so you move the 18 subject to

   25   the landlord rights, the mechanic’s lien’s rights, and the



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    1   estate’s rights.     And anything that’s on those 18 planes that

    2   really belongs to the estate, your clients will be under the

    3   obligation to turn over that thing or things.

    4              MR. BERMAN:      Yes, Your Honor.        And then final --

    5              THE COURT:      Okay.    And your 2004 motion, I believe

    6   that we’ve already called for an order, so we’re fine with

    7   this.

    8              MR. BERMAN:      Okay.    And --

    9              THE COURT:      Hold on.     As a matter of fact, who’s the

   10   one -- oh, the Chapter 7 Trustee’s order I have and I’m going

   11   to sign that.    And I don’t know if we have one from your group.

   12              MR. BERMAN:      I’ll find out when I get back to the

   13   office if we’ve uploaded it.

   14              THE COURT:      It’s possible Ms. Arciola will find it in

   15   the meantime.

   16              MR. BERMAN:      I think it was Docket 25.

   17              MR. GLENN:      Your Honor, while you’re on those 2004s,

   18   are those going to be noticed to everyone, or do you want

   19   everyone who wants a similar relief to file their own 2004

   20   motion?

   21              THE COURT:      Y’all can do it the expensive way or you

   22   can do it the non-expensive way.

   23              MR. BERMAN:      We’re happy for people to cross-notice

   24   if that’s acceptable to the Court.

   25              MR. GLENN:      That’s what I was asking.



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    1               MR. BERMAN:     It would make sense to have one --

    2               THE COURT:     Rent the convention center and have a

    3   hundred people in there.

    4               MR. GLENN:     I think in the final analysis there may

    5   not be that many people.

    6               THE COURT:     Okay.    I’m not going to put this in an

    7   order unless somebody submits an order that says this, but it

    8   is for the benefit of all, these 2004 exams shall be open to

    9   any party in interest, party in interest, including co-owners.

   10               MR. ALPERT:     Your Honor, if I may?          I’m hoping I can

   11   short circuit some of the calendar.            With respect to Docket No.

   12   52, with respect to Lockton Enterprises, Pegasus III and Dorian

   13   Punj, which, that’s the Plane N187 that --

   14               THE COURT:     Where is that on -- oh, I see.             It’s the

   15   next thing on the calendar.

   16               MR. ALPERT:     -- Ms. Gilmer has the remaining owner on

   17   that plane.    We’re fine with the same relief that Mr. Berman

   18   will get.    And we’ll use -- we’ll work on the form of order

   19   with Mr. Berman and use that same approach.

   20               THE COURT:     Perfect.

   21               MR. ALPERT:     And then I think you had some additional

   22   ones?

   23               MS. SHERMAN:     I have 187, Your Honor.              I believe

   24   that’s one where they had been a prepetition surrender worked

   25   out.    The physical plane didn’t get delivered but there’s



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    1   sixty-some thousand being held in escrow by Mr. Cooling.                 And

    2   as long as long as the stay order is without prejudice to us to

    3   decide later who is entitled to that deposit -- it was a

    4   payment of past-due management fees --

    5              THE COURT:      Wait a minute.       A payment of past-due

    6   management fees --

    7              MS. SHERMAN:      In order to get the plane back pre-

    8   bankruptcy.    But the deal was the plane had to be exactly as it

    9   had come from the manufacturer.          So the 62,000 was placed in

   10   escrow.   They took a look at the plane and said:                 Uh, uh, uh,

   11   uh, uh, wrong parts.

   12              Sixty-two thousand is sitting in escrow.                And I just

   13   want to make sure that’s what we’re doing --

   14              THE COURT:      Okay.    So a condition precedent to the

   15   estate’s ownership in that fund was that the -- that particular

   16   tail number would come back in baseline condition.

   17              MS. SHERMAN:      Your Honor, that was more or less what

   18   the agreement provided.        We can talk about the funds later.            I

   19   just want to make sure that the stay relief is without

   20   prejudice to us --

   21              THE COURT:      Yes.

   22              MS. SHERMAN:      -- whatever rights we have in that

   23   fund.

   24              THE COURT:      Okay.    Yes.

   25              MS. GILMER:      That’s correct, Your Honor.



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    1               THE COURT:     And it will be continued to be maintained

    2   as an escrow fund with whom?

    3               MS. SHERMAN:     I believe it’s a gentleman named Mr.

    4   Cooling who is -- is he an attorney?

    5               MS. GILMER:     Mr. Cooling is counsel for Lockton who

    6   is with Mr. Alpert.

    7               THE COURT:     Okay.    Well, and where is Mr. Cooling,

    8   what state?

    9               MS. GILMER:     Mr. Cooling is located in Kansas City,

   10   and Mr. Holland is also representing Lockton that was here

   11   previously.

   12               THE COURT:     Okay.    Ms. Sherman, do you care where the

   13   escrow fund is held?

   14               MS. SHERMAN:     As long as it’s with a law firm.

   15               THE COURT:     Okay.    We’ll leave it where it is.

   16               MR. ALPERT:     Then, lastly, are you going to require

   17   each of the unit owners who have filed their own motions for

   18   relief from stay to get this similar order, or is this sort of

   19   going to be an omnibus approach?

   20               THE COURT:     It’s an omnibus approach.

   21               MR. ALPERT:     Okay.    Thank you.

   22               THE COURT:     In fact, I wish there could be some sort

   23   of an omnibus order that says -- well, maybe it should be plane

   24   by plane.

   25               MR. ALPERT:     That’s fine.



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    1              THE COURT:      If at least one owner moves --

    2              MR. ALPERT:      I represent all the owners of N173.

    3              THE COURT:      If one owner moves, all owners in the

    4   group get similar relief except for planes that are owned by

    5   the Debtor.

    6              MR. ALPERT:      But what I’m asking to clarify is we

    7   actually do have to file a motion for relief from stay and we

    8   can’t simply ride along with this kind of omnibus approach for

    9   all owners, that’s the question.           Do we have to come in, file

   10   motions next week or, as the owners, can we --

   11              THE COURT:      Are they the same planes?

   12              MR. ALPERT:      I’m sorry, say that again?            I represent

   13   all the owners of N173.        There’s no motion on today with

   14   respect to --

   15              THE COURT:      Submit the motion --

   16              MR. ALPERT:      Perfect.

   17              THE COURT:      -- and -- with his proposed order.

   18              MR. ALPERT:      That works.

   19              MS. SHERMAN:      We can likely do an agreed --

   20              THE COURT:      Sure.

   21              MS. SHERMAN:      -- order that’s identical to all the

   22   others.

   23              THE COURT:      Absolutely.

   24              MR. SMITH:      Your Honor, this is Mr. Smith on behalf

   25   of owners who own 100 percent of their respective aircraft.



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    1   And until the last comment, I thought -- to the extent we’re

    2   subject to the stay at all, which would be questioned, I

    3   thought that the relief would apply to all owners without

    4   separate motion.     I just wanted to clarify, based on the last

    5   comment, that at least one owner of every plane ought to

    6   actually be filing something?

    7              THE COURT:      Yes.    I think that’s the way to go

    8   because I think the Trustee needs to look at each plane, plane

    9   by plane, and if an agreed order -- I’ll call for an order that

   10   would be mirror image to whatever it is I’m going to sign on

   11   behalf of Mr. Berman and then Mr. Alpert with that little tweak

   12   about the escrow fund, unless the Trustee doesn’t want to agree

   13   for some reason.     Maybe the Trustee finds out that no, you

   14   don’t have -- you don’t represent all the owners.                 Maybe the

   15   Trustee still has an interest in the LW plane, I don’t know,

   16   for some reason.

   17              But I think it’s appropriate for you all to do that.

   18   And does it mean we have to have 55 or 55 minus 12, whatever it

   19   is?   I don’t know, I think it provides clarity.

   20              MR. SMITH:      So we submit something like a consent

   21   order?

   22              THE COURT:      Sure.

   23              MR. SMITH:      Thank you.      And since I’m speaking -- I

   24   apologize -- could we clarify one other item that was mentioned

   25   earlier in the conversation?



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    1              THE COURT:      Yes, Mr. Smith.

    2              MR. SMITH:      Again, if we’re subject to this at all,

    3   if there is access to an aircraft for moving it and for

    4   inventory and so on, I think there was a comment that certain

    5   maintenance would be required to preserve the value of

    6   aircraft, like draining a tank or something.               So without seeing

    7   the actual order, I’m assuming that maintenance could be

    8   conducted on aircraft, again, at the expense of the owner; no

    9   charge to the estate to preserve the value or to refurbish the

   10   aircraft to --

   11              THE COURT:      Right.    And it should be done to industry

   12   standards, whatever that is.

   13              MR. SMITH:      Thank you, Your Honor.

   14              MR. CLARK:      Your Honor, Roger Clark.          In terms of the

   15   Court’s partial lifting of the stay allowing removal of

   16   aircraft --

   17              THE COURT:      It’s partial lifting if applicable, or

   18   confirming no stay exists.

   19              MR. CLARK:      One concern that I have, and this is a

   20   clarification point, as to I think my count is 42 of those

   21   aircraft which are subject to grounding orders from the FAA as

   22   of close of business today, they’re not going anywhere except

   23   the other side of the airport, if that far.              But there may be

   24   log books, maintenance records onboard the aircraft, and those

   25   are very portable.



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    1              And I just wanted clarification that any owner that

    2   has a right to move an aircraft cannot remove any log books or

    3   maintenance records that might be in those aircraft.              Those

    4   have to stay in the aircraft at the present time until further

    5   order of the Court.

    6              THE COURT:      Yes.    I can’t imagine one owner messing

    7   with the books or the log book to the detriment of the other

    8   owners.

    9              MR. CLARK:      Because those will be important,

   10   obviously, to track these various parts.

   11              Another point, there’s 19 aircraft that are noticed

   12   of proposed suspension of their airworthiness certificates,

   13   going to come out next week.         Those airplanes are apparently

   14   flyable or possibly flyable.         They have current airworthiness

   15   certificates.    And I haven’t had a chance to compare which

   16   aircraft are being represented today with those 19.               Are those

   17   aircraft -- is it -- the Court says those aircraft may be moved

   18   to the extent that those aircraft (indiscernible) can be flown?

   19              THE COURT:      If they are the subject of a motion

   20   today, if they’re subject to an agreed order on a motion --

   21              MR. ALPERT:      We’re not flying them.          I just talked to

   22   the other movants.      We’re not flying them.

   23              MR. CLARK:      Okay.

   24              THE COURT:      I’ll tell you what, for liability sake, I

   25   wouldn’t fly any of these planes.           I wouldn’t let anyone fly



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    1   any of these planes for any purpose whatsoever until you know

    2   exactly what the set is that the FAA is looking at.               And even

    3   if they’re outside of that set, given what we’ve learned today

    4   about not knowing about the hours on life-limited parts, I

    5   would say it would be reckless.          It would almost be malicious

    6   to put the planes in service for any reason.

    7               MR. CLARK:     If there is someone who is reckless who

    8   wants to fly an airplane, however, could we have the scope of

    9   the order then requires any of the logs or maintenance records

   10   that might be on those flyable aircraft to stay with the

   11   aircraft and not be removed until prior notice to this Court

   12   with an opportunity to copy those records by interested

   13   parties?

   14               THE COURT:     The log books stay with the planes,

   15   period.    Right?   That is part of the plane.

   16               MS. SHERMAN:     Your Honor, if they are already on the

   17   plane.    If they are already in the records room, we’re going to

   18   have to go pay somebody to go find those.              And I don’t --

   19   that’s getting a step ahead.         But wherever -- they’re sitting

   20   presently on the plane.

   21               And as to the FAA point, my understanding was these

   22   had all been subject to a 440-something-79 exam already.                None

   23   of them have airworthiness certificates as we sit here today.

   24   They just hadn’t tried to suspend them.             But they all had to be

   25   reinspected before they were going to fly.              And they have



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    1   little red tags in the window that say, “Do not fly,” or

    2   something similar.      So they shouldn’t be going anywhere.

    3                THE COURT:    Someone would have to -- somebody would

    4   have to be suicidal to want to even get into the cockpit.

    5                MS. SHERMAN:     One apparently did move, Your Honor, so

    6   -- not post-bankruptcy.

    7                THE COURT:    So I guess the purpose of Mr. Clark’s

    8   comment is that to the extent that I’m allowing movement of

    9   planes with log books in them, that is an exception to the

   10   orders that prohibit people from removing documents.              Is that

   11   your point?

   12                MR. CLARK:    Yes, ma’am.

   13                THE COURT:    Okay.    Then it should say specifically

   14   that the couple of orders that are in there, that would be an

   15   exception.    But they don’t move anywhere off the plane.

   16                Okay.   Next.    And, Mr. Alpert, you’re going to work

   17   with Ms. Gilmer on the Calendar Item No. 3 that’s Docket No.

   18   52; right?

   19                MR. ALPERT:     Yes, Your Honor.       We discussed that.

   20                THE COURT:    Do you want September 11th or do you want

   21   September 13th?

   22                MR. ALPERT:     Neither date sounds wonderful, but yeah,

   23   it doesn’t matter; whatever suits your calendar.

   24                THE COURT:    Would it be helpful for us to set them

   25   all together so that you all could observe each other’s



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    1   evidentiary hearings in case you have a problem with a

    2   propeller that’s on one plane and you think it ought to be on

    3   your plane?

    4              MR. BERMAN:      Yeah, I think it makes some sense.          And

    5   I don’t know -- I hate to crowd up too much of the Court’s

    6   time, but it may make some sense to try to grab the days, both

    7   days --

    8              THE COURT:      Fine, we’ll do it.

    9              MR. BERMAN:      -- to allow for bleed over if needed.

   10              THE COURT:      Fine.    Fine.    Okay.

   11              Now, the next calendar item.            We’ll take a break from

   12   stay relief and we will approve Ms. Sherman’s retention.               You

   13   can give me an order approving.          Thank you.

   14              MS. SHERMAN:      Thank you, Your Honor.

   15              THE COURT:      All right.      Next is Mr. Lamoureux.      The

   16   landlord who may or may not have liens against certain planes.

   17              MR. LAMOUREUX:       Hi, Your Honor.

   18              THE COURT:      What do you want?

   19              MR. LAMOUREUX:       Well, Your Honor, if I can, I’ve got

   20   something I’d like to hand up.          I think it will be helpful just

   21   so you can sort of see what we’re looking at.               If I may

   22   approach, Your Honor?

   23              THE COURT:      Yep.

   24              MR. LAMOUREUX:       And if anyone would like sort of a

   25   diagram of what the Clearwater/St. Pete Airport looks like and



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    1   the (indiscernible) it’s right there.

    2               Your Honor, I want to also deal with upfront the

    3   issue that was raised this morning regarding the emails that

    4   you received.    At one time this Kevin McKinney (sic) was a

    5   principal with AvAero Services, LLC.            He ceased being an

    6   associated principal with that entity about four or five years

    7   ago, Your Honor.     He’s not involved.         And in my discussions

    8   with the client, there is no love loss between my client and

    9   Mr. McKinney (sic).      So --

   10               THE COURT:     So that’s old bad blood, those emails.

   11               MR. LAMOUREUX:       That must be old bad blood, Your

   12   Honor.   But I’ve asked my client and he has confirmed that in

   13   fact he is not associated with them at all.

   14               THE COURT:     As you know, when people say bad things

   15   about other people in my courtroom, it’s irrelevant to me until

   16   and unless it relates to a contested matter where someone gets

   17   on the stand and makes those statements and I have a chance to

   18   assess the credibility.

   19               Okay.   So you’ve got --

   20               MR. LAMOUREUX:       I’ve got our motion for relief from

   21   what I call the “access order,” Your Honor.              On August 3rd, you

   22   entered Document No. 74, which was the order granting the

   23   Chapter 7 Trustee’s emergency motion to prohibit access to the

   24   premises.    I call that the “access order,” Your Honor.           One

   25   thing that I think is important, at the time that the order was



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    1   entered, we got a multi-tenant complex here,; it’s not a single

    2   tenant.

    3               From what I’ve handed up to the Court, you can see

    4   there’s an aerial view, you know, it’s a the master concept

    5   plan, and I’ve highlighted in yellow sort of the hangar and

    6   office complex on either side.

    7               If you go to the next page, Your Honor, what’s called

    8   Hangar 3 is the -- is the complex which the Debtor basically

    9   occupies.    You can also see to the left-hand side, Your Honor,

   10   is what’s called Hangar 1.         That is -- at one time the Debtor

   11   leased both properties, and Hangar 1 has then been subleased to

   12   the Florida International Guard and to another entity called --

   13   I think it’s called Corporate Jet Solutions.

   14               And the third diagram, Your Honor, is an architect’s

   15   sort of diagram of Hangar 3.         The top portion, Your Honor, you

   16   can see in the middle part is the actual hangar space.            And on

   17   both the left- and the right-hand sides are these gigantic

   18   doors that close.      And then on the upper half, Your Honor, is

   19   what they call the “east office area” on the first floor, and

   20   then on the lower portion of that diagram is the “west office

   21   area.”

   22               The west side, Your Honor, is just a single story,

   23   while the east side, Your Honor, is a two-story complex.

   24               THE COURT:     Okay.    So I would take the bottom half of

   25   the third page and sit it on top of the top part of the first



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    1   half of the page.

    2              MR. LAMOUREUX:       Right.     And I think it’s important,

    3   Your Honor, to at least have that so you know what we’re

    4   talking about.     In addition, Your Honor, Pinellas County,

    5   Florida, they’re basically the owner of all this property.

    6   We’re the tenant, AvAero Services is the tenant or sublessor

    7   who then leased -- at one time the Debtor had all of this, and

    8   really then at one time they had just Hangar 3.                   And it’s

    9   supposed to be a much smaller spot.            And then the Debtor then

   10   had subtenants, which were the Florida International Guard and

   11   Corporate Jet Solutions.        So you can sort of understand who the

   12   players are.

   13              THE COURT:      Right.    And is Dr. Shipman (sic) a non-

   14   party subtenant?

   15              MR. LAMOUREUX:       Of us.

   16              THE COURT:      Right.

   17              MR. LAMOUREUX:       Of us, correct.

   18              THE COURT:      Okay.    So you’re saying that we’ve

   19   blocked access to people who legitimately need access to their

   20   own stuff that’s not Debtor property, never could be, never

   21   would be, and never will be.         And do you have an agreement with

   22   Ms. Sherman and Ms. Scharrer?

   23              MR. LAMOUREUX:       It’s not only we have Chipman, but we

   24   also, given the access order, we couldn’t even sublease out

   25   additional portions of the hangar because everyone was



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    1   excluded.

    2               THE COURT:     Okay.    So let me go back.            Have you now

    3   worked out an agreement?

    4               MR. LAMOUREUX:      Well, I thought we had.

    5               MS. SHERMAN:     Yeah.

    6               MR. LAMOUREUX:      Okay.    And the agreement -- well, the

    7   agreement that we had, Your Honor, was that with respect to the

    8   actual hangar space, on the -- if you go back to the

    9   architectural diagram.       The hangar space on the first floor on

   10   the right-hand side, what we were going to do is basically

   11   erect a fence across a portion of the hangar, and basically

   12   have those Piaggio planes, and there’s I think a jet engine and

   13   some other parts, basically pushed over to the right.

   14               THE COURT:     So they would be in the east floor.

   15               MR. LAMOUREUX:      They would have been on the right-

   16   hand side of the hangar as you look at it, Your Honor.

   17               THE COURT:     Okay.    So it’s going to be the -- what

   18   would that be, the south half of the hangar?

   19               MR. LAMOUREUX:      It sits at --

   20               MS. SHERMAN:     Where the text is, Your Honor.

   21               THE COURT:     Right.

   22               MS. SHERMAN:     Basically where the text is, that end.

   23               MR. LAMOUREUX:      I assume that’s the south end, but it

   24   kind of sits at a diagonal.

   25               THE COURT:     I’m just using the east and west as my



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    1   demarcation for the south half.

    2               MR. LAMOUREUX:      And so what we had agreed, Your

    3   Honor, was that there was going to be a fence across.                  All the

    4   offices on either side have doors that open into the hangar

    5   space, they were going to all be locked.             They were going to be

    6   locked.   We were going to have a hangar, and then my client

    7   could then use the left-hand side --

    8               THE COURT:     Which, to me, would be the north.

    9               MR. LAMOUREUX:      The north-end side.         And we would not

   10   then have to deal with the concerns that the estate has that

   11   other people would come in and have access to these airplanes

   12   and that sort of thing.

   13               THE COURT:     And records.

   14               MR. LAMOUREUX:      And records.       And the records, Your

   15   Honor, are -- well, at one time this Debtor had the entire

   16   facility.    They were supposed to move into just the east side,

   17   Your Honor, on the two-story.          They didn’t.

   18               They have stuff in almost every office on both sides.

   19   There’s equipment, there’s furniture all over the place.

   20               THE COURT:     Just move it into those bays and free up

   21   the office space.

   22               MR. LAMOUREUX:      Well, the question is, Your Honor,

   23   that is the Debtor’s responsibility.

   24               THE COURT:     Right.

   25               MS. SHERMAN:     Well, wait, Your Honor.              We’ve agreed



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    1   to all --

    2               THE COURT:     Yeah.    I don’t know why we’re having to

    3   have argument on this part.

    4               MR. LAMOUREUX:      Well --

    5               MS. SHERMAN:     If you look at the drawing, Your Honor,

    6   there’s a -- on -- the west office area is on the left-hand

    7   side.   There’s kind of an open piece on the far left-hand side,

    8   and that’s actually got a garage door.             So all the big stuff

    9   that’s either on the hangar floor, that’s movable, or in the

   10   offices on the west office area is going to run down to that

   11   far end and we’re going to key that off separately.

   12               So then, Dr. Chipman, who is already in the west

   13   office area will have access to his stuff --

   14               THE COURT:     Is that Chipman or Shipman?

   15               MS. SHERMAN:     I believe it’s Chipman.

   16               MR. LAMOUREUX:      Chipman, I think it is, Your Honor.

   17   And he has --

   18               MS. SHERMAN:     He’s got some really neat old fighter

   19   planes.

   20               MR. LAMOUREUX:      He has like a MiG jet in there and

   21   he’s got some former East Block fighter jet also in there.

   22               THE COURT:     I used to build those at Chan’s Hobby

   23   Shop when I worked there.

   24               MR. LAMOUREUX:      These you can fly, Your Honor.

   25               MS. SHERMAN:     They’re really nifty looking.        But



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    1   anyway, so he will, and any tenants who want can have the whole

    2   west office area except that one end.            They will have access

    3   into the hangar space, just the left-hand side of the hangar

    4   space.   And we will lock up all the back doors that lead into

    5   the east area office space.         Because once you get in one door,

    6   you can go up and around and down and through and over, and you

    7   have access to everything.         So we’ll secure locks there.

    8              As far as fencing off of the airplanes, I mean to the

    9   extent stay relief has been granted, that’s going to be on

   10   whoever’s plane it is, I suppose.           Or if they’re not property

   11   of the estate, I don’t know whether the estate should be

   12   incurring expenses to build fences around things.

   13              Mr. Lamoureux’s client has asked that we don’t drill

   14   holes in the floor, that we use like the Gasparilla gates that

   15   are kind of free-standing.         And we’ll have to work on that once

   16   we figure out who has got stay relief.             And maybe the

   17   individual owners will pay -- the lease, as structured right

   18   now, it’s a thousand a plane a month anyway.               And maybe they’ll

   19   want to lease hangar space where it is.

   20              But once they’ve got stay relief, they can chain off

   21   their own planes and we’ll lock up the offices, I guess.

   22              THE COURT:      Well, where are the four planes that the

   23   estate thinks it has an interest in, if it’s just that few?

   24              MS. SHERMAN:      Some of them are in Clearwater, and so

   25   those may -- we’re going to have to chain those off, Your



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    1   Honor.   And some of them are in Orlando, and the Orlando

    2   landlord -- which actually the Airport Authority needs to have

    3   that back by the 28th.       But we’re just going to have to figure

    4   out the logistical details.

    5               THE COURT:     Okay.

    6               MS. SHERMAN:     And I’m confident we don’t need to

    7   monopolize your time with this.

    8               THE COURT:     Okay.    Can you give us, with a proposed

    9   order, the floor plan with the color coded as to what relief

   10   I’m giving in terms of the access.           Is that something you all

   11   can work together with some colors on this?

   12               MR. LAMOUREUX:      We can, Your Honor.         In addition, one

   13   of the things that we agreed to do, since there is concern that

   14   former officers and directors and employees may come in and try

   15   to engage in shenanigans, is to -- if we get an order that

   16   lists what these former directors, what their names are, that

   17   they cannot come onto the premises, we will hand that order to

   18   every one of our tenants that says these guys cannot come onto

   19   the premises and if you allow them, you're risking contempt of

   20   this Court.    And so we said we'll tell our people:              If they're

   21   on the list, they can't come in.

   22               THE COURT:     They don't risk contempt; they will be in

   23   contempt.

   24               MS. SHERMAN:     So we'll put together the persona non

   25   grata list --



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    1              THE COURT:      That's fine.

    2              MS. SHERMAN:      -- and that protects everyone.

    3              THE COURT:      And that can come in on the order that

    4   goes with Mr. Lamoureux's motion for relief.

    5              MS. SHERMAN:      Yes, Your Honor.

    6              MR. LAMOUREUX:       And there has been an agreement, the

    7   subleases, with the order, International Guard and Corporate

    8   Jet Solutions, those were assigned prepetition to my client.

    9   The Trustee has agreed that, to the extent that those lease

   10   payments come in, they're going to turn them over to my client.

   11   Then -- those are the short terms.

   12              With respect to the open issues, then there's going

   13   to be issues regarding, obviously, lease payments, rent, how

   14   much, how long.

   15              THE COURT:      Well, let's just take those up the normal

   16   way --

   17              MR. LAMOUREUX:       We will --

   18              THE COURT:      -- motion for payment of administrative

   19   expense -- I mean motion for allowance, et cetera.

   20              MR. LAMOUREUX:       Right.     And, obviously, we've talked

   21   today about --

   22              THE COURT:      We've got lease rejection issues.

   23              MR. LAMOUREUX:       Correct.     Correct.      And we've talked

   24   today also about, you know, landlord issues and those type of

   25   things.



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    1              THE COURT:      Well, let me ask you this.             With respect

    2   to the landlord's lien that could be asserted against the

    3   Debtor, which you know is avoidable --

    4              MR. LAMOUREUX:       Yes.

    5              THE COURT:      -- unless -- is there an Article 9

    6   feature to the lease?

    7              MR. LAMOUREUX:       I don't recall, Your Honor.           I --

    8              THE COURT:      She didn't mention that there's a UCC-1

    9   in --

   10              MR. LAMOUREUX:       Yeah.    I don't recall.          I don't want

   11   to say no --

   12              THE COURT:      Okay.

   13              MR. LAMOUREUX:       -- but I don't recall that, Your

   14   Honor.

   15              THE COURT:      State law rights are reserved, if any.

   16              MR. LAMOUREUX:       Right.

   17              THE COURT:      Okay.    And so what about this motion for

   18   stay relief, which Mr. Wilkes points out.              What, are you trying

   19   to get out on the cheap here?

   20              MR. LAMOUREUX:       No, Your Honor.        I mean it was really

   21   -- it was primarily a motion for adequate protection.                 That's

   22   what we're looking for.        We wanted to make sure --

   23              THE COURT:      Don't call it a motion for stay relief or

   24   I’m going to charge you --

   25              MR. LAMOUREUX:       Oh, we did.      We did.     And, oh, by the



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    1   way, we did pay the fee.

    2                THE COURT:    Oh, you did?

    3                MR. WILKES:    They did pay the fee, Your Honor.

    4                MR. LAMOUREUX:     I trumped the Trustee.            We did pay

    5   the fee, Your Honor.

    6                MR. WILKES:    J. Steven Wilkes on behalf of the United

    7   States Trustee.     The creditor's counsel uploaded the motion

    8   using the improper CM/ECF event code, which did not trigger

    9   them paying a filing fee with the event code.               They did pay the

   10   filing fee I think on the same day that they moved.

   11                THE COURT:    Okay.

   12                MR. WILKES:    In going through my CM/ECF traffic for

   13   that morning, I saw this motion that wasn't filed correctly and

   14   it prompted an objection by our office.             At this time, the

   15   United States Trustee would be withdrawing its objection.

   16                THE COURT:    Okay.    I am going to grant the motion for

   17   relief from the order granting the --

   18                MR. LAMOUREUX:     What I call the “access order.”

   19                THE COURT:    -- access prohibition --

   20                MR. LAMOUREUX:     Okay.

   21                THE COURT:    -- in the manner in which you two

   22   described.    I would like to have the Avantair architect

   23   rendering color coded to show what will be done -- what will be

   24   permitted, in terms of access by others; what the landlord will

   25   permit the Debtor to -- the Trustee to do to preserve the



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    1   property of the estate.        It will clarify the thing about the

    2   rents.   All rights to seek administrative rent or rejection of

    3   the lease, assumption of the lease, lease-rejection damages,

    4   all of that is preserved for a future day.

    5                MR. LAMOUREUX:     Okay.

    6                THE COURT:    I'm denying stay relief without

    7   prejudice.    And I am at this moment also denying any adequate

    8   protection payments because of the probably unquestionable

    9   entitlement of the landlord to an administrative rent claim.

   10                Will you draw that order, please, with Ms. Sherman's

   11   input?

   12                MR. LAMOUREUX:     Absolutely, Your Honor.

   13                THE COURT:    Thank you, Mr. Lamoureux.

   14                MR. LAMOUREUX:     Thank you.

   15                THE COURT:    Boy, we’re moving fast now.            Okay.   Mr.

   16   Donica's is next.

   17                Mr. Donica, remind me how many aircraft you're

   18   talking about here.       Just one?

   19                MR. DONICA:    I am local counsel to a law firm in

   20   Louisville.    We have only one plane.          We collectively represent

   21   14 of the 16 unit interests.         The other two are privately

   22   owned, not owned by the Debtor.

   23                I believe that we are pretty much entitled to the

   24   same relief that Mr. Berman had negotiated, excluding the two

   25   planes that he had that had ownership interest in the Debtor.



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    1   But ours is quite a bit simpler, it's just one plane.

    2               THE COURT:     All right.      Then why don't you share the

    3   laboring oar with Mr. Berman and -- or maybe you let him do it

    4   and you adopt it however, and work together to get an order

    5   that looks alike so that it's easier on me.              And involve Ms.

    6   Sherman in that.     And I'm going to either grant the limited

    7   relief or confirm in limited fashion no stay exists, subject to

    8   mechanic's lienors, landlord lienors, traditional lienors and

    9   turnover orders that may come from this Court with respect to

   10   different parts of the airplane.

   11               MR. DONICA:     Right.     But --

   12               THE COURT:     Thank you, Mr. Donica.

   13               Okay, the next one --

   14               MR. DONICA:     Your Honor, there is one other thing,

   15   though.   We also had asked for turnover of the log books.            We

   16   haven't confirmed that we have all of the records and the log

   17   books.    We want a turnover of those materials that pertain to

   18   this aircraft.

   19               THE COURT:     Well, if the log book is in there, that's

   20   fine.    If not, make arrangements with the Trustee to pay the

   21   cost of doing that thing.

   22               MR. DONICA:     Certainly.

   23               THE COURT:     Okay.

   24               MR. DONICA:     That's perfectly acceptable.

   25               THE COURT:     Now, the next motion is one by Zach



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    1   Bancroft, and I don't remember him ever making an appearance.

    2              MS. GILMER:      Your Honor, Courtney Gilmer.          Mr.

    3   Bancroft and I are with the same firm and so I'm appearing for

    4   those motions --

    5              THE COURT:      Oh.

    6              MS. GILMER:      Those are my motions.

    7              THE COURT:      Okay.    All right, then, you've got one on

    8   N187SL.

    9              MS. GILMER:      Yes, Your Honor.        I have Docket Entry

   10   No. 54, 55, 56 and 59.       And those four numbers are 139SL,

   11   163SL, 187SL, and 188SL.

   12              THE COURT:      Okay.    Does the estate claim an interest

   13   in any of those four so far?         No.

   14              MS. GILMER:      No, Your Honor.        Based on our review of

   15   the books and records, the estate does not claim an interest in

   16   any of those four planes.

   17              THE COURT:      Okay.

   18              MS. GILMER:      And I will work with Mr. Berman and Mr.

   19   Alpert and the other parties with the motions for relief on

   20   behalf of fractional owners to craft an order, pursuant to your

   21   directions --

   22              THE COURT:      Okay.

   23              MS. GILMER:      -- regarding access; inventory;

   24   maintenance, as necessary; access to books and records; and the

   25   ability to move the plane, if desirable, in order to mitigate



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    1   damages.

    2              THE COURT:      Okay.    Yes, and I keep forgetting,

    3   there’s the maintenance element done in accordance with

    4   industry standards, that's permitted.            And I did -- Mr. Berman

    5   is standing right here -- and I did also say subject to the

    6   rights of third parties who claim an ownership interest in any

    7   pieces or parts.

    8              Is that why you were standing?

    9              MR. MOHNEY:      Your Honor, just a little bit more.

   10   I've spoken with Ms. Gilmer about it and I've reviewed the

   11   engines that they identified.          We've overhauled a couple of

   12   those engines and we have them, but we haven't been paid.                As

   13   long as we're covering the repairman's lien rights, we're fine

   14   with a similar form of order.

   15              THE COURT:      Right.    So if they've got the engine and

   16   they've repaired it, you've got to go deal with them.

   17              MS. GILMER:      Absolutely.

   18              THE COURT:      Okay.

   19              MS. GILMER:      Thank you, Your Honor.

   20              THE COURT:      Thank you.      And that’s it.

   21              MR. GART:     Your Honor, it’s Brian Gart.             May I be

   22   heard just one more moment, please?

   23              THE COURT:      Yeah, let me get your motion up.           I may

   24   be able to shortcut this one.          What’s your docket number?

   25              MR. GART:     It's Document Number -- Docket No. 98,



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    1   Your Honor.

    2               THE COURT:     Oh --

    3               MR. GART:    And that was the reason --

    4               THE COURT:     -- Ms. Gilmer, you’re going to prepare

    5   the orders on all four; right?

    6               MS. GILMER:     That's correct.

    7               MR. GART:    Your Honor, I'm going to look at the

    8   order --

    9               THE COURT:     Hold on, Mr. Gart.        I'm sorry, I was

   10   talking over you.

   11               Ms. Arciola wanted me to clarify that Ms. Gilmer is

   12   responsible for the order on her four motions and that they

   13   will all look alike, except for that escrow feature in Mr.

   14   Alpert's.

   15               Okay.    Now you said to go to 90?

   16               MR. GART:    98, Your Honor.        No worries.       Thank you.

   17               THE COURT:     A precautionary motion.

   18               MR. GART:    Your Honor, in the light of the Court's

   19   ruling today and as to the inapplicability of the stay, I was

   20   hoping not to come back.

   21               THE COURT:     I don't want you to have to come back.

   22   Let's see, does the estate at this point claim any interest in

   23   188, 169, 161 or 163?       I'm looking at the numbers that were

   24   read to me.    No.   It is possible, though, that the estate may

   25   have an interest.



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    1               MR. GART:    My thought, Your Honor, is we are set to

    2   issue or serve an order to show cause that's returnable and to

    3   be heard by the New Jersey State Court on September 6th; that

    4   we'd be permitted to go ahead and serve that order to show

    5   cause, give -- the Debtor is not a named defendant in that

    6   action and doesn't, we don't believe, have an interest in the

    7   aircraft.

    8               Certainly, pursuant to Your Honor's earlier rulings

    9   and the orders that I hope to review and work on with the

   10   parties that have sought stay relief, they’ll have -- the

   11   Debtor -- or the Trustee and these parties, the owners, will

   12   have an opportunity to have access to determine an inventory of

   13   the equipment on the plane and determine whether the Debtor has

   14   any equipment on the plane that they would assert an interest

   15   -- or the Debtor -- or the Trustee would assert an interest in.

   16               So under the circumstances, we'd ask for an order

   17   that determines the stay doesn't apply and allow us to go to

   18   the order to show cause hearing and ask the state court to go

   19   ahead and set the sale but not allow that sale to occur until

   20   the Trustee is satisfied that no property of the estate is

   21   being sold.

   22               THE COURT:     How does that sound, Ms. Sherman?

   23               MS. SHERMAN:     Your Honor, my concern is that I don't

   24   know.   With the timing we've been getting from consults on the

   25   conducting of the physical inventories, it’s going to be fairly



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    1   long.   We will only have had the hearing before Your Honor on

    2   September 9th and September 13th by then.              So we won't know --

    3              THE COURT:      11th and --

    4              MS. SHERMAN:      I'm sorry, 11th and 13th.            So we won't

    5   know whether we're playing musical chairs or Humpty Dumpty.

    6   And so if the order to show cause date could be returnable

    7   sometime after that hearing, we'll have a better idea of who

    8   has an interest in the planes that Mr. Gart proposes to sell.

    9              THE COURT:      Well, what he just said is he wouldn't

   10   allow the sale to be held.

   11              MR. GART:     That's correct, Your Honor.              The hearing

   12   in September is the order to show cause hearing, and if the

   13   Trustee needs to --

   14              THE COURT:      And the Debtor is not a party.            The

   15   Debtor is not a party.

   16              MR. GART:     The Debtor is not -- but if the Trustee

   17   needs more time to have access and make the determinations that

   18   the estate has no interest on any of the equipment on these

   19   aircraft, we certainly can work with her with respect to the

   20   setting of that sale.

   21              MS. SHERMAN:      Your Honor, my concern was that we just

   22   -- I think the way an order to show cause works is if you don't

   23   show up on September 6th --

   24              THE COURT:      You're not a defendant.

   25              MS. SHERMAN:      Well --



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    1              MR. BERMAN:      We have a problem with that approach,

    2   Your Honor.

    3              THE COURT:      There is no due process if they -- and

    4   there is no deprivation of any right unless your client -- I

    5   mean, your estate is a defendant.

    6              MS. SHERMAN:      Unless it falls into the hands of the

    7   BFP, Your Honor.     If Mr. Gart is willing to make -- if the

    8   order to show cause could be returnable after that date, we'll

    9   know whether we need to send somebody.

   10              THE COURT:      Is that what happens?         Is the upshot of a

   11   mechanic's lien foreclosure that someone that should have been

   12   noticed, wasn't noticed, loses their rights?

   13              MR. BERMAN:      If they sell it as a result of the order

   14   to show cause and the right parties weren't noticed, then

   15   parties' rights can be affected.           I was rising --

   16              THE COURT:      I’m just -- no.       You say "can be."   I

   17   know that for land purposes, unless you name someone, the lien

   18   travels like a wart on the thing.           And I was just saying:    Is

   19   that the same thing as a mechanic's lien?

   20              MR. BERMAN:      I don't know the answer to that

   21   question, but I do have a problem with stay relief or an order

   22   being entered on Mr. Gart's motion that grants final relief.

   23   The motion was just filed yesterday.            I haven't even reviewed

   24   it with my client representatives and my co-counsel.

   25              My suggestion was going to be that you address Mr.



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    1   Gart's motion and the final stay relief at this next hearing

    2   that we're going to have.

    3              THE COURT:      These two guys are paying what in

    4   storage?   Remind me again, Mr. Gart.

    5              MR. GART:     They are paying $1500 a day, Your Honor.

    6              MR. BERMAN:      Well, we're going to move the planes --

    7              MR. GART:     Not necessarily, Mr. Berman.

    8              MR. BERMAN:      Well, if the request that Mr. Gart's

    9   motion be heard today is being made ore tenus, we would object

   10   to that and would like to have an opportunity to look at the

   11   motions before any final relief is granted.

   12              THE COURT:      All he is saying is:         Can we duke it out

   13   in state court?

   14              MR. BERMAN:      That's fine.       But the date of the state

   15   court hearing should come after we've done the inventory,

   16   because we don't know what position to take with respect to the

   17   planes that they're trying to sell.

   18              The reason that we got involved with Teterboro is

   19   because they were threatening to sell aircraft before we had a

   20   chance to know what was going on.           We're in that same position

   21   today until we get access to the aircraft.

   22              MR. GART:     Your Honor, I think we're talking past

   23   each --

   24              MR. BERMAN:      If I may be heard, Your Honor?

   25              THE COURT:      Hold on.



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    1              MR. GART:     We are talking past each other.

    2              THE COURT:      Y’all cannot talk on the phone and in the

    3   courtroom at the same time.

    4              So Mr. Berman is responding to your request and he's

    5   telling me why he thinks it's unfair to go ahead with your

    6   motion now, even though clicking away in storage lien is $1500

    7   a day that maybe Mr. Berman's client won’t even be responsible

    8   for at the end of the day.         It's going to be unfair to someone.

    9              So let me have Mr. Berman finish.             And then Ms.

   10   Gilmer is at the other lectern and she wants to be heard.

   11              So go, Mr. Berman.

   12              MR. BERMAN:      Thank you, Your Honor.          I'm just

   13   suggesting that on a day's notice we haven't had a chance to

   14   look at the motion, the bona fides of the motion, or what

   15   position to take.      I'm not suggesting it be prolonged.

   16              I did think it made some sense, if you're granting

   17   some interim relief to the parties, to get access to the

   18   aircraft and maybe move them to a cheaper location and do the

   19   inventories.    And that's the extent of the stay relief relief

   20   you are granting today.

   21              THE COURT:      You're not going to take it away from

   22   them unless you bond it off or pay it.

   23              MR. BERMAN:      Or comply with whatever the state law

   24   is; I don't even know what the state law requirements are.

   25              THE COURT:      Right.    Me neither.



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    1              MR. BERMAN:      Okay.    So whatever we need to do, we

    2   understand that.     But I don't want, for instance, to be not

    3   only trying to get ready for a trial on September 11th and the

    4   13th and defending an order to show cause hearing in New Jersey

    5   state court on aircraft that I haven't even seen yet.

    6              So my suggestion was, No. (1), you give parties more

    7   than a day to review a motion before ruling on it, at least

    8   completely.    If you want to enter some interim relief, that's

    9   certainly fine.     And (2), that we have a further hearing.

   10   Whether it's on September 11th, or we have a hearing next week

   11   on Mr. Gart's motion, it doesn't matter, but I'd like an

   12   opportunity to take a look at it.

   13              It's very difficult to know; if Mr. Gart's motion, if

   14   it's granted as written, then you may be adjudicating rights of

   15   the owners with respect to those --

   16              THE COURT:      I adjudicate nothing.         He just wants me

   17   to say no stay is in place.

   18              MR. BERMAN:      Well, and I don't know that that's the

   19   case until I look at the motion and we have a chance to look at

   20   the aircraft.

   21              MR. GART:     May I be -- may I respond, Your Honor?

   22              THE COURT:      Wait.    Don't you want to hear what Ms.

   23   Gilmer has to say so that you can do it all at once?

   24              MR. GART:     Oh, I'm sorry.        Certainly.

   25              MS. GILMER:      Your Honor, just to echo the same



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    1   concerns.    We've not had the opportunity to review.             Two of my

    2   four planes, 163 and 188, are present at Teterboro Rams.              And

    3   while Teterboro Rams is taking the position that they're

    4   incurring the $1500 per day, they're certainly charging that to

    5   my clients and putting that as part of their lien, which will

    6   have to be paid off.

    7               And so I think the prejudice is to the ultimate

    8   owners of the aircraft, and that's why we would like an

    9   opportunity to review the motion and respond.               And the order

   10   that we've been discussing today for the stay relief for the

   11   owners will protect whatever lien rights Teterboro Rams has,

   12   doing what it's continuing to do, but will allow us to sort

   13   through all of those other issues prior to the New Jersey state

   14   court auction process.

   15               THE COURT:     What if y’all don't pay them and so the

   16   storage is continuing to click?          When do they get off the hook

   17   for what they're having to pay to wherever it is that they're

   18   renting?

   19               MS. GILMER:     I think we just need an opportunity to

   20   review the motion and respond and have the Court rule on it.

   21               THE COURT:     Mr. Mohney, did you want to talk to Mr.

   22   Gart?

   23               MR. MOHNEY:     Yes, Your Honor; just a small thing.

   24               THE COURT:     All right.      What do you want to tell Mr.

   25   Gart?



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    1              MR. MOHNEY:      Mr. Gart may not have been aware of this

    2   prior to filing our motion yesterday.            But engine -- I'm sorry,

    3   Aircraft 169SL is the one that has Bank of America's engines

    4   and my client's leased engines on it and we are not named

    5   parties in the lawsuit.        And I think he previously mentioned

    6   that all the interested parties had been named, and they’re

    7   not.

    8              THE COURT:      So not all of the interested parties have

    9   been named, Mr. Gart.       You may have to go back to square one

   10   anyway.

   11              MR. GART:     Judge, we will certainly give Dallas -- I

   12   forget the name of the engine lessor.            Is it Dallas Motor or --

   13              MR. MOHNEY:      It's Dallas Airmotive.

   14              MR. GART:     Yeah.     I'm sorry.      Dallas Airmotive would

   15   certainly get served with the order to show cause and --

   16              THE COURT:      And Bank of America.

   17              MR. GART:     And anyone else who asserts an interest

   18   that we've learned about.        So we can address that.

   19              THE COURT:      Except the Debtor.

   20              MR. GART:     And we're not -- we've not named the

   21   Debtor and we certainly are providing the Trustee with access

   22   to determine whether the estate has any interest in any

   23   equipment on the aircraft before we'd go forward with the sale.

   24              Is everyone done?        Or is the Court prepared to

   25   hear --



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    1               THE COURT:     Everyone’s done.        Can I just say this:

    2   Why don't you just make the show cause order returnable after

    3   the 13th?    It's just a week.

    4               MR. GART:    Your Honor, we would just like to serve

    5   the show cause order, and I will work with state court counsel

    6   to have the hearing on the show cause order later.                But no sale

    7   was going to be set.       No sale was going to happen on the 6th.

    8   The sale wouldn't be set until the show cause hearing.

    9               THE COURT:     Okay.    But that's not what they're

   10   worried about.     They don't want to have to draft a response to

   11   the show cause order that they will then appear at a hearing to

   12   argue.    They want to have the answer due after the September

   13   13th set of hearings.       So can you give them until after the

   14   13th to send in their answers or whatever you call the response

   15   to an order to show cause?

   16               MR. GART:    I'm told, Your Honor, that we can't get

   17   another -- we can't get an adjournment of the hearing on

   18   September 6th in New Jersey state court, but I certainly will

   19   work to do so.

   20               What I am asking for is not unlike in every other

   21   case where parties with a lien, a mechanic's lien, a secured

   22   interest, are allowed to proceed to final adjudication but not

   23   sale.    And if the estate or the owners have a basis for

   24   opposing that relief in this court, let them come in and do so.

   25   But there is really no reason to hold my client up from



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    1   proceeding with its state court rights.

    2              And to the extent that I think it was counsel for --

    3   is it Ms. Gilmer?      I don't believe that her clients’ aircraft

    4   are even the subject of the show cause order, if I'm correct.

    5              THE COURT:      She says two.

    6              MS. GILMER:      Two of our planes are at Teterboro Rams.

    7              MR. GART:     But they're not the subject of the show

    8   cause order.

    9              MS. GILMER:      I haven't seen the show cause order.

   10              MS. OWEN:     This is Carol Owen.         I'm Ms. Gilmer's

   11   partner.   Let me revise that statement to say 188SL is a plane

   12   in which our clients have an interest.

   13              MR. GART:     Okay, so one of the aircraft.            But, Your

   14   Honor, again, we're just going to -- as far as we can but not

   15   sale until the owners have been served and anyone with an

   16   interest has had an opportunity to be served with the show

   17   cause order and the Trustee has satisfied herself that the

   18   estate has no interest in any of these aircraft.

   19              THE COURT:      But how do they combat -- how are they --

   20   or what form are they going to be permitted to reject your

   21   order to show cause or --

   22              MR. GART:     They'll have an opportunity.             They'll have

   23   an opportunity to respond --

   24              THE COURT:      When?

   25              MR. GART:     -- to the order to show cause.



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    1              THE COURT:      When?

    2              MR. GART:     Again, it's being heard on September 6th.

    3              THE COURT:      That's the point.        Some of these people

    4   are involved in a showdown down here.

    5              MR. BERMAN:      And, Your Honor, there is no way all of

    6   those people could have been served, because we don't even have

    7   an accurate list of the owners.          Ms. Sherman says that she was

    8   able to retrieve from the Debtor's books and records an

    9   ownership list, but no one else has seen it.               I don't think Mr.

   10   -- I'm not aware that Teterboro had the ownership list for all

   11   these aircraft before anyone else did.             I don't know why

   12   there's a rush on this when we're not rushing to adjudicate

   13   rights with respect to the aircraft.

   14              THE COURT:      Well, there's a rush because of the

   15   storage lien, I can tell you that.

   16              But, Mr. Gart, if you don't even have the full

   17   universe of people that you need in order to sell good title to

   18   these aircraft -- are you telling me that the New Jersey court

   19   is just immovable?      That just doesn't make sense to me.

   20              MR. GART:     No, Your Honor.        They would have --

   21   everyone we would serve would have an opportunity to reply by

   22   August 28th.    We can certainly go to the state court and ask

   23   for a different date for the order to --

   24              THE COURT:      That's what I'm saying --

   25              MR. GART:     -- but we've been told --



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    1               THE COURT:     -- let's get a different date.

    2               MR. GART:    -- but we've been told by New Jersey

    3   counsel that we would not get an adjournment from the state

    4   court.    So, that's why we were trying to keep that date.

    5               THE COURT:     Okay.    Well, then this Court can say that

    6   the possibility of the estate's interest in these 41 aircraft

    7   precludes you, by reason of the automatic stay, from holding

    8   such hearing.

    9               MR. GART:    Okay.

   10               THE COURT:     If you don't want to play ball with

   11   everybody, I'm going to invoke the estate's potential interest

   12   in these things and you won't have a hearing.

   13               MR. GART:    I was just trying to avoid coming back.

   14               THE COURT:     I don't want to have you come back, but

   15   you've got to work with me.         All these people want is a return

   16   date that is after the September 13th hearings.                   That's their

   17   only issue:    Don't make me answer and get involved in

   18   litigation while I'm also trying to get involved in litigation

   19   on a bigger piece in Tampa, Florida.

   20               MR. GART:    Okay.     So, Your Honor, we will provide or

   21   attempt to obtain a date after the hearings on the 11th and

   22   13th.    If not, I'll ask to have the stay relief motion set.

   23   They --

   24               THE COURT:     No.   I'm going to grant it.             No hearing

   25   may be held, no answer may be required prior to September 19th.



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    1   That gives the counsels several days to recover, get their

    2   answers in, and then the hearing could be held later in

    3   September.

    4                MR. BERMAN:    So no return date and no hearing prior

    5   to September 19th?

    6                THE COURT:    Right.

    7                MR. BERMAN:    Okay.    Thank you, Your Honor.

    8                THE COURT:    And so I'm granting it.          You don't have

    9   to come back, Mr. Gart.

   10                MR. GART:    Thank you, Your Honor.

   11                THE COURT:    You can have your wedding.

   12                MR. GART:    Thank you.     That wasn't the only reason,

   13   Your Honor.

   14                THE COURT:    I know.     Would you please work with --

   15   run your order by Mr. Berman, Ms. Gilmer, Ms. Owen, and Ms.

   16   Sherman.

   17                MR. GART:    Your Honor, my only hesitancy is that it's

   18   granted, subject to what?        I don't have a new hearing date.

   19   So, what's the September 19th date?

   20                THE COURT:    I'm granting the motion effective

   21   September 19th.     No answer may be -- you may do whatever you

   22   want to do in the meantime so long as what you do does not

   23   involve a deadline for any of these parties to file an answer

   24   before September 19th, or hold a hearing before September 19th.

   25                MR. GART:    In the New Jersey state court?



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    1              THE COURT:      Correct.

    2              MR. WILKES:      The United States Trustee --

    3              MR. GART:     That's fine.

    4              MR. WILKES:      The United States Trustee would ask that

    5   no default on the order to show cause be permissible prior to

    6   September 19th also.

    7              MR. BERMAN:      No answer, defaults, hearings or

    8   sales --

    9              THE COURT:      Right.

   10              MR. BERMAN:      Okay.

   11              THE COURT:      But he can put in process, he can file

   12   the papers --

   13              MR. BERMAN:      Yes.

   14              THE COURT:      --   he can serve the papers.

   15              MR. BERMAN:      As long as we get served.             I'd like my

   16   clients -- at least one of the lawyers on our team to get

   17   served with these papers.        I'd like to be served with them so

   18   that I know what's going on, because I know some of our

   19   aircraft are involved, and that we'll respond appropriately

   20   after the 19th.

   21              THE COURT:      Okay.    And I should say also and note:

   22   The sale date may not be held until the Trustee reasonably has

   23   the opportunity to get an inventory, if the Trustee chooses to

   24   do so.

   25              MR. GART:     Your Honor, that considerably delays my



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    1   client now that I've asked the question and that's why I asked

    2   the question.    Because we can have an order to show cause

    3   that's returnable, you know, within a week after those

    4   hearings, but they would have to respond on an expedited basis.

    5   They'll be served; they'll have notice; there's just no reason

    6   to hold us up at that point.

    7              THE COURT:      Well, you had before offered not to have

    8   a sale until the Trustee did her thing and you were open-ended

    9   on that.

   10              MR. GART:     I was.

   11              THE COURT:      Now you're saying you're not as

   12   open-ended as you were earlier?

   13              MR. GART:     The Trustee is not a party to this, Judge.

   14   We're talking about a fight between lienholders and owners,

   15   which I was hoping Your Honor wouldn't take the bait, but you

   16   did.

   17              THE COURT:      I don't understand that comment.

   18              MR. GART:     You're allowing Mr. Berman to get you

   19   involved in adjudicating rights between owners and lienholders

   20   that doesn't involve the estate.

   21              THE COURT:      No.   It might involve the estate because

   22   Ms. Sherman stood up and said:          I'm not going to guarantee you

   23   that the four that I named are the only four.               And besides, she

   24   may be advocating for the baseline and she wants to get stuff

   25   off of the airplanes that would be estate property, which has



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    1   not been ruled on.

    2              MR. GART:     Okay, Your Honor, I will provide, then,

    3   that no answer, no defaults.         What else did everyone want?         I

    4   mean --

    5              THE COURT:      No hearing until September 19th.           I mean

    6   it's only a two-week delay.         And I said "reasonable right of

    7   inspection."    I don't know what the Trustee's position is about

    8   a sale of property that may involve property of the estate.                It

    9   would be potentially a void act if you don't name them in the

   10   suit.   I don't know what the state law would say about good

   11   title or not.

   12              So I don't think that either Ms. Scharrer or Ms.

   13   Sherman at this point have any firm belief that there is estate

   14   property on there, but there could be.             And so they just want

   15   to look at the inventory, that's all.

   16              MR. GART:     We’re more than happy to cooperate with

   17   the Trustee's efforts.       I just did not want to have this Court

   18   get involved in adjudicating rights as between the owners --

   19              THE COURT:      I'm not.

   20              MR. GART:     -- and mechanic lienholders.             And I think

   21   that’s -- we've gone down that road just a little bit today.

   22   But we'll make sure that nothing is returnable --

   23              THE COURT:      No, we're not going down any road.

   24              MR. GART:     -- until after the 19th.

   25              THE COURT:      I'm preserving for the Trustee the right



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    1   to have time to see whether there is any little thing on any of

    2   those 41 that she wants.

    3              MR. GART:     We understand, Your Honor.

    4              THE COURT:      Okay.    Good.

    5              Does anyone have a motion that's not set for hearing

    6   that they want to go forward on?

    7              (No response.)

    8              THE COURT:      Okay.    Then I think we're done.        Thank

    9   you all.

   10              MR. BERMAN:      Thank you, Your Honor.          Oh --

   11              THE COURT:      Oh, wait a minute.        Mr. Berman has got to

   12   have the last word.

   13              MR. BERMAN:      No, no, no, I'm not.         I don't know when

   14   I'm supposed to come back to court.            You said September 11 and

   15   13.   I didn't hear a time.

   16              THE COURT:      9:30.

   17              MR. BERMAN:      Okay.

   18              THE COURT:      We're going to have two full days.

   19              MR. BERMAN:      Thank you, Your Honor.

   20              THE COURT:      Mr. Glenn, why did you bring this stuff

   21   to me?

   22              MR. GLENN:      I'm sorry, Your Honor.          And looking back

   23   on it, I don't know what could have possessed me to start this

   24   case or move for a Trustee or anything else.               Although, I will

   25   say, having done so, we apparently got the right Trustee and



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                                                                                  213



    1   counsel.

    2              THE COURT:      Yes.    And let me say this; you can't

    3   argue this:    This has been to the benefit of all, whether there

    4   is or is not estate property involved, or a stay is or is not

    5   in place, it has helped everybody.

    6              MR. GLENN:      It has, Your Honor.         The alternatives

    7   were just so dismal that you're absolutely correct.

    8              THE COURT:      It's almost a walk-away.          Outside of

    9   bankruptcy, it's almost a walk-away.

   10              MR. GLENN:      It was.

   11              THE COURT:      Thank you all.       Have a nice weekend.

   12              MS. SCHARRER:       Your Honor, maybe not everybody.

   13              THE COURT:      Oh, well.     There’s that, it's that blind

   14   rotation thing.

   15              MS. SCHARRER:       That's right.

   16              THE COURT:      Sorry.

   17              Okay, let's clear out.          Go enjoy the rest of your day

   18   and the weekend.

   19                     (Hearing concluded at 3:32 p.m.)

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              I certify that the foregoing is a correct transcript

        prepared to the best of my ability from the digitally recorded

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        ________________________
                                         August 25, 2013
        Marilyn L. Taylor, CVR
                                          Date
        Transcriber




        FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:




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